     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 1 of 223



 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           T ues day, June 13 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 10:08 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED    AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




                                                                Page     1
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 2 of 223



 1                                I N D E X

 2
                            DIRECT      CROSS    REDIRECT   RECROSS
 3 Christopher     Sakala    98

 4 Juan Encarnacion         128         121       207       210

 5 Doug Malarkey            211

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22
                                                            Page

23 Reporter's Certificate                                   223

24 Concordance                                              224

25



                                                                  Page   2
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 3 of 223



 1           THE COURT:       Mr. Sussman     I understand    your client

 2 is in traffic .

 3           MR. SUSSMAN :      That 's correct .     She left a

 4 message     -- she call ed and I spoke to her .           She

 5 apparent ly is on 495 .

 6           THE COURT:       I just arrive d here myself .        I just

 7 saw my orthopedic         surgeon    and , yes , the belt way is a

 8 little    mess ed up .

 9           You 're waivi ng her presence ?

10           MR. SUSSMAN :      Yes .

11           THE COURT:       We will confirm     that with her when

12 she get s her .

13           MS. GREENBERG:       One brief thing .      I know the

14 court is waiting         on our jury instruction s.        I spoke

15 with Mr. Montemarano         -- he has the proxy of all

16 counsel , and I did speak with Mr. Mitchell               who was at

17 our of fice brief ly there about ten jury instruction s.

18 Mr. Montemarano     is going to re vi sit it with          defense

19 counsel .     He 's going to let me know Friday , and I

20 should    have something      to your chamber s late Monday          or

21 early Tuesday     what is agree d upon and what is dis agree d

22 upon .

23           MR. MONTEMARANO :          The dis agreement s are not

24 going to change .         So , if you want us to get that list

25 to you earlier     --




                                                                   Page      3
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 4 of 223



 1            THE COURT:    The soon er the    better     so I can

 2 start work ing on it.

 3            Counsel , some preliminary      matter s.     Last week we

 4 start ed a little late because         Mr. Montemarano        forgot

 5 his coat , and I want ed to advise         you that I too had an

 6 experience       like that in this courthouse .        Some of you

 7 may know that Judge Day and I meet in the marshals'

 8 exercise    room every day at about 7:00; and one time

 9 about ten month s ago or a year ago , I came here having

10 brought    my beautiful , blue pinstripe d suit with me and

11 hung it in the bathroom         while I exercise d and reach ed

12 for it and discovered , much to my chagrin , that the

13 pant s were not with it .        That having     happened , I

14 concluded    that this would never happen          again .     So, I

15 have in my chamber s a complete         change    of clothi ng .       I

16 mean , I have a jacket , pants , shirt , under wear , sock s,

17 shoe s and so forth .        So , the clothi ng excuse       will no

18 long er work for the male attorney s in this case , unless

19 you're    bigger    than me , and Mr. Ward may be in that

20 category    --

21            MR. WARD:    Thank you , Y our Honor .       I appreciate

22 that .

23            THE COURT:   --    I wil l loan you my -- any part --

24 any article       of clothi ng you need to be able to function

25 in your role as attorney s.         I'm sorry I cann ot do the




                                                                   Page       4
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 5 of 223



 1 same for the government , but I'm partial            to the male

 2 attorney s on that one .        So if you are miss ing anything

 3 -- I've even suppli ed one of the marshal s with              a belt

 4 because     they know I have everything .        So if you forget

 5 something , don't turn around .          Just come here .      You may

 6 be a little     bit baggy in it , but that excuse         is gone .

 7            I have before     me a lotion    motion   in limine    by

 8 Paulette     Martin .     I have re view ed that and considered

 9 it , and I have just sign ed off on my edit s to an

10 opinion     and order which I will       be filing   within    an hour

11 that denies     it .     So you can proceed    on the basis that

12 it 's been deni ed .

13            We will conclude     today at 4:30 p .m. because        I

14 have a meeting         of our district   court 's local rule s and

15 form s committee .        Tomorrow   we will start at 9:30 .      I

16 will start at 10:00 on Thursday            and Friday   because   of

17 proceed ings that I have at 9:00 .           I intend   to adjourn

18 each day at 4:30 .

19            Last ly , I arrive d here after see ing my

20 orthopedic     surgeon , who want s to slice me up on Friday ,

21 July 21 .     So , we will probably      -- unless   something

22 miraculous     happen s like a cure , we won't sit on Friday ,

23 July 21 .

24            Now , I have    been advise d by Ms. Merez that Juror

25 8, who    was in the select ion process        Juror 75 has a




                                                                  Page    5
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 6 of 223



 1 daughter    in the military        in Iraq who has had a very

 2 serious    problem     and has been brought    home to a hospital

 3 -- a military     hospital    in , I believe , Missouri , and she

 4 is distraught     and want s to be with her daughter .          I'm

 5 reluctant    to let any of our juror s go , but I don't know

 6 if I've got much of an alternative.            You're   going to

 7 have a very distract ed and not very at tentive           juror if

 8 you have her worrying        about her daughter     having   a major

 9 medical    problem     in Iraq .

10            Is there any objection       to re leasi ng Juror 8?

11            MR. MONTEMARANO :       None from the defense , Your

12 Honor .

13            THE COURT:      Are all the defendant s here now?

14            MR. SUSSMAN :     I'm sorry , Judge .   Ms. Harden      is

15 here .    We apologize .

16            THE COURT:      Well , if -- I've just been advise d

17 by Ms . Merez that one juror has a doctor 's appointment

18 at 8:30 tomorrow , and she says we should           start tomorrow

19 at 10:00.      So , we will start tomorrow      at 10:00.     So we

20 will be operating        on a 10:00 to 4:30 schedule      the rest

21 of the week .

22            I believe    that 's all the preliminary     matter s

23 that I want ed to bring to your attention .

24            MR. MCKNETT :     Your Honor , if I may , while we

25 have a second .        I understand    the government   is prepared




                                                                Page       6
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 7 of 223



 1 to use a chart in their opening            statement .    I would

 2 like to make a formal         objection    to a portion    of the

 3 chart for the record .         I real ize it 's argument , but

 4 there is a section         of the chart which affect s my client

 5 and several     other s.

 6            In the low er right-hand       corner    there is a

 7 caption    "distributor s/facilitator s."           I believe    that 's

 8 in appropriate , because       it confuse s two different         role s.

 9 I think it more appropriately            should    say "facilitator s

10 or distributor s."         On that    basis I will make an

11 objection    for the record .

12            THE COURT:      All right .    Mr. Montemarano , do you

13 join in that ?

14            MR. MONTEMARANO :     I would join in it .       I would

15 further    note that if the government            at any point

16 intends    to introduce      that into evidence , I would be

17 object ing now with regard           to the use of that language

18 on the chart at any time if they want to bring it into

19 evidence    at any point down the road .

20            THE COURT:      Let me hear what Ms. Johnston          has to

21 say .

22            MS. JOHNSTON:      Your Honor , first of all , I

23 belie ve the "/" would indicate           that these people       in

24 this box are either         facilitator s and /or distributor s,

25 and that 's why the "/" is there .           That 's going to be




                                                                    Page      7
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 8 of 223



 1 our presentation .        The chart may be use d with different

 2 witness es to identify       people     who are not present     in the

 3 courtroom .     If that 's the case and it does get admitted

 4 into evidence , then we of course           will re move that

 5 description     from the chart .        The chart does not in and

 6 of itself     indicate    anyone     in particular   is associate d

 7 with a particular        role .

 8          Those people      in that box -- the government 's

 9 theory   is , and the government         will argue to the jury ,

10 that of those people        in that box , the ones on trial are

11 either   distributor s and /or facilitator s of the drug

12 conspiracy .     That 's why the "/" is there , because           of in

13 my experience      the "/" would mean that they are one

14 thing or the other .        At this point we're in opening

15 statement .     I don't think        there 's anything

16 objectionable      about that "/" instead        of writing   "and /or "

17 on the chart .

18          THE COURT:       All right .     Mr. McKnett .

19          MR. MCKNETT :       Your Honor , I think Ms. Johnston

20 has made my argument .            She intends   the "/" to mean

21 "and /or ."    It would be very simple          to take a piece of

22 white paper and put on there "facilitator s and /or

23 distribut or s."     I know what she intends         the "/" to

24 mean .

25          THE COURT:       Can you put a "+" by the "/?"




                                                                   Page   8
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 9 of 223



 1            MS. JOHNSTON:       A "+ ?"

 2            THE COURT:      You know , mean ing "and /or ."

 3            MS. JOHNSTON:       If the court would like a "+" on

 4 the chart by the "/" I will be glad to do that .

 5            THE COURT:      I mean , if that resolve s it .

 6            First of all , this is not an exhibit          yet .    This

 7 is going to be the basis for your presentation               of the

 8 evidence    you intend     to introduce , and it may never get

 9 introduced .     If you simply       put "and /or " on there , you

10 know , then I think --

11            MS. JOHNSTON:       A plus sign ?

12            THE COURT:      A "+" next to the "/" and explain             it

13 when you present        opening    statement   that you're   say ing

14 it 's either    "and /or ."

15            MS. JOHNSTON:       I intend ed to present     my argument

16 that way as I explained           to Mr. McKnett .    But if the

17 court would like a "+" on there , I will put a "+" next

18 to that .

19            THE COURT:      A plus would be fine .

20            MR. MCKNETT :      And an "and /or ."

21            THE COURT:      Just make certain       that you use the

22 words "and /or " when you point to it .            I've committed

23 her to say ing "and /or " when I know          she get s to it .

24            MR. MCKNETT :      Thank you .

25            THE COURT:      We will put a "+" on it .       So , it 's




                                                                     Page    9
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 10 of 223



 1 "+/ ."

 2           MR. SUSSMAN :     Sir , I'm not as concerned       about

 3 the backslash    as I am preliminary        instruction s, if you

 4 would .    I don't know    what you give , but in informing

 5 the jury that that 's demonstrative          and the government

 6 theory    is not evidence    of any --

 7           THE COURT:      Well , let me tell you what I intend

 8 to do .    I intend    to give the pretty     generic

 9 instruction s that all my colleague s give at the

10 beginning    of a criminal    case .     I do intend    because    of

11 the nature    of this case and the fact that they're              going

12 to be asked to make determination s with respect             to a

13 number    of crime s and drug quantiti es , to give them some

14 very preliminary       instruction s on the law as to what the

15 crime s are and what the element s of the          crime s are so

16 that they can pay attention        during    the testimony    as to

17 whether    these element s are present       or not .

18           MS. JOHNSTON:      Your Honor , will we have an

19 opportunity    to re view instruction s to determine         whether

20 or not    we have any objection        to the element s of the

21 offense s as the court 's de scribe d them ?

22           THE COURT:      I have put together     preliminary

23 instruction s that are literal ly right out of Sand &

24 Siffert    with regard    to the conspiracy     charge    I have .

25 Because    this is a charge     under the drug conspiracy




                                                                Page 10
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 11 of 223



 1 statute , I have not put in the "overt act s"

 2 requirement .

 3          MS. JOHNSTON:       Your Honor , my concern         is with

 4 some of the sub stantive         offense s.     If the court is

 5 using the substantive        offense   instruction s as the court

 6 use d in the first trial in November , then I don't think

 7 we have any problem .

 8          THE COURT:      I essentially        intend   to do that .     I

 9 took out the paragraph        that talk s about why congress

10 decide d to go after conspiracy , because              that will be in

11 the final instruction s but not here .

12          MS. JOHNSTON:       My concern       is with the

13 substantive     offense s.   If    the court is taking        them

14 direct ly out of Sand , there may be some issue s because

15 there are some in correct         statement s.

16          THE COURT:      They're    direct ly out of Sand &

17 Siffert .   The only modification         Sand & Siffert       has the

18 overt act requirement        which is not charged in          this

19 case .

20          MS. JOHNSTON:       Is the court de scribing         the other

21 on the   offense s as well ?

22          THE COURT:      Yes .

23          MS. JOHNSTON:       Then we have an objection          to the

24 court reading     the Sand & Siffert          on the use of

25 telephone   in furtherance        of drug conspiracy        offense ,




                                                                   Page 11
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 12 of 223



 1 because    in Sand they make it a requirement                that the

 2 person    actual ly have committed     the under lying offense ,

 3 which is not in the statute .         The statute        says either

 4 you've    use d it in furtherance     of the commission           of that

 5 offense , or you use d it to facilitate .          So by maki ng it

 6 a requirement     that one actual ly commit s the under lying

 7 offense , Sand has don e away with the statutory                 element

 8 of facilitation     of the under lying offense .

 9           The court gave an instruction          in the first trial

10 as to the telephone       count which we have available             for

11 the court , and we would ask the court to give the

12 instruction     the court gave in the very first trial

13 because , as I've said , the way Sand write s it , they

14 make commission     of the under lying offense           a

15 requirement , there by striki ng any mean ing to the

16 statutory    language    that says either     the commission             of

17 or facilitation     of the under lying offense .              If they

18 require    a commission    of the under lying offense            by the

19 defendant , certain ly then there would be no way you

20 would facilitate       it without   committing    it .

21           THE COURT:      The way I have it now -- and you

22 tell me what you believe        is not correct     -- the element s

23 I've enumerate d are , first , that the defendant                use d

24 the telephone     for or communication      facility .

25           You don't want that in .       That 's not what's          use d




                                                                     Page 12
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 13 of 223



 1 in this case .

 2          MS. JOHNSTON:       No .

 3          THE COURT:     The telephone , as charge d.

 4          MS. JOHNSTON:       That 's fine .

 5          THE COURT:     Second , that the defendant         use d the

 6 telephone     in the process    of committing    or to facilitate

 7 the commission     of the conspiracy      offense   with which the

 8 defendant     is charge d.    Is that all right ?

 9          MS. JOHNSTON:       That 's fine , Your Honor .

10          THE COURT:     Third , that the defendant        did so

11 know ingly and intentionally .

12          Those are the three element s.

13          MS. JOHNSTON:       That 's fine .    That 's the way the

14 court instruct ed it initial ly .

15          THE COURT:     Well , I'll tell you all each what

16 the element s are that I'm going to enumerate .

17          MS. JOHNSTON:       I don't have     any problem    with any

18 of the other instructions.          Your Honor , that would be

19 the only one that gave the government           concern .     I do

20 have one -- when the court finishes           that , I do have a

21 motion   to make in term s of the defendant s' opening

22 statement .

23          THE COURT:     Let me finish     tell ing you what I'm

24 going to do .     I'm going to give the generic

25 instruction s; I'm going to give the preliminary




                                                                 Page 13
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 14 of 223



 1 instruction s on the law ; I'm also going to tell them

 2 general ly , because     I've seen the verdict        form and

 3 they're    going to be asked a lot of question s about

 4 quantiti es , so I intend       to provide    -- state this to

 5 them :    I want to inform      you as to some of the count s.

 6 If you find the defendant         guilty   of that particular

 7 count , you must also determine         the type and quantity         of

 8 drug s that were involve d in that count .            I will

 9 instruct    you further     at the end of the case as to the

10 circumstance s in which drug s should          be attributed       to a

11 particular     defendant    if the government     prove s those

12 circumstance s beyond a reasonable doubt          .    For now ,

13 however , I just ask you to please           pay attention      to any

14 reference    to the specific      type and quantiti es of drug s

15 that are mention ed .

16            That's   just maki ng them highlight       it , because     I

17 would hate to see them , after seven or eight week s,

18 say , you know , I forget       all those quantiti es and , you

19 know , we're between       a rock and a hard place .       I don't

20 want to have that happen .

21            In addition     to giving   the general    instruction s

22 and the specific ones        on the law , I intend      to re mind

23 them to take the escalator ; re mind them again of what

24 the hour s are that we are general ly going to follow .

25 I'm going to advise        them that I have ordered       the




                                                                   Page 14
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 15 of 223



 1 attorney s to joint ly agree upon who should           be the lead

 2 question er for each witness         and that any additional

 3 question ing is preclude d if it 's redundant,          and they

 4 should   understand      that an objection    by one is an

 5 objection     by all so they do not need to ass ume that if

 6 somebody    is silent     on an objection    that they don't

 7 care , or they don't join in that objection            they are

 8 deem ed to have join ed in that objection , and they are

 9 deem ed also to have join ed in the examination             of any

10 witness .

11            I'm going to also tell them , because        I just in a

12 recent   case had this,      if they're   hungry   and want to eat

13 lunch that one of the place s they can go purchase              food

14 is our wonderful        commissary   on the first floor , but I

15 would en courage    them not to eat their food there .            They

16 can either     come back to the jury room        for this

17 courtroom     or they can go to the jury lounge , but don't

18 eat be there because        that 's a place that may also be

19 frequent ed by people       who may be participati ng in the

20 case .

21            Yes, sir .

22            MR. SUSSMAN :    With regard     to the housekeeping

23 issue about objection        for one is an objection        for all .

24 I think it would be fair for the court make it clear

25 that that 's just an efficiency         thing and has nothing        to




                                                                 Page 15
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 16 of 223



 1 do with us being join ed in any fashion , either

 2 factual ly or --

 3            THE COURT:     I will tell them it is my de sire to

 4 have them out of here before           Christmas   and I   have made

 5 such a direct ive .

 6            All right .    Is there -- now , you say you had a

 7 motion ?

 8            MS. JOHNSTON:     Your Honor , in light of the

 9 court 's ruling    that is deny ing the defendant          Martin 's

10 request    to introduce     the plea agreement s and

11 non- testify ing codefendant s, we would move in limine                to

12 preclude    any defense     counsel    from mentioning     the fact

13 that other defendant s have pled guilty            or what the

14 circumstance s were of those guilty          plea s.

15            THE COURT:     Okay .    Mr. Montemarano , unless     you

16 know some other reason        other than that advance d in

17 your motion , I'm incline d g rant the government 's

18 motion .    I don't see any reason        for any defense

19 attorney    to maki ng reference       to any plea agreement s in

20 opening    statement s.     Any dis agreement ?

21            MR. MONTEMARANO :       Court 's indulgence , please .

22            I don't believe     there 's any other basis that I

23 have at this time .        I will note for the record        that we

24 had request ed to be heard on that motion              and a motion

25 which was only occasion ed by the very late guilty               plea s




                                                                 Page 16
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 17 of 223



 1 of George    Lindsey    Harris    and --

 2           THE COURT:     No .     I have   read very care fully your

 3 motion , the opposition         filed by the     government , and

 4 we've studi ed it .      We 've read the case s.          For reason s

 5 that you will get in an opinion              that he will have to

 6 you probably    within    the hour , you will see that we

 7 don't agree .    So, I will       grant the government 's motion .

 8 Defense    counsel   should     not refer to plea agreement s

 9 during    their opening    statement s.

10           Counsel , with regard       to Juror 8, who was Juror

11 75 during    the selection       process .    I will    have her

12 re place d by the thirteenth         juror , or the first

13 alternate , which is J uror 140 .            Unless   there 's some

14 reason    you want me to bring her in here and tell her

15 she 's excused , I will tell Ms. Merez she is excused                  and

16 she does not need to come in the courtroom .

17           Any objection    to that ?

18           MS. JOHNSTON:         No objection .

19           MR. MONTEMARANO :        No objection .

20           THE COURT:     Ms. Merez , you may excuse          Juror 8,

21 who is Juror 175       and have her re place d with Juror 13 ,

22 who is also Juror 140 .

23           Counsel , any other reason          we should    not begin

24 with preliminary       instruction s?

25           All right , bring them in .




                                                                   Page 17
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 18 of 223



 1                  (Jury returns     at 10 :28 a.m. )

 2           THE COURT:     Good morn ing , ladies and gentlemen           .

 3 First , I want ed to advise       you of a couple     of tradition s

 4 in the court system .         One is that people    stand up when

 5 the judge walk s in , and that 's out of respect          of the

 6 judge 's role of being the finder         and arbiter    of the

 7 law .    It 's not any respect     for me .   It 's for the

 8 institution .     By the same toke n, the       parti es stand up

 9 when you come in the courtroom , and that 's because              of

10 their respect     for your role as the fact finder s in this

11 case .    When you come in , you can plunk yourself           right

12 now just like I do .         So , you don't need to wait until I

13 tell you to     sit down .     Just make yourself     comfortable

14 when you come in , and when you are all seat ed they will

15 then sit down .     So , relax with that .

16           I have already      made a decision    to excuse    one of

17 our alternate s.       I want to en courage     the rest of you to

18 stay healthy , because        if we lose the first alternate           on

19 the first day of trial , that is not a good trend , and

20 our ability     to insure     we get this case to a conclusion

21 will be compromise d.         So I urge you to    stay healthy      and

22 be able to survive       this process .

23           I was a couple      of minute s late today because        I

24 had to go see my doctor , who want s to slice up my left

25 rotato r cuff on July 21 .        So , you can probably      count on




                                                                 Page 18
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 19 of 223



 1 July 21 we won't be sitting .

 2           I want ed to give you some preliminary

 3 instruction s now that you have been sworn to act as the

 4 juror s in this case .        It is going to be your duty to

 5 find from the evidence         what the fact s are .       You and you

 6 alone are the judge s of the fact s.            You will then have

 7 to apply to those fact s and the law as I will give it

 8 to you , and you're        required    to follow   that law whether

 9 you agree with it or not .

10           Nothing that I      may say or do during        the course

11 of this trial is intend ed to indicat e or should              be

12 taken by you as indicati ng what your verdict               should be.

13 The evidence     from which you will find the fact s will

14 consist     of the testimony     of the witness es , document s,

15 and other thing s received        into the record        as exhibit s,

16 and any fact s the parti es agree or stipulate              to or that

17 I may instruct      you to find .

18           Certain   thing s are not evidence        and must not be

19 considered     by you as evidence .        Let me list them for

20 you now .     First , statement s, argument s and question s by

21 lawyer s are not evidence .           In deed , you're   about to hear

22 opening     statement s.     Opening    statement s are not

23 evidence , and what you see and hear out of the mouth of

24 the lawyer s is simply        their view as to what they

25 believe     the evidence     will show or fail to show in this




                                                                  Page 19
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 20 of 223



 1 case , but it is not evidence .

 2            Second , objections      to question s are not

 3 evidence .     Lawyer s have an obligation        to their client s

 4 to make an objection        when they believe       evidence    being

 5 offered    is im proper    under the rule s of evidence .          You

 6 should    not be influenced        by the objection     or by my

 7 ruling    on it .     If the objection      is sustained , ignore

 8 the question .        If it is over ruled , treat the answer

 9 like any other .        If you are instruct ed that some item

10 of evidence       is received     for a limited   purpose   only , you

11 must follow       that instruction .

12            Third .    Testimony    that I exclude     or tell you to

13 dis regard    is not evidence       and must not be considered .

14            Four th.    Anything    you may have   seen or heard

15 outside    the courtroom     is not evidence      and must be

16 dis regard ed .      You are to decide      the case sole ly on the

17 evidence     present ed here in this courtroom .          There are

18 two kinds of evidence :           direct   and circumstantial .

19 Direct    evidence     is direct    proof of a fact such as

20 testimony     of an eyewitness .       Circumstantial     evidence       is

21 proof of fact s from which you may infer or conclude

22 that other fact s exist .          You may consider     both kinds of

23 evidence .     It will be up to you to decide           which

24 witness es to believe , which witness es not to believe ,

25 and how much of any witness ' testimony             to accept or




                                                                   Page 20
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 21 of 223



 1 reject .

 2            I will give you some guideline s for determini ng

 3 the credibility     of witness es as well as complete

 4 instruction s on the law at the end of the case , but I

 5 would like to give you a brief summary             at this time of

 6 some of the element s of the offense s that the

 7 government    has charge d in this case .

 8            In this case the defendant s are charge d with

 9 five different     crime s.     First , conspiracy    to distribute

10 and possess     with intent     to distribute     controlled

11 substance s; second , possession       with intent     to

12 distribute    controlled      substance s; three , use of a

13 communication s de vice to facilitate         narcotic s

14 trafficking ; four , possession       of a firearm     in

15 furtherance     of a drug trafficking      crime ; and , five ,

16 possession    of a firearm      by a convict ed felon .

17            The indict ment contain s a total of 62 count s.

18 Each count charge s a defendant        with a different        crime .

19 Every defendant     is charge d with every crime .          There are

20 seven defendant s on trial before         you .    You must , as a

21 matter of law , consider        each count of the indict ment

22 and each defendant 's involve ment in that count

23 separate ly , and at the conclusion        of the trial you will

24 be asked to return      a separate    verdict     on each defendant

25 for each count in which he or she is charge d.




                                                                  Page 21
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 22 of 223



 1            In reach ing your verdict , bear in mind                that

 2 guilt is personal        and individual .        Your verdict       of

 3 "guilty " or "not guilty " must be based sole ly upon the

 4 evidence     about each defendant .           The case against       each

 5 defendant     on each count stands           or fall s upon the proof

 6 or lack of proof against           that defendant        alone .    Your

 7 verdict     as to any defendant       on any count should           not

 8 control     your decision    as to any other defendant              or any

 9 other count .     No other consideration s are proper .

10            The 62 count s of the indict ment charge                five

11 different     crime s as follow s:       First , each of the seven

12 defendant s is charge d with one count of conspiracy                      to

13 distribute     and possess    with intent        to distribute

14 controlled     substance s in violation          of Title 21 , Section

15 846 of the United        States    Code .     A conspiracy    is a kind

16 of criminal     partner ship , a combination            or agreement       of

17 two or more person s to join together              to accomplish          some

18 un lawful    purpose .    The crime of conspiracy           to violate          a

19 federal     law is an in dependent          offense .    It is separate

20 and distinct     from the actual       violation        of any specific

21 federal     law s which the law refer s to as "substantive

22 crime s."     You may find a defendant           guilty    of the crime

23 of conspiracy     to commit       an offense     against    the Unite d

24 State s even though       the substantive        crime which was the

25 object    of the conspiracy        was not actual ly committed .




                                                                       Page 22
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 23 of 223



 1           In order     to satisfy    its burden    of proof , the

 2 government    must establish        each of the follow ing two

 3 essential    element s beyond a reasonable doubt           .    First ,

 4 that two or more person s entered             the un lawful    agreement

 5 charge d in the indict ment ; and second , that the

 6 defendant    know ingly and will fully became          a member    of

 7 the conspiracy .

 8           Five of the defendant s are charge d with the

 9 substantive        crime of distribution       and possession     with

10 intent    to distribute     controlled       substance s in violation

11 of Title 21 , Section       841 of the United       States     Code ,

12 otherwise    known as the Drug Abuse and Prevention               and

13 Control    Act .     That law make s it a crime for any person

14 know ingly or intentionally          to manufacture , distribute

15 or dispense        or possess   with intent     to manufacture ,

16 distribute    or dispense       a controlled     substance .

17           Defendant     Paulette    Martin    is charged   with 17

18 count s of violating       this statute ; Learley       Goodwin    with

19 two count s; LaNora       Ali with two count s; Derrick          Bynum

20 with one count , and Ruby Harden             with one count .     In

21 order to prove these charge s against             a defendant,     the

22 government    must establish        as to each count the

23 follow ing three element s of the crime :            First , that the

24 defendant    possess ed narcotic       drug s; second , that the

25 defendant    knew that he or she possess ed narcotic              drug s;




                                                                    Page 23
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 24 of 223



 1 and third , that the defendant          possess ed the narcotic

 2 drug s with the intent       to distribute    them .

 3          Each of the defendant s is charge d with use of a

 4 communication s de vice to facilitate         narcotic s

 5 trafficking     in violation       of Title 21 , Section      843 (b) of

 6 the United     States    Code which provides , "It shall be

 7 un lawful   for any person     know ingly or intentionally           to

 8 use any communication        facility    in committing     or causi ng

 9 or facilitati ng the commission          of any act or act s

10 constituting     a felony    under the narcotic s law s."

11          Under this statute , defendant         Paulette      Martin      is

12 charge d with 37 count s; Learley         Goodwin    with five

13 count s; Reece W hiti ng with seven count s; Derrick              Bynum

14 with three count s; Ruby Harden          with two count s; Lavon

15 Dobie with five count s, and LaNora          Ali with two count s.

16          In order   to prove these charge s against            the

17 defendant , the government          must establish     beyond a

18 reasonable doubt        as to each count the follow ing three

19 element s of the crime .       F irst , that the defendant         use d

20 the telephone     as charge d in the indict ment ; second ,

21 that the defendant        use d the telephone    in the process           of

22 committing     or to facilitate       the commission     of the

23 conspiracy     of the    offense    with which the defendant         has

24 been charge d; third , that the defendant            did so

25 know ingly and intentionally .




                                                                   Page 24
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 25 of 223



 1          Two of the defendant s, Derrick          Bynum and Lavon

 2 Dobie , are charge d with possession           of a firearm     in

 3 furtherance    of a drug trafficking          crime in violation        of

 4 Title 18 , Section      924 (c) of the United      States    Code

 5 which provides , "Any person       who , during     and in relation

 6 to any kind of violence       or drug trafficking         crime for

 7 which the person     may be prosecuted         in a court of the

 8 United   States   use s or carr ies a firearm       or who in

 9 furtherance    of any such crime possess es a firearm                shall

10 be guilty    of a crime ."

11          In order   to prove these charge s against           the

12 defendant , the government       must establish      beyond a

13 reasonable doubt     as to each count the follow ing three

14 element s of the crime .      F irst , that the defendant

15 committed    a drug trafficking      crime for which he might

16 be prosecuted     in a court of the United         States ; second ,

17 that the defendant       know ingly use d or carri ed a firearm

18 during   and in relation     to the commission       of or

19 know ingly possess ed a firearm       in furtherance        of the

20 conspiracy    offense    with which the defendant         has been

21 charge d.    In order    to find a defendant       guilty    of this

22 crime , you must also find the defendant            guilty    of a

23 drug trafficking     crime , and I will        instruct   you further

24 about this at the end of the         case .

25          Finally , one defendant , Derrick         Bynum , is




                                                                   Page 25
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 26 of 223



 1 charge d with possession       of a firearm     by a convict ed

 2 felon in violation        of Title 18 , Section    922 (g)(1)   of

 3 the United     States    Code which provides , "I t shall be

 4 un lawful    for any American    who has been convict ed in any

 5 court of a crime punishable         by imprisonment       for a term

 6 exceed ing one year to ship or transport           in inter state

 7 or foreign     commerce    or possess     in or affect ing commerce

 8 any firearm     or ammunition , or to receive       any firearm      or

 9 ammunition     which has been ship ped or transport ed in

10 inter state or foreign       commerce ."

11            The government    must prove each of the follow ing

12 element s beyond a reasonable doubt           in order    to sustain

13 its burden     of provi ng the defendant       guilty .    First ,

14 that the defendant        was convict ed in any court of a

15 crime punishable        by imprisonment     for a term exceed ing

16 one year as charge d and that the state has not re store d

17 the defendant 's civil right s follow ing that conviction ;

18 second , that the defendant        know ingly possess ed the

19 firearm     as charge d; and third , that the possession

20 charge    was in or affect ing inter state commerce .

21            Finally , with regard    to the law , I want to

22 inform    you that as to some of the count s, if you find

23 the defendant     guilty    of that particular     count , you are

24 going to also be required        to determine     the type and

25 quantity     of drug s that were involve d in that count .           I




                                                                 Page 26
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 27 of 223



 1 will instruct     you further      at the end of the case as to

 2 the circumstance s in which drug s should            be attributed

 3 to a particular     defendant      if the government     prove s

 4 those circumstance s beyond a reasonable doubt               .        For

 5 now , however , I ask you to please        pay attention              to any

 6 reference s to the specific         type and quantity        of drug s

 7 that are mention ed during         this trial .

 8           Now I would like to add a few more comment s

 9 concern ing your conduct      as juror s in this case .                First ,

10 I instruct     you that during      this trial you are not to

11 discuss    the case with anyone       or permit     anyone       to

12 discuss    it with you.    Until     you retire     to the jury room

13 at the end of the case to deliberate              on your verdict ,

14 you are simply     not to talk about the case .

15           Second , do not read or listen          to anything

16 touch ing on this case in any way .         If anyone        should         try

17 to talk to you about it , bring it to my attention

18 prompt ly .    To date I have      not been aware of any

19 newspaper     attention   given to this case .        If I become

20 aware of it , I will let you know , but you should                     be

21 care ful and cautious      when reading    news repor ts.              If you

22 see anything     that seem s to touch or reflect         on this

23 case , turn your eye s away and move on to other

24 subject s.     As I said , it 's going to be your duty to

25 decide    this case based sole ly on the evidence                present ed




                                                                         Page 27
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 28 of 223



 1 here in court and not something          you might read in the

 2 newspaper    or hear walk ing down the street .

 3            Third , do not try to do any re search        or make any

 4 investigation      about the case on your own .        I know this

 5 is the era    of the Inter net and people       can't resist

 6 sometimes    going home and turn ing on their computer              and

 7 sniff ing around      to try to do some in dependent

 8 investigation .       That would violate    your oath as juror s

 9 and you are not to do that .          If you have any curiosity

10 about the case and you want to wander           around   the

11 computer    look ing at it , do it when this case is over ,

12 but do not anything       now .

13            Finally , do not form any opinion       until all the

14 evidence    is in .    Keep an open mind until you start your

15 deliberation s at the end of the case .          You may take

16 note s if you want .      Pads and pencil s will     be on the

17 table in the jury room .

18            If you take note s, please     use care , and remember

19 that note taking       can interfere    with your ability      to

20 watch the witness es and to hear everything            the

21 witness es say .      Note s must be left on your chair s in

22 the courtroom      at the end     of the day and on break s.         If

23 some people     have taken note s, their note s will not

24 control    when the jury is deliberati ng .        It is each

25 juror 's individual      recollection    that is to be




                                                                  Page 28
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 29 of 223



 1 considered     when you deliberate      at the conclusion         of the

 2 case .

 3           The trial will begin short ly .         First , the

 4 attorney s will make opening        statement s.     An opening

 5 statement , as I mention ed before , is neither             evidence

 6 nor argument .       It is an outline    of what that party

 7 expect s the evidence      to prove , and it 's offered          to help

 8 you follow     the evidence .

 9           Next , the evidence     will be present ed .       After

10 that, I will give       you instruction s on the law , and the

11 attorney s will make their closi ng argument s to

12 summarize     and interpret     the evidence    for you .     You will

13 then retire     to deliberate     on your verdict .

14           Please   remember   where you are sitting , and after

15 each break come back to the same seat .            After break s

16 and in the morn ing , you should        come back to the jury

17 room next to the courtroom , not to the jury lounge                  on

18 the first floor .

19           A couple    of additional   re mind er s, some of which

20 I think I've give n you previously .           In order     to not

21 have you inadvertent ly stumble         into contact      with

22 someone   who is a party or a witness          in this case , I ask

23 that you pre tend you're        in a department    store and take

24 the escalator      to the fourth    floor and not take the

25 elevator s.




                                                                    Page 29
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 30 of 223



 1           I intend   to operate     this week every day from

 2 10:00 to 4:30 .      That may change , depend ing on

 3 circumstance s.      I understand    someone   had a doctor 's

 4 appointment    so we could n't start early tomorrow , so we

 5 will be do ing 10:00 to 4:30 .

 6           Let me also explain       that this government

 7 build ing has , like most government        build ings , a place

 8 on the first floor where you can purchase            food .     I

 9 don't vouch for the food .         I will tell you though           that

10 while you may buy your food there , I request            that you

11 not eat it there , because        that is a place where people

12 gather    together   who may be involve d in this case and

13 they might be talk ing about it and you might over hear

14 something    you should n't hear .     If you purchase        your

15 food there , please     bring it back to the jury room              or go

16 to the jury lounge      with it , but don't eat your lunch

17 there .

18           I also want to explain       to you that in order          to

19 not have this case last until Christmas , I have made

20 some direct ive s to the attorney s in this case to make

21 it a bit more efficient       in use of your time .       I want

22 you to know that I have , by order , provided           that an

23 objection    by one attorney      is deem ed to have been join ed

24 in by all attorney s on the defense         side .   So if you

25 hear one objection      by one attorney , you should          just




                                                                  Page 30
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 31 of 223



 1 pre tend you heard six more attorney s object .               So , it 's

 2 not that somebody       does n't care .     I have direct ed them

 3 to join in a single       process    of having      a principal

 4 object or as to whom all parti es will be deem ed to have

 5 join ed , unless     they ask to be exclude d from        that

 6 objection .

 7           By the same toke n, I have made that same

 8 direct ive as to the examination           of witness es .     When a

 9 government    witness    is call ed, the     defense    will agree

10 upon themselves       who will be the principal         question er of

11 that witness .       There may be additional         question s by

12 other people       but , once again , I have request ed that

13 they designate       an attorney    to do the lead question ing ,

14 and I have precluded       any additional      question ing by

15 other lawyer s that would be redundant .              That does n't

16 mean there may not be additional            question s and there

17 may be very proper       question s, but in order        to not have

18 repetitious    question ing , I've made that direct ive and

19 you should    consider    nothing    adverse   to any defendant         in

20 this case because       his or her lawyer      didn't    object    or

21 ask any question s of a witness           because    of the

22 directive s that I've given .         So , do not hold that

23 against   them .     Blame me for that .

24           Counsel , unless    there 's anything       further , I'm

25 ready to proceed       with opening    statement s.




                                                                    Page 31
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 32 of 223



 1           MR. MARTIN:      Your Honor , if we may approach .

 2           THE COURT:      You may .

 3                           (At the bar of the Court.)

 4           MR. MARTIN:      Mr. Sussman     had asked that you make

 5 it clear to the juror s that while you may refer to us

 6 collective ly , that individual ly each person          stands

 7 alone and we are not part of a team .

 8           THE COURT:      I've made that plain in my

 9 instruction s that they will make individual

10 assessment s.

11           MR. MARTIN:      Okay .     I drift in and out , Your

12 Honor .   I want ed to make sure it 's covered .

13           THE COURT:      I think I've made that plain .               This

14 is not group justice .        It 's individual    justice .        I

15 think I made that plain on the instruction s.

16           MR. SUSSMAN :     Judge , while we're up here .              I'm

17 going to re serve .     So , the court might mention          --

18           THE COURT:      All right .

19           MR. SUSSMAN :     -- that 's one of the

20 possibiliti es .

21           MR. WARD:     Your Honor , I didn't     want to make a

22 fuss earlier .

23           THE COURT:      Because     I said you were bigger           than

24 me ?

25           MR. WARD:     I take exception      to the court 's




                                                                  Page 32
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 33 of 223



 1 remark s about my weight .

 2           THE COURT:    You come down to my chamber s and see

 3 if you can fit in my clothe s.

 4           MR. WARD:    Judge , I'm sure I can fit your

 5 clothe s.     I hear it from my wife al l the time .

 6           MS. JOHNSTON:      Your Honor , I would prefer       that

 7 we not take a break in between           the government 's opening

 8 statement     and at least    one defense    opening     statement .

 9           THE COURT:    We 're going to go straight         through .

10           MR. MONTEMARANO :     There will not be a break

11 after Ms. Johnston 's opening ?

12           THE COURT:    We're going to go right into your

13 opening .

14           MR. MONTEMARANO :     That 's fine .

15                        (Back in open court .)

16           THE COURT:    Ladies and gentlemen      , whenever        we do

17 that , pre tend you're    at Ocean City or some pleasant

18 beech .     That 's intend ed to make sure that you don't

19 hear thing s that would be in appropriate          for you to

20 hear .

21           I also want to point out to you that there is no

22 requirement     that a person    make an opening        statement    at

23 this time , and in some case s parti es may de sire to

24 re serve their opening       statement    to give it at the

25 beginning     of the defense    case .    So , you're    going to




                                                                 Page 33
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 34 of 223



 1 hear some but perhaps         not all of the defendant s give

 2 opening      statement s.

 3             With that , Ms. Johnston,         you may proceed .

 4             MS. JOHNSTON:     Thank you , Your Honor .          May it

 5 please the court.        Mr. Foreman and ladies and gentlemen

 6 of the jury --

 7             COURT REPORTER:       You need a mike.   You need a

 8 mike .

 9             MS. JOHNSTON:     I'm sure you all will notice

10 that especially         late r in the day my voice will be

11 soft er .     If you have difficulty          hear ing me but , more

12 important ly , if you have trouble             hearing    the witness ,

13 please      start waivi ng your hands and get the court 's

14 attention      so that that witness        can repeat      their answer s

15 to the question s, because           you won't have an opportunity

16 to have transcript s in the jury roo m.              It    is very

17 important      that you hear all of the testimony , but

18 perhaps      not so important       that you hear the attorney s

19 talk .      At the same time , it is help ful if you hear the

20 question      before    you hear the answer .

21             As I said , my name is Deborah         Johnston .     I'm an

22 Assistant      United    States    attorney    who wor ks in this

23 court house for the Department           of Justice .       I am join ed

24 by my co-counsel , Bonnie           Greenberg .    Ms. Greenberg     and

25 I share responsibility            for present ing this case to you.




                                                                    Page 34
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 35 of 223



 1 You will also see some other individuals                  assisting   us

 2 with this matter , and as you go through                 it and see the

 3 volume s of document s and exhibit s that are going to be

 4 present ed to you over the next , hopefully,                only eight

 5 week s or so, you will understand             why we 've need ed

 6 assistan ce.

 7            Sitting    with us    at counsel    table is Ms.

 8 Genevieve    Holmes.      She 's a paralegal      in our office .

 9 She may come in and out , depend ing what kind of

10 assistance     we need at a particular          time .

11            Also present     in the courtroom      are two of the

12 case agent s.        Seat ed right at counsel       table is Thomas

13 Eveler , who 's the task force officer            with the

14 department     -- use d to the be Bureau of Custom s

15 Enforcement , but now it 's Custom s and Immigration

16 Enforcement , and Special          Agent Steve n Snyder , who is

17 like wise with Custom s.          Again , they're    here to make

18 sure that we present         things   to you in an efficient

19 manner   and get our        exhibit s out and order ly in our

20 presentation     to you .       If you see them come or go , it 's

21 only because     they have to take care of a matter              to

22 expedite    the trial .

23            With that said .       When we talk about an opening

24 statement , general ly I like to think of                it as nothing

25 more than a pre view .          We all go to the movie s or to the




                                                                    Page 35
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 36 of 223



 1 theater    or to a ball game from time to time , and when

 2 we go , we general ly know the movie 's a drama , it 's a

 3 comedy , this is the general         plot of the movie , these

 4 are the main character s in the movie , and that 's what

 5 my opening    statement   is .     The opening    statement   is not

 6 intend ed to re view with you every witness           that 's going

 7 to testify    or what those witness es are going to say

 8 but , rather , to give you like a road map to help you

 9 listen    to the testimony       and follow    along with the

10 witness es as they are present ed .

11           In this case , given the length         of the trial and

12 the nature    of the evidence , there may be some witness es

13 who are call ed out of turn ; some witness es will be

14 call ed and then re called        depend ing on what aspect      of

15 the investigation      they're     talk ing about , and I

16 apologize    to you in advance       for any dis orientation .

17 We have witness es comi ng from various           place s throughout

18 the country    to testify , so we have to coordinate            their

19 travel    as well .

20           In term s of present ing you with a pre view , I

21 want to focus in on drug conspiracy .             When you hear the

22 term "conspiracy " in a criminal         case , one think s of

23 this plot to , you know , commit        a crime .    What a

24 conspiracy    is in reality       is nothing    than a business .

25 It is an agreement      between     two or more people      to engage




                                                                 Page 36
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 37 of 223



 1 in activity    to reach a common        objective .       In this

 2 instance    it 's to commit      a crime .    The particular        crime

 3 in this case is the distribution             and possession        with

 4 intent    to distribute       heroin , cocaine     and cocaine      base ,

 5 which is also common ly known as "crack ."                Those are the

 6 drug s involve d in this business .           It is really        nothing

 7 more than a business .          I like to think of        it as

 8 something    -- like in this instance , we all have

 9 perhaps , grow ing up , knew of people            who work ed as Avon

10 ladi es who sold cosmetics         and perfume s, or there was a

11 vitamin    company    who had local distributor s that didn't

12 operate    necessarily    out of store s -- I think it was

13 call ed Shakley      [ph.].     In those case s, people       came

14 together    fulfill ing different       role s.

15            Avon has a president       and executive       office s and

16 corporate    headquarter s and people         who manage     the

17 over all business,      and then they have local

18 distributor s, regional         manager s who manage       particular

19 region s and who obtain         the product s, store those

20 product s and then dispense         them out to their local

21 individuals    who are distributing          them .

22            When you get down to that local level , some of

23 those distributor s will be -- make a living                do ing it.

24 This will be their whole employ ment .                They thrive    on

25 meet ing people      and developing     customers       and business




                                                                      Page 37
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 38 of 223



 1 and so they sell a lot of those cosmetic s because

 2 that 's their main source         of income .     Then you will have

 3 other distributor s in that organization               who got

 4 involve d because    they want ed -- they like d the product ,

 5 so they want ed to get their product s at a dis count and

 6 so they sign ed up as a representative             of Avon and

 7 they 'd get the product s, then they 'd sell maybe some ,

 8 distribute    some to their relative s or their friends                   or

 9 their co workers , but they weren't           really    interest ed in

10 maki ng it their source         of income .     That is really       what

11 a drug conspiracy      is .     It is a drug business .           It is

12 individuals    involve d at all levels          of a business

13 engage d in the business         of distributing       drug s.     Their

14 purpose    and their common       goal is to distribute           drug s,

15 not to necessarily      make a million        dollar s and not

16 necessarily    to make no mone y but to -- they come

17 together    with an agreement       to distribute       drug s.

18            In this case the organization          work s very much

19 like a regional     distribution      center     for product s such

20 as the Avon lady or the natural            food vitamin      people       who

21 sell , without   having       their regional     or having       store s to

22 sell to local people          or having   a specific     re tail

23 outlet , and what I'd         like to do is go over with you the

24 nature    of this particular       business    and this particular

25 drug conspiracy .




                                                                      Page 38
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 39 of 223



 1            This drug conspiracy      involve s a long period        of

 2 time .    The time charge d in the indict ment is         from 19 97

 3 to June 1st of 2004 .          That 's rough ly seven year s and

 4 change -- seven and a half year s.           As with any

 5 business , there are people         who join ed into this drug

 6 business    and left the drug business .        Some came in near

 7 the end of it and some were involve d throughout , and

 8 every individual       in this conspiracy     had a different

 9 role .    You're    going to hear about their role s

10 throughout    this trial .

11            If I could , using this chart , go over with you

12 some of the people       you're    going to hear about .        Because

13 while we have seven defendant s in this case , this drug

14 business    involve s many other people , some of whom are

15 on this chart .       Hope fully , the ones we're going to

16 mention    are on the chart , although       there are probably          a

17 couple    who didn't    make it to the picture        board .

18            What this chart is going to help us understand

19 throughout    this trial is that what we have here are the

20 regional    distributor s in the center       box :    Mr. Goodwin

21 and Paulette       Martin .    They are the regional

22 distributor s.       They are the partner s who ran this

23 business    in Maryland       and the Washington,     D. C. area .

24 Mr. Goodwin    and Ms. Martin , the evidence          will show ,

25 pool ed their money to obtain         drug s, reach ed out to find




                                                                   Page 39
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 40 of 223



 1 source s in dependent     of each other , share d their drug s

 2 with each other , and then use d other individuals , sold

 3 their drug s, provided        their drug s to people    who then

 4 distributed     the drug s.

 5            Mr. Goodwin    and Ms. Martin    are the parti es .

 6 They are the center       of this business       as it operate d in

 7 this area from 19 97 until June 1st of 19 - -- June 1st

 8 of 2004 , which is when search        warrant s and arrest

 9 warrant s were executed        and this organization 's business

10 was shut down .

11            You will hear that indeed , in order         for that

12 business     to work here in Maryland , they had to get the

13 drug s from somewhere , the heroin , cocaine          and cocaine

14 base .    You will hear that cocaine        base -- " crack " -- is

15 ma de from cocaine .      What they do is they take the

16 cocaine     and take out the hydrochloride         that 's in it and

17 make it a more potent         form of cocaine     known as cocaine

18 base .    You will hear it referred        to as "crack ."     They

19 don't grow it here , so they had to develop            their

20 source s to get it from other place s.

21            Ms. Martin    developed   a source    for her heroin .

22 Her source     for heroin     was Ms. Levi and Mr. Turn er .        Ms.

23 Levi and Mr. Turn er obtain ed heroin , at least           during

24 part of the conspiracy , from an individual            name d Moises

25 Uriarte .     They were get ting cocaine        -- heroin , rather .




                                                                  Page 40
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 41 of 223



 1 They got the heroin           and they brought         it back to

 2 Maryland .     Ms. Levi and Mr. Turner           had a residence          up

 3 in Columbia , Maryland          where they process ed heroin .

 4 They took ki lo quantity          -- kilogram     quantiti es of

 5 heroin , 1,000 grams , 2.2 pounds             of heroin .     They took

 6 that heroin , process ed it -- it was relative ly pure

 7 heroin    -- and then they need ed somebody               to market      it

 8 for them     and sell it for them          in this area.

 9            Paulette    Martin    obtain ed the heroin        from them

10 and she, in turn , sold it to individuals , distributed

11 it to individuals        including    her main customer            -- the

12 main person     would be Larry Nunn , who is not on trial

13 here , but you will hear about Mr. Nunn .

14            That is the aspect        of the heroin        that came into

15 this business .        It came from these three individuals                    to

16 Ms. Martin , who then further          distributed         it to

17 individuals     including       Mr. Nunn .     Again , they're       not a

18 one product     business .       They're     in the business        of

19 sell ing drug s.       Their primary       drug in this

20 organization , in addition          to many , many kilos of

21 heroin , was cocaine          and cocaine     base .     Well , you don't

22 usually    buy cocaine        base from out of state .         You

23 manufacture     it yourself       here , which is what Mr. Goodwin

24 and Ms. Martin        did .

25            You will hear reference s during              the trial that




                                                                        Page 41
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 42 of 223



 1 they themselves     made to having       cook ed it up , how the

 2 "orange     muffin s" weren't    very good --        there were other

 3 phrase s they use d to refer to the process ing of

 4 cocaine , but they both had source s for that cocaine ,

 5 and those source s are listed        across the top and you

 6 will hear about them .

 7            There was a source     of cocaine        in California .

 8 Mr.      Steve Brim use d his son at one point as a courier

 9 to bring the cocaine      to these individuals , Ms. Martin

10 and Mr. Goodwin .      Mr. Brim pass ed away in November             of

11 2003 .     Mr. King , his son , was a truck driver .           Mr.

12 King , as a truck driver , and his father             before   his

13 death , both delivered       multiple    kilogram s of cocaine        to

14 Ms. Martin .     In single    ship ment s those were made .

15 There would be ten kilos at a time and 15 kil os at a

16 time .     In fact , you will hear that Mr. King was stopped

17 in Indiana , and rough ly 18 kilos of cocaine              were taken

18 off of his truck , and that cocaine           was intend ed to be

19 delivered     to Ms. Martin     for further    distribution

20 through     the individuals     listed   be low .

21            Well , with particular ly any illegal          product , as

22 opposed     to a legal product , you have difficulty            get ting

23 that product , so you always        want to have multiple

24 source s.     Other source s that both Ms. Martin           and Mr.

25 Goodwin     use d were Luis Mangual , Juan Encarnacion , and




                                                                   Page 42
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 43 of 223



 1 an individual     name d Cuba LNU , "L ast Name Unknown ."            You

 2 will see that throughout        -- you will hear that term

 3 use d throughout , and that 's because        agent s have not

 4 been able to fully identify        Mr. Cuba .

 5            All three of these individuals        going back to the

 6 late nineties     -- Mr. Encarnacion      in the late nineties

 7 provided     multiple   kilos of cocaine , either         to Mr.

 8 Goodwin    or to Ms. Martin .     Mr. Cuba LNU , you will hear ,

 9 was someone     who also provided     cocaine    to the both of

10 them .    Luis Mangual , particular ly in 2003 -2004 ,

11 provided     multiple   kilos of cocaine     to them .

12            Finally , you will also hear about a group of

13 courier s.     These individuals     in this box over here :

14 Michael    Thurman , Tiffany    Vessel s, Ultra McKenzie, John

15 Irby and Xavier Moore        work ed for Mr. Goodwin .        Mr.

16 Goodwin    use d these -- utilize d these individuals , some

17 of whom are drug user s and some of whom sold drug s as

18 well , because    remember    when you're    involve d in the

19 business     you sometimes    play multiple     role s.     They use d

20 those courier s to obtain       cocaine   from two individuals

21 in Texas , primarily      an individual     name d Steve Campbell ,

22 and another     identifi ed only as Kelly LNU .           It is

23 through    those individuals     that Mr. Goodwin         received

24 multiple     kilos of cocaine , as well as Ms. Martin .              They

25 pool ed their money together .




                                                                     Page 43
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 44 of 223



 1          You will hear that at least         one of these

 2 courier s went and pick ed up money from both of them and

 3 took the money and went down to Mr. Campbell , brought

 4 back multiple     kilogram s of cocaine      to Mr. Goodwin      and

 5 Ms. Martin , and then they sold it as powder            some of it ,

 6 and the rest of it they cook ed and convert ed it to

 7 crack cocaine     at various    facilities    -- different

 8 residence s -- and then provided         it to the individuals

 9 in the bottom     box who serve d as distributor s for this

10 organization .

11          Given their role in this conspiracy , by in

12 large , most of the testimony         you hear throughout     these

13 next week s are going to be focused          on them because       they

14 are the principal s in this business .          They are the main

15 individuals .     They are the individuals       who profit ed

16 most from this business        and who controlled      the

17 business .    If you take them out of the picture , what

18 happen s is you can't get this cocaine , this heroin               down

19 to the distributor s and facilitator s.

20          In the bottom      box here you have a number        of

21 individuals .     Those individuals      Mr. Arnold , Mr. Bird ,

22 Mr. Harris , Mr. Lane , Mr. Martin , Mr. Nunn and Mr.

23 Walk er , who are not on trial here .         However , in this

24 box you have Ms. Ali .       LaNora    Ali, you will hear ,

25 teach es public    school   in the District of      Columbia .




                                                                Page 44
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 45 of 223



 1 LaNora     Ali assisted   Ms. Martin    in the cocaine     business .

 2 She assisted     Ms. Martin    in several     way s.   She obtain ed

 3 cocaine     from Ms. Martin , she 'd go into Ms. Martin 's

 4 house and Ms. Martin       kept a log , and she 'd write in it

 5 what cocaine     she was taking .      She was trusted     by Ms.

 6 Martin .     She was able to go in and obtain          cocaine    on

 7 her own .

 8            She also assisted     Ms. Martin , you will hear , in

 9 May of 2004 , as Martin       live d over in Takoma      Park --

10 Hayward Drive     is an add ress you will hear about .            It

11 will stick in your mind probably          forever .     She was

12 do ing a lot of her drug business         out of her house , and

13 you will see surveillance        tape s where people      would

14 call on the phone and they would go over to the house ;

15 they 'd come right out and they 'd come back a few day s

16 later , all a practice      of pick ing up drug s from      Ms.

17 Martin .     Ms. Ali participate d in that contact .            She

18 received     drug s and she distributed       drug s, some of which

19 she may have     kept for her own use , in addition         to

20 distributing     it to people    she knew .     She was also a

21 facilitator.

22            In May , the people    in the neighborhood      are

23 suspicious     of all this activity      in the house .     Ms.

24 Mart in get s concerned , so she says she 's got to move

25 her business     down to her school , which is         in the




                                                                   Page 45
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 46 of 223



 1 District of    Columbia .     It 's call ed Paula 's School of

 2 Perform ing Art s.     There was n't any dance class es going

 3 on ; there was n't any music class es going on there .               A

 4 search   warrant   was executed    on that school       on June 1st

 5 of 2004 , and what they re covered        from that school      was

 6 book safe s contain ing money ; they re covered          cocaine ,

 7 crack , and heroin     as well , al l package d for

 8 distribution .

 9          When she get s this call -- is concerned           about

10 the citizen s meet ing who does she call ?          She call s Ms.

11 Ali and she says , Ms. Ali , come over and help us .             I

12 need your help , and don't tell your husband             what you're

13 doing.     You will see the very bag s that were seize d on

14 June 1st that contain        the drug s being taken out of

15 Hayward.     You will see the video of them get ting into

16 the car and then drivi ng -- the video get s them in the

17 car , and then surveillance       has them at the school        later

18 that evening .

19          In addition     to that , she was so trusted       that Ms.

20 Ali kept in her house a suitcase          of Ms. Martin 's that

21 contain ed rough ly $100,000      in cash .     That was re covered

22 during   the execution      of the search     warrant   on June 1st .

23          Mr. Bynum is a drug distributor .          Mr. Bynum is

24 involve d in the distribution        of drug s.    You will hear

25 back in 19 99 he was found in possession           of drug s during




                                                                Page 46
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 47 of 223



 1 the time of this conspiracy .         You will also hear him

 2 order drug s -- talk to Paulette          on the phone order

 3 "ticket s."     The agent will also tell you that "62 " is a

 4 common     quantity    of crack cocaine , that it break s down

 5 somehow     to start with 1, 000 grams .      It get s down to 62 ,

 6 and then 31 .     62 is a common     quantity   of drug s that are

 7 sold for distribution .        Mr. Bynum got a lot-- many ,

 8 many deliveri es of crack cocaine          from Ms. Martin .

 9            In addition , you will hear that when his

10 residence     was search ed , they re covered    a scale as well

11 as a firearm .        The court will instruct    you that

12 firearm s -- he is charge d with possession            of the

13 firearm     because    he was a convict ed felon and cannot ,

14 under the law , possess       a firearm    but also because      he

15 possess ed the gun in furtherance          of a drug conspiracy .

16 Un fortunate ly , sell ing drug s isn't a legal business , so

17 you need a gun to protect        yourself    -- to protect      your

18 product , because       not only are you concerned       about the

19 police .     Most drug deal er s would n't use their gun

20 against the     police , but they're      concerned    about being

21 rob bed by    other people    involve d in the drug business

22 and by people     just involve d in the crime s, because          they

23 know drug deal er s aren't      going to report       the crime to

24 the police .     So , you need a gun to protect         you in that

25 way .




                                                                   Page 47
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 48 of 223



 1           Then you also have on trial here , Ms. Lavon

 2 Dobie .    Ms. Dobie is also an individual          who is very

 3 close to Ms. Martin .       She obtain ed drug s from Ms.

 4 Martin    for distribution ; she 's involve d with       cocaine --

 5 crack cocaine .       You will hear her ask for it as

 6 something    from the "H ard Rock Cafe ," or who want s to go

 7 to the "H ard R ock Cafe ."      You will understand      by the

 8 end of this trial what term s are common ly use d by

 9 people    engage d in drug trafficking .

10           The agent s in this case have , between         them , over

11 50 year s of law enforcement       investigative      experience     in

12 narcotic s case s.      When you talk about going to the

13 "H ard Rock Cafe ," " rock " is a common         term use d for

14 crack cocaine , because      it 's hard .   Powder    -- regular

15 cocaine    is usually    in a powder   form .     She would not

16 only get the drug s for distribution            from Ms. Martin ,

17 but also when Ms. Martin        and Mr. Goodwin      ran into

18 problem s because      of Nathan K ing get ting arrested        or

19 they 've got some bad cocaine        from Texas , Ms. Dobie

20 look s for and tri es to set up some other source s of

21 supply    for this business .

22           Ruby Harden .    Ms. Harden , like Ms. Ali , work s.

23 She 's a truck driver .      She 's in and out of this area .

24 She 's not in this area every day .         She live s in the

25 Baltimore    area .    Ms. Harden , like wise , obtain ed drug s




                                                                Page 48
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 49 of 223



 1 from Ms. Martin , drug s for herself        and for distribution

 2 to other people .      Very much , perhaps , like that Avon

 3 lady I mention ed to you who become s part of this ,

 4 because    they want the product       for their own use and

 5 also for their friends         or relative s but not in it to

 6 make money off of it .         That would be the role of Ms.

 7 Harden .

 8            Then we have Mr. Reece W hiti ng , who is sitting

 9 over at counsel     table .     Mr. Whiti ng , like wise , is an

10 old er gentleman , as are many of these defendant s.              Mr.

11 Whiti ng , again , was a drug customer        of Ms. Martin .      He

12 call ed her asking     for drug s but also was an advisor          to

13 her .   When any number       of their associate s got arrested ,

14 such as Nathan King,      such as Pernell      Philpot , Ms.

15 Mart in would consult     with Mr. Whiti ng .      Even when Mr.

16 Good win got arrested     in November     of 2003 with crack

17 cocaine , she would consult        Mr. Whiti ng in term s of how

18 their case s should     be handle d.     So , he was an advisor

19 as well to the business , providi ng advice          and also

20 try ing to make sure that any of the people            who were

21 arrested    were not in cooperating       with the government .

22 So , that was his role as well as being an individual

23 who obtain ed drug s from Ms. Martin .

24            As you can see , these individuals       that are on

25 trial here all have particular          role s in this




                                                                Page 49
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 50 of 223



 1 conspiracy .     Some are larger        role s, such as Ms. Goodwin

 2 and Mr. Martin     and other s, are much small er or limited

 3 role s.     The same thing with the time period           in term s of

 4 their involve ment in this case .             Some throughout     the

 5 whole time , such as Ms. Goodwin             and Ms. Martin , in deed

 6 her relationship         with Ms. Ali and Mr. Bynum goes way

 7 back to the late nineties , and other s with more limited

 8 relationship s with Ms. Mart in .

 9            How do we prove -- what is the evidence              that 's

10 going to be brought         before   you ?    Where is it going to

11 come from to prove what I've just laid out from you ?

12 It 's going to come from any number             of different

13 source s.     As with any other business , the best source

14 for how a particular         business    operate s is un fortunate ly

15 some of the people         who participate d in that business .

16 In this case you're         going to hear from some of the

17 courier s.     You're     going to hear from some of the

18 suppliers , because        they know the business .       They have

19 personal     deal ings with Ms. Goodwin         and Ms. Martin .        In

20 hear ing from them -- some of them , in deed , are

21 cooperating     witness es who are testify ing in hope s of

22 get ting a less er sentence .         Other s have got no

23 agreement     at all .     While you will be instruct ed that

24 the testimony     of o ne of them alone would be sufficient

25 if you believe d it to convict           or find someone    guilty




                                                                   Page 50
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 51 of 223



 1 beyond a reasonable doubt        , we don't rely on just their

 2 testimony     but , rather , you will see that there are

 3 document s and there are surveillance s to corroborate

 4 the testimony      of those witness es .

 5            In addition    to that , you will have a snap shot of

 6 this organization        that come s to you as a result      of a

 7 court -ordered     wiretap .    It 's something    you don't get

 8 every day .      You have to go through a        lot of hoop s to

 9 get it .     It 's not like we hear on the news about NSA

10 wiretap ping everyone .        There are court requirement s

11 before     you can get a wiretap , and rough ly from March 7

12 of 2004 until June 1st of 2004 , the telephone s of

13 Paulette     Martin , Luis Mangual , and a Gwen Levi , during

14 different     portion s of that time , were being

15 intercept ed .     So , you will hear -- you will hear Ms.

16 Martin     and Mr. Goodwin     and Ms. Ali and Derrick      Bynum

17 and Lavon Dobie and Ruby Harden          and Reece Whiting      all

18 on the wire tap engage d in drug conversation s.            That 's

19 where the telephone        count s come from .     It give s you a

20 snapshot     view of how this business      operate d.

21            In closi ng , what I ask you to do at this time

22 is , as I said initial ly , when I -- you could n't hear

23 me, or at least      Tracy could n't hear me , our court

24 reporter , is to make sure that you hear all of the

25 testimony .      That is absolute ly imperative , because        you




                                                                Page 51
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 52 of 223



 1 don't get a transcript , and in our judicial               system    you

 2 are going to determine         the guilt of these defendant s or

 3 their not being guilty , and you must do so based upon

 4 all of the evidence .         If you hear all of this evidence ,

 5 then you will be able to consider          it all , and when you

 6 return    a verdict      it will be a just and appropriate

 7 verdict .

 8            In the end , in our closi ng argument , Ms.

 9 Greenberg     and myself     will ask you to do one thing , and

10 that is to hold each one of these individuals

11 accountable     for their individual      role s in this

12 conspiracy .     We will ask you to do that based upon all

13 of the evidence         that you hear throughout    the next few

14 week s.     Thank you .

15            THE COURT:      Mr. Montemarano , you may proceed .

16            MR. MONTEMARANO :     I've been do ing this for about

17 20 year s now , and I think I still need note s.              Part of

18 the reason     for that is it always      leave s me a little

19 breath less when I stand before        a jury and address           them

20 and have someone 's future        in my hands .    So I will tell

21 you , it 's my honor and my privilege          to represent

22 Paulette     Martin .     My name is Michael    Montemarano , and I

23 will be de fend ing her for the next two month s.              We're

24 going to get to know each other pretty            well .

25            I would like to tell you there are other




                                                                  Page 52
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 53 of 223



 1 attorney s represent ing other people           here , so what I

 2 have to tell you this morn ing by in large refer s only

 3 to my client .     They'll     have a chance     to speak to you

 4 later this morn ing .        Some of them may choose          not to

 5 speak you until     the defense        put s on its case sometime

 6 toward   the end of July .

 7          What I would like you to do is think care fully

 8 about what I'm going to tell you .            Listen    care fully to

 9 what I'm going to tell you .            We're providi ng you with a

10 little   in sight , perhaps     a prism which to view the

11 government 's case .        As we all know , there are four

12 branch es of government .        Here in this courtroom            we have

13 the judicial     branch .     You're    in a court of law and

14 Judge Titus will be presiding.             We also have       a

15 legislative     branch .     You 've heard Judge Titus refer to

16 repeat edly to law s that are going to be the subject                   of

17 this prosecution , law s en act ed by congress .              We have

18 the exec utive branch        which is    charge d with enforcing

19 the law s and exercisi ng its discretion , representative s

20 here from the office s of the U. S. Attorney              and law

21 enforcement .

22          There 's a fourth      branch :    Y ou .   What's       it in the

23 constitution ?     What's     it say in    the Declaration         of

24 Independence ?     "We the people ."        You here today , and

25 for the next two month s, are here to judge the fact s




                                                                      Page 53
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 54 of 223



 1 and to determine        what is true and what is not .           What I

 2 have to tell you is my view of the case .              What Ms.

 3 Johnston     has told you is the government 's view of the

 4 evidence .     Ultimate ly , it is your view of the case that

 5 matter s.     They're    asking    you to   judge Paulette      Martin ,

 6 and I'm going to ask you to do the very same thing .

 7 You have to ask yourselves , who is Paul ette Martin ?

 8 I'm going to read you a bit of prose by a famous

 9 American     author .    It 's from an American      class ic --

10 make s a go od movie to , too .        I think it will give you a

11 way of understanding         this prosecution .

12            "Then toss ing both arm s with measure less

13 imprecations , he shout ed out , 'I, I, I'll chase him

14 round Good Hope , round the Horn , round the Norway

15 Maelstrom     and round Perdition 's flame s before            I give

16 him up , and this is what we have ship ped for , men to

17 chase that white whale on both sides of the land all

18 over the sides of the earth until             he spout s black blood

19 and roll s fin up ."       Moby Dick .      I think that give s you

20 a way of understand ing this prosecution , ladies and

21 gentlemen , a way of understand ing the single -mind ed

22 pursuit     of an object .

23            Who 's Paulette    Martin ?      She 's a businesswoman .

24 She 's an entrepreneur .          She 's a concert   promoter .

25 She 's a cook .    She 's a friend .        She 's an aunt .     She 's a




                                                                    Page 54
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 55 of 223



 1 god -daughter .        She 's known and honored       and respect ed in

 2 Washington 's African-American             community .     A drug

 3 deal er ?     Well , I'm here to tell you the truth .               Yes ,

 4 Paulette      Martin    dealt drug s on occasion       -- small

 5 amount s to friends , because           she had a serious      abidi ng

 6 addiction      to cocaine    and had had one for many , many

 7 year s.      It is nothing       like the government       has portray ed

 8 to you , and I suggest           the evidence    will show that .

 9             Look .    Congress    create s the law s.      The U. S.

10 attorney      enforce s them .       Well , let 's talk about law s.

11 There 's a law against           gambling ; right ?      So who here has

12 never thrown         a buck in a pool on the Super Bowl ?                The

13 World Series ?         Or everybody 's favorite , the NCAA

14 basketball      tournament ?        It 's against   the law , ladies

15 and gentlemen .         It 's gambling .      But there are crime s,

16 and there are "crime s."             If you put that money in ,

17 you're      breaking    the law .     But are you a criminal ?            And

18 let 's not even get talk ing about state lotteri es ,

19 please .

20             You see , Paulette       Martin   has a problem    when the

21 government      come s call ing in June of 2004 .           She has well

22 over a half a million            dollar s in liquid      assets -- cash

23 in various      bank account s.        Apparent ly , if you're       a

24 success ful businesswoman , entrepreneur , concert

25 promoter , friend , aunt , cook , and god -daughter , known




                                                                       Page 55
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 56 of 223



 1 and respect ed in the African-American                community     in

 2 Washington , D. C. , you can't have that kind of money .

 3 Maybe you need to run Enron or something , I don't know ,

 4 but you sure can't if you're             Paulette     Martin .

 5            The government 's going to provide            you an

 6 explanation     for where that money came from , and they're

 7 going to say it 's drug money .            That 's one way of

 8 look ing at it , I guess , except          the problem     is the way

 9 they're     going    to try to prove it to you .          They'r e going

10 to bring in cooperat or s, people           who have been convict ed

11 of crime s and cut deal s with           the government     --

12 song birds .    Captive s.      People    who understand         that for

13 their sup per , they certain ly must sing , and sing they

14 will .     They're    obligate d to show you that these people

15 have been paid by the          government        in the best coin

16 possible :     T ime .   Be cause the only way you get time off

17 your sentence        is if the government          make s a motion       to

18 the court for your cooperation .

19            You're going      to hear the word and let ter

20 together     repeat edly :     5(k) .    It 's part of the federal

21 sentenci ng guideline s that let s the government                  move for

22 a reduction     of the sentence         of a defendant     based upon

23 that person 's cooperation .            The government     can make the

24 motion .     No defense      attorney    can .     Only the government

25 can .




                                                                       Page 56
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 57 of 223



 1           I'm going to talk to you about one of those

 2 people    you're   going to hear about a lot .          Here is a way

 3 of welcomi ng      all of these cooperator s.          A gentleman       is

 4 going to be brought        in by the   name of Juan Encarnacion .

 5 He 's a drug deal er from the Dominican          Republic .        He

 6 pleads    guilty   sole ly to his cocaine      deal ing .     He does

 7 both , but he only pleads       guilty     for one .    He get s a

 8 break in his sentence        for his cooperation        year s back --

 9 nine year s -- and       he 's going to come before         you

10 anticipati ng a further       break because     of a motion

11 they're    bring ing .

12           Ms. Johnston     talk ed about witness es comi ng in

13 from out of order .        We will be moving     witness es in

14 from out of the country .        Sure , Mr. Encarnacion           is a

15 guest of the federal        government .     He 's in a federal

16 institution     in Arkansas    the last time I look ed .

17           Ms. Johnston     said , perhaps    you don't want to

18 listen    to the lawyer s.     No , I suggest    you do want to

19 listen    to the lawyer s.     Not that what we say is

20 evidence ; it gives you a way of look ing at the

21 government 's case .       So when we probe the honesty , the

22 veracity , and the recollection          of the government 's

23 witness es , especially      these paid witness es , I suggest

24 to you our question s will be important           to you , because

25 they're    question s you're    probably     going to want to ask




                                                                     Page 57
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 58 of 223



 1 yourselves .      The government     is put ting on these people

 2 in light of      Paulette    Martin 's name in spite         of the fact

 3 they know about the         source s of the funds which they

 4 seize d in June of 2004 .         They know , I am sure -- ladies

 5 and gentlemen , we're going to bring in evidence                  about

 6 the Mary Payne T rust .        Mary Payne ?      My client 's

 7 god mother .     We're going to bring in the attorney              who is

 8 the trustee      of the Mary Payne T rust , who is the

 9 signatory      on the four check s amount ing to almost

10 $100,000    in cash written       to Paulette     Martin .     It's not

11 drug money .      No one has ever suggest ed Mary Payne             is a

12 drug deal er .     Because    of her love for Paulette          Martin ,

13 she is virtually      the sole beneficiary         of the trust .

14 There is $100,000      in cash .

15            The fur s and the    clothi ng .     Mar y Payne    had a

16 mass ive collection , and it        all went to Paulette          Martin .

17 She then sold or gave it away .              She doesn't     get money

18 for fur s and does n't get money for jewelry .                There 's

19 the concert      promoter    who -- I believe , the gentleman             is

20 from North Carolina .         His name is William son .         In May

21 of 2004 he is paid $130,000          to promote     on behalf      of

22 Paulette    Martin   a tour by a band -- I believe             the name

23 is Levert -- the brother s Levert .             I'm no music ex pert .

24 I'm sorry .      Entrepreneur ?     Okay .     Or the sale of

25 Paulette    Martin 's home in Prince          George's   County    and




                                                                     Page 58
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 59 of 223



 1 the amount      of money she net ted out of that .         I think

 2 you get the idea .

 3             Look at her .    She 's 59 year s old .     A drug

 4 deal er ?    Deal ing in kilogram       quantiti es of cocaine ?

 5 Dealing     in mass ive amount s of heroin ?

 6             You heard Ms. Johnston .       People    carry gun s.

 7 Where are the gun s?         Not in her possession .       She has

 8 all the stuff in her possession            and does n't find it

 9 necessary     to have a firearm .        Their own theory    does n't

10 make sense .      I suggest    that 's not the only thing that

11 you will see in the government 's case that does n't make

12 sense .

13             Look at the rest of the codefendant s, ladies and

14 gentlemen .      Look at their age s.       The popular    id ea --

15 television     and movie s -- is       drug deal ing is a young

16 man 's game , a violent       person 's game .      Where are the

17 young , violent     people    here ?    Ask yourself    whether   or

18 not maybe a woman who is         drug -addict ed might sale

19 cocaine     to her friends     in small amount s, in grams and

20 eighth s of ounce s -- tiny amount s -- to help her

21 friends .

22             If you listen    care fully to the evidence      and

23 scrutinize      the evidence    by the government , ladies and

24 gentlemen , you will find out you have some problem s

25 with these bought      and paid for cooperat or s or the




                                                                    Page 59
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 60 of 223



 1 people    they don't bring in .          One name -- one person          who

 2 was on Ms. Johnston 's large chart is John Martin ,

 3 Paulette     Martin 's boyfriend .        You will hear witness es

 4 de scribe    John as her husband .         John Martin     live d in her

 5 home .    You will hear evidence          that John Martin       had

 6 large amount s of drug packaging            taken from his vehicle

 7 year s ago .    Where 's John Martin ?

 8            If you look , you listen        and you think , Paulette

 9 Martin    will be just fine .          Ask yourself , where these

10 people , the LNUs , "last names unknown            ," are ?     They've

11 been investigati ng this for year s and they haven't

12 found these people         yet ?     Their cooperat or s are

13 perfect ly happy to come in and dump on people                  in the

14 government 's custody .            They provide   in dependent

15 information .     I don't think so , ladies and gentlemen                .

16 Ask yourselves , because            I won't al ways be able to .

17            What question s need to be answered             for you to        be

18 able to establish       whether       or not the government 's

19 prove d its case beyond a reasonable doubt             ?      If you

20 look , if you listen        and if you think , you will see

21 Paulette     Martin   is nothing       like what they say .       Thank

22 you very much .

23            THE COURT:      All right .     Ladies and gentlemen        ,

24 we're going to take a recess             before   we hear additional

25 opening     statement s.     We'll recess     until quarter       of 12 .




                                                                     Page 60
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 61 of 223



 1                          (Jury excused at 11:27 a.m.)

 2                          (Off the record at 11:27 a.m.)

 3                          (On the record      at 11 :47 a.m. )

 4            THE COURT:     Counsel , what is the order we 're

 5 going in ?

 6            MR. HALL:     I think that is what we intend ed ,

 7 Your Honor , was just to go in order .

 8            THE COURT:     All right .      Mr. Martin , you will be

 9 the first .

10            Bring them in .

11                          (Jury returns     at 11 :49 a.m.)

12            THE COURT:     Ladies and gentlemen      , we will

13 continue     with opening    statement s.      Now we will hear

14 from Mr. Martin .

15            MR. MARTIN:     Thank you , Your Honor .

16            May it please     the court .     Counsel .   Members of

17 the jury,     my name is Anthony     Martin .     I represent    Mr.

18 Learley    Reed Goodwin .

19            Mr. Goodwin , would you please        stand up , sir ?

20                  (Defendant     Goodwin     indicating .)

21            MR. MARTIN:     Mr. Goodwin      is 63 year s old now ,

22 ladies and gentlemen       , and I need to let you know from

23 the outset     that the defense     does not deny that Learley

24 Reed Goodwin     know s Paulette    Martin .     I think the

25 evidence     is going to show that .        The evidence     is going




                                                                   Page 61
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 62 of 223



 1 to show a lot of thing s, but it 's not going to show

 2 everything     that the government      tell s you .     For that

 3 reason    we would ask you to       keep an open mind .

 4            First and fore most , you have        to remember     that

 5 Mr. Goodwin     was presumed    innocent       the day the police

 6 came and arrested       him ; he was presumed       innocent    when he

 7 walk ed into this courtroom ; and he is presumed               innocent

 8 when you start your deliberation s.              He cannot     be found

 9 to be anything       else unless    and until the government

10 prove s beyond a reasonable doubt          that he is guilty        of

11 any wrong do ing .

12            What is it that the government          says that Mr.

13 Goodwin    has done ?    They tell you between         19 97 and 2004

14 he conspire d with some other people             to distribute

15 controlled , dangerous      substance s.        We submit    that the

16 evidence    is not going to show that .           The government

17 tell s you also that in Count Two , on November               25 , 2003

18 or thereabout s, that Mr. Goodwin          was found and arrested

19 while try ing to distribute         crack cocaine .      What the

20 government     has not told you , and what the evidence             will

21 show , is that the car Mr. Goodwin             was arrested    in was

22 not his car .     The car Mr. Goodwin          was arrested    in

23 belong ed to a cooperating         witness .     The car Mr. Goodwin

24 was arrested     in , and the drug s that were found in the

25 car , did not belong      to Mr. Goodwin ; he did not




                                                                   Page 62
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 63 of 223



 1 acknowledge     that those were his and , in fact , during

 2 his arrest     the evidence   will show a telephone       call was

 3 received     by the police , and it was after that telephone

 4 call that they were able to find the drug s that

 5 supposedly     belong ed to Learley    Reed Goodwin .     That is

 6 Count Two .

 7            There are other count s related       to Mr. Goodwin .

 8 Count 18 , which occurred       on March 17 , 2004 , where the

 9 government    alleges   that Learley    Reed Goodwin     made the

10 first of five telephone       communication s to facilitate

11 the use and distribution        of drug s.    What the government

12 has not told you is that 's not his phone number , and

13 the government     is not tell ing you who initiate d the

14 call s.

15            The same is true with respect       to the phone call

16 made on March 24 , 2004 , in Count 26 .         That is not his

17 phone number , and they're       not tell ing you who initiate d

18 the call .

19            April 24 , 2004 , which is Count 48 .       Again , what

20 the government     is not tell ing you is that that 's not

21 Learley    Reed Goodwin 's phone number , and they're         not

22 tell ing you who initiate d the call .

23            May 5th 2004 the government       says that he use d a

24 telephone     to facilitate   and help distribute       drug s.

25 That 's at Count 51 .     Again , they're     not tell ing you




                                                                Page 63
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 64 of 223



 1 that he did not initiate        the call and whose phone

 2 number    that is .

 3           May 15 , 2004 , the last of the use of telephone

 4 communication s, which is Count 54 .           Again , that's     not

 5 his telephone    number , and they're        not tell ing you who

 6 initiate d the phone call .

 7           We've got 62 count s here .        Of those 62 counts ,

 8 five -- five are telephone         communication s.     You've     got

 9 the conspiracy        count , which is an umbrella     count ;

10 you've    got Count Two , which I've already        told you what

11 the evidence    will show , and then you've        got these five

12 communication s.

13           The last count is one that Mr. Goodwin           also

14 denies,    and that is on May 15 , 2004 , possession         with

15 intent    to distribute     a controlled , dangerous     substance .

16 He denies    each and every one of these count s, and we

17 believe    that the government      will not be able to show ,

18 just because    they allege     that he 's involve d in some

19 illegal    activity     or agreement , that it is so .

20           Somebody     point ed out to me just a few minute s

21 ago that the government        trial counsel     had mention ed

22 that they were giving        you a pre view of "comi ng

23 attractions."         Ladies and gentlemen    , as you all know ,

24 usually    what happen s in a pre view of "comi ng

25 attraction s," you see the best scene s.           We would submit




                                                                Page 64
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 65 of 223



 1 that you have seen the best , and from here it 's not

 2 going to get any better .

 3            The presentation    of the evidence .           The

 4 government     is going to get to go first , and that 's how

 5 it should    be because     they have the burden           of proof .

 6 The defense     -- when I say "the defense ," I'm speak ing

 7 of Learley     Reed Goodwin    and Learley       Reed Goodwin         alone ,

 8 because    that 's who I represent .

 9            The defense    has absolutely        nothing    to prove .

10 While we may put on evidence , the judge has already

11 told you we don't have to do that , because                 if we don't

12 feel that they've        submitted     enough   evidence , we may

13 very well decide     that it 's not necessary             for us ,

14 because    your common     sense will guide you and dictate

15 you .   L adies and gentlemen    , when you came through               that

16 door , although    you've    been instruct ed , nobody           told you

17 you had to leave your common            sense outside .       In fact ,

18 we're count ing on the fact that you will use your

19 collect ive judgment       and common     sense during       this entire

20 process , and particular ly during          the deliberation

21 process , to do what's       right .

22            After the government        present s its evidence , then

23 the defense     goes , and then the government             get s another

24 opportunity     to present    evidence     again if they so

25 choose .    Again , that 's as it should         be , because        they




                                                                        Page 65
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 66 of 223



 1 have a very , very high burden         to meet .   The type s of

 2 evidence     you're   like ly to see and hear in this case

 3 government     trial counsel    has already     point ed out some

 4 of that to you .       She mention ed some of the thing s

 5 you're     like ly to see and hear .      You're   like ly to see

 6 and hear audio tape s, transcript s, and you will hear

 7 something     about surveillance , GPS and those sort s of

 8 thing s.     The evidence    will not show that there was any

 9 GPS track ing on Mr. Goodwin .         The evidence    is not going

10 to show any surveillance        on Mr. Goodwin .      The evidence

11 is not going to show that there was a wiretap             order on

12 Mr. Goodwin 's phone .       You're   going to hear that with

13 respect     to other defendant s and other people        who may

14 not be in this courtroom , but you're           not going to hear

15 that regard ing Learley       Ree d Goodwin .

16            With respect   to the government 's witness es .

17 Watch what happen s.        What you're    going to see is that

18 first the government        is going to put a law enforcement

19 officer     on the stand over there , and then in between

20 that they'll     put in their cooperat or s, and then in the

21 end they're     going to put on other law enforcement

22 personnel , and they're       going to do that in an effort         to

23 put their weak est in the middle , the ones that you're

24 not like ly to believe , because        they know that common

25 sense dictate s that when somebody          has something    to gain




                                                                Page 66
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 67 of 223



 1 by lying that their testimony            is not to be give n the

 2 weight    that the government        would like you to       give it .

 3 So , they're    going to put on law enforcement             officer s

 4 who have what many people           believe    to be an unbiased

 5 and objective        view of what the evidence          show s.

 6 They're    not unbiased     and objective .        They sit here with

 7 the government .        They in vested    time in this case .         They

 8 have in vested       their reputation .       They've    put their

 9 knowledge     and experience       to bat as to what the evidence

10 they think show s, and they 've sold that package                  to the

11 government , and now the government             has brought       it into

12 court .    Keep that in mind when the officer s testify ,

13 and particular ly keep that in mind when you're

14 deliberati ng .       Yes , the officer s do have a vested

15 interest     in the outcome       of this case .

16            With respect    to the people       who are sandwich ed in

17 between    those law enforcement         official s, what the

18 evidence     is going to show is that each and every one of

19 those people      has something      to gain from their

20 testimony .     You've    already    heard the term 5(k).           You

21 might also hear something           about a Rule 35 , because         at

22 least one witness        is in jail now who was arrested             back

23 in Indianapolis , and you will hear more about that

24 later on .

25            Witness    testimony    for the defense .       I've already




                                                                      Page 67
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 68 of 223



 1 mention ed to you that we don't have to present             any

 2 evidence .     But if we do , there will be a substantial

 3 variance     between     what the government     want s you to

 4 believe    and what we believe         your common   sense lead s you

 5 to believe .     The evidence       you won't see and hear is Mr.

 6 Goodwin    carry ing money for any of the codefendant s, Mr.

 7 Goodwin    being arrested        with any of the codefendant s,

 8 Mr. Goodwin 's fingerprint s on any of the weapon s that

 9 may be referred         to in this case , Mr. Goodwin 's

10 fingerprint s on any of the baggi es that may be referred

11 to in this case , picture s of Mr. Goodwin            in any of the

12 co conspirator 's house s with , perhaps , the exception            of

13 Paulette     Martin .     We've look ed at a lot of evidence .

14 The government        may have    evidence   in that regard , but I

15 haven't    seen it .      It does n't mean it does n't exist , but

16 we haven't     seen it at this time .

17            What I'm asking       you to do , ladies and gentlemen        ,

18 is to keep an open mind and just don't buy into the

19 government 's theory        because    they wear the title "the

20 government ."     Your task at the end of the case s in

21 chief for both the defense            and the government   is to

22 deliberate , and that mean s everyone           gets to speak .

23 Everyone     should     get to speak at least     once -- at least

24 once and give consideration            to what everybody   says .

25 Not everyone     is as articulate        as some of the other s,




                                                                Page 68
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 69 of 223



 1 but it does n't mean that the same weight                should n't be

 2 give n to everybody 's note s in the deliberative                 process .

 3 I want you to         compartment alize the evidence .          There 's

 4 seven people        sitting      over here .     There 's seven people

 5 here .     Please     look at the evidence         only as it relate s

 6 to Learley     Reed Goodwin .         Of the 62     count s, eight

 7 count s reference        him .     Five of those eight talk about

 8 telephone     use .     Remember , he has nothing        to prove .

 9            I've already       told you, and the judge has told

10 you , he is presumed          innocent .       Don't abandon   your

11 collective     common     sense .     Don't be bulli ed into

12 accept ing someone        else 's reasoning .        And please    -- I've

13 told you this before -- don't allow for a spill over

14 effect .

15            It 's going to be a long case , and I really

16 appreciate     you taking         the time to sit and listen          to

17 this case .     On behalf         of Mr. Goodwin , I want to thank

18 you for the attention             that you've     paid thus far , and I

19 particular ly want to thank you for considering                   not only

20 what we may argue but what each and every juror has to

21 say when you finally             go into close d session .      Thank

22 you .

23            MR. HALL:      May it please         the court .    Counsel .

24 Ladies and gentlemen of the jury                , my name is Marc Hall,

25 and I have the privilege             of represent ing Reece Whiting .




                                                                      Page 69
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 70 of 223



 1 I'm going to ask Mr. Whiting         if he will stand for a

 2 moment     so you can see him .     I real ize with the podium

 3 here , it 's --

 4                   (Defendant Whiting indicating.)

 5            MR. HALL:     You can sit down , Mr.     Whiti ng .

 6            I real ize with the podium      here sometimes      it 's

 7 difficult     to see some of the participant s over there .

 8 I want ed to make sure you had an opportunity            to meet my

 9 client .     During    this trial , the government     is going to

10 prove to you that my client , Reece Whiting , is not

11 guilty     of this charge .     The government    is going to

12 bring in their evidence         and present    it to you , and what

13 you are going to see is very simply            that their evidence

14 is great ly want ing as relate s to Mr. Whiti ng .          You will

15 reach the in escapable        conclusion   at the end of it that

16 Mr. Whiti ng is not guilty .        I only represent     Mr.

17 Whiti ng , and I think other counsel          have made mention        of

18 the fact that each of us only represent s our individual

19 client .     So the remark s I'm going to make here this

20 afternoon     -- I think it 's just a minute       past 12 --

21 relate     only to Mr. Whiti ng .

22            The government     has outline d their case to you .

23 Let me take that outline         and outline    what I expect     you

24 are going to see during         the course    of this case from my

25 point of view and sort of give you a prism or heads up




                                                                  Page 70
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 71 of 223



 1 as to where this case is going to go .             Now , the

 2 government     has told you that during         the course     of this

 3 trial you are going to hear evidence             that come s from

 4 what are referred       to as wiretap       or Title 3

 5 conversation s.

 6           First of all , it will become         very apparent     to

 7 you during     the course      of this trial that my client , Mr.

 8 Whiti ng , has known Paulette        Martin    for a very long

 9 time .    As such , there is nothing         suspicious    or il legal

10 about the fact that he call s her .            He does n't call her

11 with any tremendous       frequency , but he does call her

12 because    he know s her .

13           You are going to hear , during         the course     of this

14 case , through      the government 's evidence , that there are

15 approximately , give or take , a few -- about 12 phone

16 call s involving      my client    having    a conversation     with

17 Ms. Martin .       I suggest    to you that the most important

18 thing you can do from the defense             point of view is to

19 listen    very close ly to those phone call s, because            when

20 you listen     to them you're      going to see that those phone

21 call s are not about drug transactions .

22           You're    also going to learn during          the course     of

23 this case -- I think Ms. Johnston             alluded    to it in a

24 way , but I'll make it a little         more direct .       You are

25 going to learn during          the course    of this case that my




                                                                   Page 71
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 72 of 223



 1 client , Mr. Whiti ng , has a law degree .          He is not and

 2 never has been license d to practice            law , but he does

 3 have a law degree .

 4           You will see that there are a number           of

 5 occasion s in which he and Ms. Martin            have conversation s

 6 that concern     people    that she know s that       have been

 7 arrested , and I suggest       to you that you're       going to see

 8 that it 's quite normal       and in no way nefarious         the fact

 9 that as he does have some familiarity             with the law , she

10 asks him question s that are appropriate            to ask someone

11 who know s that .    He 's not practici ng law without            a

12 license    or anything     of that nature , but these are not

13 un usual question s to ask somebody           who know s something

14 about what they're        talk ing about .     S o you have those

15 conversation s between       Ms. Martin      and Mr. Whiti ng .

16           Then another     set of conversation s, still within

17 the limited    number     that I told you , but you will also

18 have conversation s in which they talk about "ticket s."

19 Now, that    is something     that I believe      you heard in the

20 government 's opening ; you heard it in another            counsel 's

21 opening ; and you're       going to hear it throughout         this

22 trial .    But what I'm going to ask you to do -- when you

23 listen    to those conversation s about ticket s, I want you

24 to pay very close attention         to what is actual ly being

25 said , because    whether    or not "ticket s" is a code word




                                                                  Page 72
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 73 of 223



 1 is something , I guess , you're       going to determine        at

 2 some point at the end of the case .            I suggest     to you

 3 that what you should         make note of is , at least       with

 4 reference     to the conversation s that Mr. Whiti ng has

 5 with Ms. Martin , you're        never going to hear the word

 6 "ticket " attach ed to a number .       That 's going to be very

 7 important , because        it is difficult    to imagine     that

 8 somebody    could actual ly be ordering        drug s from Ms.

 9 Martin    without   being able to attach       a number     to it so

10 that she would know what he was talk ing about .               So I'm

11 going to ask you to pay attention            to that during     the

12 course    of those telephone      conversation s.

13            Also , you're    going to hear during     the course          of

14 this case from individuals         that are referred        to from

15 time to time as cooperating         witness es , or you 've heard

16 mention    from some of my brother      counsel     about

17 individuals     who may have     pled guilty    in reference        to

18 what 's call ed a 5(k) letter       or have made some sort of

19 an agreement     with the government      in which they are

20 testify ing in ex change       for some type of relief        from

21 their sent ence .     To that ex tent -- and the court is

22 going to certain ly instruct        you as to this -- you have

23 to look at their testimony         in light of what it is

24 they're    get ting out of whatever     deal they made .

25            I also want you to pay very close attention               to




                                                                  Page 73
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 74 of 223



 1 what you hear from any cooperating           witness   in regard      to

 2 Mr. Whiti ng .     Remember , Mr. Whiti ng stands      alone just

 3 as all of these defendant s stand alone , and you have to

 4 judge his guilt not collective ly with everybody             else ,

 5 but you have to judge his guilt just based upon what

 6 you hear from cooperating        witness es regard ing any

 7 allege d purchase s that he may or may not have made .

 8 What I suggest      to you that you are going to hear is

 9 that to the ex tent that Mr. Whiti ng ever purchase d

10 anything    that we are talk ing about amount s so

11 in credibly   small that they could not possibly           be for

12 the purpose      of re distributing     drug s to anyone   else .

13            You are also going to hear , during         the course      of

14 this case , that my client , Mr. Whiti ng , is 64 year s

15 old .    In fact , I jokingly    said to one of my fellow

16 counsel    that the collective        age of the defense

17 attorney s in this case is probably          less than the

18 collective    age of these defendant s.        You are also going

19 to hear that Mr. Whiti ng -- the government            spoke to you

20 about this -- that the purpose           of deal ing drug s is

21 obvious ly to make money , but you're         going to hear that

22 Mr. Whiti ng is poor .      He is so poor in fact       that you're

23 going to hear that he had to live with his and rent a

24 room from his ex-wife       in order     to put a roof over his

25 head .    Hard ly the lifestyle       of the drug deal er that the




                                                                Page 74
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 75 of 223



 1 government     wish es to make Mr. Whiti ng out to be .           You

 2 will also hear that he had to work several             job s even to

 3 make ends meet in that limited         fashion   that he had .

 4            What you won't hear in this case , however , is

 5 you will not see any drug s brought         into this courtroom

 6 that have Mr. Whiti ng 's name attach ed to them from a

 7 transaction .     You will not hear of surveillance            that

 8 show s Mr. Whiti ng maki ng a drug deal with anybody .                You

 9 are not going to hear about his car being follow ed or a

10 GPS de vice being attach ed to it .

11            I suggest   to you that as the trial progress es

12 you will see that there is very lit tle to be present ed

13 in this case involving       my client , Mr. Whiti ng .      As

14 such , you can expect     that when witness      after witness

15 take s the stand and testifi es concern ing possibly              other

16 individuals     that I'm not going to cross witness es that

17 do not involve     my client , Mr. Whiti ng , because , as I

18 said to you , I only represent        Mr. Whiti ng , and I am

19 sure that Judge Titus would        be very happy that I do not

20 spend time cross ing people       that do not affect      my

21 client .    Remember , ladies and gentlemen      , this is the

22 government 's case to prove .        As you have been told , Mr.

23 Whiti ng , as all criminal      defendant s, is presumed

24 innocent , and he 's innocent      until such time as you , the

25 jury , finds that there is sufficient          evidence   beyond a




                                                                  Page 75
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 76 of 223



 1 reasonable doubt        to convict   him of anything .

 2            Now , I grew up in what's      common ly referred    to as

 3 southern     Maryland , in a little      town call ed Chesapeake

 4 Beach.      As such , I went fish ing a lot when I was a kid ,

 5 and you quick ly learn when you fish that sometimes                you

 6 catch large fish and sometimes           you get small fish , and

 7 sometimes     when you go fish ing you pull up an eel , or

 8 you find that your hook got attach ed to a rubber              tire .

 9 But when you first feel that tug on your fish ing line ,

10 you don't know what you have there , and I suggest              to

11 you that that 's what the position          of the government 's

12 case is .     They thought    there was something      more to Mr.

13 Whiti ng and Mr. Whiti ng 's involve ment than it really

14 is .

15            I suggest    to you , ladies and gentlemen     , that

16 when you have heard all of the evidence             in this case

17 and you've     had an opportunity       to reveal   it and you've

18 heard the judge 's instruction s to you and you've             gone

19 back in the jury room        and you've    discuss ed it , you will

20 see that Mr. Whiti ng just should          not have been there

21 and should     not have been here in this case and in this

22 courtroom , and I expect       that you will return      a verdict

23 of not guilty .        Thank you .

24            THE COURT:     Thank you .

25            MR. MITCHELL:     May it please    the court .




                                                                Page 76
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 77 of 223



 1 Counsel .     Good morn ing ladies and gentlemen of the

 2 jury .     My name is Timothy    Mitchell , and I also have the

 3 privilege     to represent    Derrick    Bynum .

 4            Can you please    stand up ?

 5                  (Defendant     Bynum indicating.)

 6            MR. MITCHELL:     This is Derrick        Bynum , for those

 7 of you who can't see over the podium .

 8            I think you will be happy to hear I'm going to

 9 be brief .     You've   heard a lot already , and I don't want

10 to repeat     a lot of what has been said .           I do have

11 thing s that I would like to add beyond              what counsel

12 have said , but I think in my opinion              you really    want to

13 hear the evidence       and you want to hear the witness es

14 and you don't want to hear the lawyer s talk about what

15 they think is or is not going to happen .

16            I certain ly don't have a crystal          ball .     I don't

17 suppose     that the government    has a crystal        ball .    You're

18 going to hear evidence .        The evidence        is going to come

19 from the witness es and the document s that are present ed

20 to you .     As other counsel    has told you , what's

21 extreme ly important       here is that my client , Mr. Bynum .

22 I represent     only Mr. Bynum , and he      has plead ed "not

23 guilty ."     He is given the right of the presumption              of

24 innocence .     The burden    is on the government        then to

25 prove that they have evidence           which you must find




                                                                    Page 77
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 78 of 223



 1 prove s their case beyond a reasonable doubt               .

 2            Now , there is a lot that 's been said by the

 3 government     about all the relationship s between               all

 4 these people     and that 's how it make s up big business ,

 5 and they've     referred    to this case as a business

 6 venture .    Well , one of the thing s they            didn't    tell you

 7 about my client       that I    think is very important           and I

 8 would ask you to consider          as you're    listening        to all

 9 the thing s that are said about my client                is my client

10 has a special     relationship      with Paulette        Martin .       He is

11 the father     of her grandchild .      Naturally , there is

12 going to be a connection          between    the two .     There is

13 going to be communication          between    the two .        It 's not

14 going to be un natural         or strange    that they have some

15 connection     or communication , far from a business

16 relationship     that the government         is suggest ing to you .

17            The government      also mention ed that Mr. Bynum has

18 a prior conviction , and that is in fact                what the

19 government     intends   to introduce       to you .     Again , prior

20 convictions     don't mean that they're         in fact        guilty    of

21 something    else later on .       So , I ask you , when you do

22 consider    that and get that evidence , to look at that

23 from the standpoint        of that is his past , and look at

24 the evidence     for the future      today what you hear as to

25 whatever    conduct    he 's involve d in .




                                                                       Page 78
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 79 of 223



 1           What the government         is going to base a

 2 tremendous     amount     on for Mr. Bynum is all the

 3 communication         that he had with Paulette       Martin .      Again ,

 4 as I mention ed to you , he is the father             of her

 5 grandchild     -- her granddaughter .           They are intend ing to

 6 interpret     those phone call s and try to convince               you

 7 that the words use d in these phone call s mean that

 8 they're     naturally     or certain ly talk ing about drug s and

 9 nothing     else .     What I    ask you to do is what other

10 attorney s have asked you to do :              Keep an open mind .

11 Think .     Is it really        that clear ?    Is it really     that

12 certain ?     What words are use d, mean ing between             the --

13 what words are use d that naturally              mean "drug s?"

14           As I said , I am going to be brief .              I don't want

15 to repeat     a lot of the thing s that have been said by

16 counsel     because , again , I think you understand             our

17 client s all have the presumption              of innocence , and

18 it 's your burden        to collective ly decide      if the evidence

19 meet s the standard        of "beyond a reasonable doubt           ."    I'm

20 not limiting         my conversation s with you because          I have

21 little    to say , because        there will be a lot to be said

22 throughout     this trial .        We'll be here for a while and

23 we'll have an opportunity            at the end of the case to

24 come back and discuss            whether   the government    has

25 actual ly come through           with their promise s to you of




                                                                      Page 79
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 80 of 223



 1 what they think is going to happen .            At that point

 2 we'll have much more to say about what the evidence                    is

 3 or is not and how it relate s to the verdict .

 4            Again , thank you very much , ladies and

 5 gentlemen , for being here .          I know it 's a sacrifice .            I

 6 know that you're        all thrill ed to be on this jury .            But

 7 as you all have been here , you all understand            it 's a

 8 tremendous     duty that you have , and we appreciate            you

 9 being here .     Thank you very much .

10            THE COURT:     Mr. Ward .

11            MR. WARD:     Thank you , Your Honor .     If the court

12 please .

13            THE COURT:     You may proceed .

14            MR. WARD:     Counsel .     Ladies and gentlemen of the

15 jury , good afternoon .       My name is Peter Ward , and I am

16 a lawyer    in private     practice    in Towson , Maryland , just

17 above -- north of Baltimore           City , and I've been

18 appoint ed to represent       Lavon Dobie in this case .          I

19 want Lavon Dobie to stand so that you can see who she

20 is .

21                  (Defendant Dobie indicating.)

22            MR. WARD:     That 's Ms. Dobie , my client .      Ms.

23 Dobie has pled "not guilty " to these charge s.              She has

24 demand ed her right to have a trial before            a jury .        I'm

25 sure if she want ed to make a deal , there are plenty                  of




                                                                 Page 80
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 81 of 223



 1 deal s being offered         by the government , but she chose

 2 not to because      she want s her case to be judged             by you ,

 3 and she 's confident         that you will find the government 's

 4 case lack ing .

 5            I'm afraid      I don't have    any assistant s to

 6 introduce .      I don't have        a co-counsel .    It 's just me .

 7 I don't have      a couple     of agent s sitting      with me at the

 8 trial table to help me and run and get thing s for me

 9 when I need them .          I don't have    a paralegal       work ing for

10 me .     It 's just me .     And I certain ly don't have two

11 great big cart s, as you can see over here , full of

12 whatever     they're    full of to present      to you .

13            Now , there was a comment        -- I think it was Marc

14 Hall about fish ing .         Of course , the problem         with comi ng

15 last , or at least         towards    the end , is much of what you

16 are going to say has already             been said .    I was going       to

17 use that analogy , because            I think it 's a very apt

18 analogy     as far as      this case is concerned       and

19 particular ly as far as         my client    is concerned .       I speak

20 only for my client , Lavon Dobie .

21            The government      in this case cast a very , very

22 wide net .     When you go fish ing and you catch a -- you

23 cast a wide net , you're         going to catch an awful lot of

24 fish .     As my brother      counsel    Mr. Hall said , there are

25 big fish that you're          going to catch , and you're         going




                                                                     Page 81
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 82 of 223



 1 to hear an awful lot of those big fish testifying                   for

 2 the government .

 3           As the judge said to you in his comment s

 4 earlier , you must look upon the testimony           of

 5 cooperator s -- these big fish -- with considerable

 6 scrutiny , and he will give you instruction s on the law

 7 that appli es at the end of the proceed ings before                 you

 8 deliberate .     Why do you look upon that kind of

 9 testimony     with such scrutiny ?     Because   of two thing s.

10 1. B ecause    there are people    who have something         to sell .

11 What do they have to sell ?        They have to sell to the

12 government     whatever   stori es they can concoct       that they

13 believe    the government    is interest ed in buy ing and ,

14 second, b ecause    the government     has bought    them .     I

15 don't mean the government        paid cash for them , but they

16 gave them something       -- are going to give them something

17 far more valuable      than money : plea deal s.       Whether       it

18 be less time in jail or whether         it be no time in jail

19 at all , whatever    the consideration , the government              has

20 paid it to them , and therefore        you have to look at that

21 testimony     askance , ladies and gentlemen     , and consider

22 what's    flow ing back and forth .

23           Ms. Johnston    talk ed about business , and a

24 conspiracy     is just a business .     Well , there 's business

25 going on between     the government     and these cooperator s




                                                                  Page 82
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 83 of 223



 1 -- these big fish -- and that 's why you have to look at

 2 their testimony         very , very care fully .     When you're

 3 look ing in the net beyond         the big fish , you get down to

 4 the little     fish .     That , ladies and gentlemen       , I suggest

 5 to you -- and I suggest          to you this is what the

 6 evidence    will show is that my client , Lavon Dobie , is a

 7 little   fish .     She is a woman who just about all of her

 8 adult life has suffered          from the curse of drug

 9 addiction .       Since she was arrested      back in June of '04,

10 she has taken measure s to try to beat that addiction

11 and has not been using drug s.

12            In any event , she was an addict , and there is no

13 question    and we make no bone s about the fact that she

14 purchase d drug s for her own personal             use .   Does that

15 make her a drug trafficker ?           I suggest , ladies and

16 gentlemen , that when you listen           to the fact s and you

17 listen   to the law , you will find that though              she may

18 have been a drug addict , and though           she may have      bought

19 for her personal         use , that does not make her a drug

20 trafficker .       To use the analogy      that Ms. Johnston         use d

21 of the Avon lady :         My client   was not a regional

22 distributor       for Avon .    She was not even a local

23 distributor       for Avon .    She was the one that show ed up

24 at the Avon party and bought           some lipstick       or some

25 powder   or some perfume        because   she like d it .     She was




                                                                   Page 83
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 84 of 223



 1 not part the Avon business .

 2          Judge Titus,    in the process      of select ing this

 3 jury , talk ed to you about bedrock        principle s, and you

 4 all swore on your oath s that with regard            to those

 5 principle s that you could follow         the instruction s given

 6 you on the presumption       of innocence .     That is , that my

 7 client   and in deed as with all client s are presumed               to

 8 be innocent    when they come into the courtroom .

 9          Another   bedrock   principle    that the judge talk ed

10 about was the burden      of proof .     That is the burden          of

11 proof being on the government          to prove their case

12 beyond a reasonable doubt        and burden    of proof remain ing

13 on the government      throughout    this trial .

14          Another , as the judge call ed , it "b edrock

15 principle " is the principle        that there is no burden              on

16 my client , as in deed there is no burden           on any

17 defendant    to prove herself     or himself    innocent .         The

18 burden   is always   -- and it 's a heavy burden .           The

19 burden   is always   with the government .       It 's a heavy

20 burden   because   the government      seek s to deprive

21 defendant s -- and certain ly in this case my defendant

22 -- of her liberty .      When the might and power of the

23 government    come s down on an individual       as it has done

24 in this case with my client , my client          has the right

25 not only to expect      but demand     that they prove her




                                                                  Page 84
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 85 of 223



 1 guilty    beyond a reasonable doubt      .

 2           One of the other bedrock       principle s that I'm not

 3 sure was mention ed in opening        but it certain ly is a

 4 bedrock    principle    of our system    of criminal    justice      is

 5 the right to trial before        a jury .     A jury , ladies and

 6 gentlemen , as you will hear I'm sure again in this

 7 case , you as a jury stand between           the might and power

 8 of the United    States    government , the two lawyer s

 9 sitting    at trial table , the paralegal , the two agent s,

10 the mighty    stack of evidence      on those two cart s over

11 there -- you stand between        all of that and my client .

12           These right s the judge talk ed about were

13 original ly en shrine d in a document         that was known as

14 the Magna Carta , or The Great Charter .           That document

15 is th e -- not one of the , but the bedrock          document s on

16 which our whole Anglo- American         system   of justice   is

17 based .    The Magna Carta came about in 1215 when the

18 barons    of England    confront ed the tyrannical      monarch ,

19 King John and demand ed that they as citizen s be given

20 certain    right s.    They didn't   want John being the law in

21 and of himself .       They didn't   want to live subject       to

22 the whim and capias       of King John .      They want ed law s set

23 down -- principle s of justice        set down .    Hence , the

24 Magna Carta .    So you , as juror s, ladies and gentlemen            ,

25 have a long and honorable        history     going back to 1215 .




                                                                 Page 85
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 86 of 223



 1 As I said , you are like the bar on s who stood up to King

 2 John .   You are sworn on your oath to stand up to the

 3 government    and demand         that the government   do its job .

 4            I think it 's been said by other counsel          -- I

 5 don't want to pro long my comment s, but I think it bear s

 6 repeat ing -- that you as juror s are the supreme             judge s

 7 of the fact s.     Judge Titus is the judge of the law .              He

 8 will tell you what the law is , and he will tell you how

 9 you must apply it .        But when it come s to the fact s,

10 you , ladies and gentlemen          , over rule everybody   because

11 it 's your assessment          of the fact s that govern s in this

12 case .   You're   going to have to go back in that jury

13 room at the end of this trial and sift through               a whole

14 mountain    of evidence        and testimony , and I certain ly

15 don't envy you that job .            You will have to separate       the

16 wheat from the chap , so to speak , and when you have

17 done your job as you were sworn to do , we -- that is my

18 client   and I -- feel confident          that you will find as to

19 her that the government            has fail ed in its attempt   to

20 prove her guilty        beyond a reasonable doubt      .

21            I thank you for your attention         to my remark s,

22 ladies and gentlemen       .      I wish I could say I was the

23 last to speak to you , but I think there are a couple

24 more , or at least       one .     Thank you again .

25            THE COURT:     Thank you .




                                                                 Page 86
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 87 of 223



 1            MR. SUSSMAN :        My name is Ed Sussman .       I

 2 represent     Ruby Harden .        With the court 's permission , I

 3 will re serve my opening .

 4            THE COURT:      He will re serve his opening           until

 5 the beginning        of the     defense    case .

 6            THE COURT:      Mr. McKnett , do you         wish to proceed ?

 7            MR. MCKNETT :        Yes , Your Honor .

 8            Good morn ing .       My name is Harry McKnett .            I

 9 represent     LaNora    Ali .

10            Ms. Ali , would you stand please ?

11                      (Defendant    Ali indicati ng .)

12            MR. MCKNETT :        Ms. Ali is a marri ed woman .              Her

13 husband     is here today .        She is a daughter .       Her mother

14 is here , too .       She is a friend .        Her friends    have been

15 here -- are here today and have been here previous ly

16 and will continue        to be here during           the course   of this

17 trial .     Ms. Ali has live d and work ed in the

18 Maryland -Washington , D. C. area for 35 year s.                  She is a

19 schoolteacher        -- elementary        school .    She is 52 year s

20 old .     She has never before        been accused       of a crime .

21            I am the last lawyer           to speak today , and I

22 suspect     you're    tire d of hear ing lawyer s talk .          I

23 suspect     you're    anxious     to get this trial start ed , so

24 I'll be brief .        I want you to remember           five point s.

25 First , it is the law that associati ng with someone                       who




                                                                         Page 87
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 88 of 223



 1 is a criminal     does not by itself      make you a criminal .

 2            Second , it is the law that merely       being present

 3 when a crime take s place does not by itself            make you a

 4 criminal     either .   In both instance s more than that is

 5 required .     It is the burden    on the government      to prove

 6 all the element s of a crime before         you can find anyone

 7 guilty    of anything .

 8            Third , it is the law that a fact that a person

 9 does something     that may further      the purpose s or the

10 objectives     of a conspiracy    does not make that person              a

11 member    of the conspiracy     unless   that person    act s with

12 knowledge     of the conspiracy    and with the intention           to

13 further    the purpose s or objectives      of the conspiracy .

14            Fourth , it is the law that it is not enough

15 that a person     may act negligent ly , care lessly ,

16 mis taken ly , not of igno rance,     by mis take , or fool ish ly .

17 Before    you can find a person      guilty , you must find

18 beyond a reasonable doubt        that he or she act ed

19 know ingly , intentionally , voluntarily        to further    the

20 purpose s of the conspiracy .

21            Fifth , it is the law that simply       buy ing drug s

22 does not by itself        make the buyer a conspirator .        A

23 mere buyer of drug s for personal         use is not a member            of

24 a conspiracy     to distribute    drug s, because    such a buyer

25 has agreed only to buy drug s and not to distribute                 them




                                                                Page 88
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 89 of 223



 1 further .     That is an essential        element    of a conspiracy

 2 charge .     If you keep these five point s -- these five

 3 simple     point s in mind and apply them to the evidence                  in

 4 this case , at the end of this trial you will return                   a

 5 just verdict     with regard     to Ms. LaNora       Ali , and that

 6 verdict     will be "not guilty ."        Thank you .

 7            THE COURT:      All right .     Counsel , I suggest       that

 8 this is an opportune         time to take a lunch break , and we

 9 can begin testimony         immediate ly follow ing lunch .          The

10 clock says 12 :35 .      Let 's resume     at 1:40 , all right ?

11            Thank you very much , ladies and gentlemen            .

12                         (Jury excused at 12:        35 p.m.)

13                         (Off the record       at 12 :35 p.m. )

14                         (O n the record      at 1:53 p.m. )

15            MR. MONTEMARANO :     Your Honor , very brief ly .

16 Thank you for permitting         me a bit of additional        time

17 before     you came out .     On behalf    of myself , I'm stand ing

18 in for my office .       Something   came up in the U. S.

19 Attorney 's office      in Baltimore      that I    had to sort out

20 for my partner .

21            THE COURT:      Mr. Sussman .

22            MR. SUSSMAN :     Two preliminary       matter s, Your

23 Honor .     My first request     is a request       for severance      and

24 mis trial based on that .        In term s of the opening

25 statement s.     What we 've heard here is a fair ly




                                                                  Page 89
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 90 of 223



 1 consistent      pattern    of Ms. Martin    sell s small amount s of

 2 drug s and three of the defendant s have already                   opened

 3 as buyers      of small amount s of drug s.      That kind of

 4 leave s me in a very difficult           place because       the

 5 evidence , from my understand ing , will be very similar

 6 in term s of conversation        in term s of the wiretap            to

 7 three defendant s who have already           admitted    as of their

 8 defense    that they're      engage d in some sort of drug

 9 deal ing or drug buy ing , I should         say , albeit      not

10 perhaps    that charge d in the indic tment.          From     a factual

11 stand point it put s me in a situation          where I'm faci ng

12 an ir reconcilable        defense .    Not only that -- that 's

13 only one prong of the request .

14            The second     prong is that I believe       that the

15 severance      of my client    would be in the interest             of

16 judicial    efficiency .      Probably    my client   by herself

17 would be a two -day trial .           With everyone   else it 's

18 project ed to be ten week s.           So , I don't see that the

19 judicial    efficiency      favor s my client , nor is the cost

20 of the proceed ing in that fashion           particular ly

21 appeal ing .     For that reason , I would ask that the court

22 grant the severance         that we've previously       request ed .

23            THE COURT:      All right .    Ms. Johnston       or Ms.

24 Green berg .

25            MS. JOHNSTON:      Your Honor , as in any conspiracy ,




                                                                       Page 90
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 91 of 223



 1 different      individuals   have different       role s.     Counsel    is

 2 in correct .     If we were to try his client         separate ly , it

 3 would still be a significant          length     of trial because        we

 4 would have to prove the over all conspiracy                 and the

 5 defendant 's participation         in it .     The mere fact that

 6 some defendant s, through         counsel     and opening

 7 statement s, are not evidence , but because            they in

 8 opening    statement   have admitted         that their client s may

 9 have use d drug s or Ms. Martin        may have     sold small

10 quantit ies while she was using drug s does not in any

11 way infer guilt on the part of Ms. Harden .                  So , we

12 would suggest      that there is no basis for a severance                at

13 this time .

14           THE COURT:     I have    previous ly , at the outset           of

15 this case , over the government 's case -- I don't want

16 to say    opposition , but lack of enthusiasm , directed

17 that this case be broken          up because     it was way too big

18 to be tri ed in one case , and that 's why we have the

19 group ings that we have now .         I've thought     long and

20 care fully about that .       I think the group ings are

21 appropriate .

22           I have previous ly address ed the question              of a

23 severance .      I don't see anything         new that would cause

24 me to change      my mind , and we simply        -- I don't see any

25 prejudice      -- obvious ly nobody 's enthused       about being




                                                                    Page 91
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 92 of 223



 1 involve d in a long trial , but by the same toke n, there

 2 is simply     not the resource s to grant 31 separate            trial s

 3 in this case , and the group ings that I have direct ed

 4 the government     to pro pose have been accept ed by the

 5 court and I believe        they're    appropriate , and therefore

 6 I deny your motion        for severance .

 7            MR. SUSSMAN:     As thing s develop       I will renew it

 8 if appropriate , Your Honor .

 9            THE COURT:     That 's your job .     Go right ahead .

10 That 's fine .

11            MR. SUSSMAN:     The second    issue is fair ly much

12 simpler    from my perspective .        I think the government

13 indicated     its first witness       was going to be Officer

14 Sakala    and this from , my perspective , set s a tone .            I

15 note in his Jenks material           he introduced    himself    to the

16 grand jury as he 's current ly assigned           to major narcotic

17 defender     conspiracy    unit of the Special       Investigation

18 Division .     I think that    kind of self- vouch ing create s a

19 parameter     of the people    I'm investigati ng and

20 testify ing about are particular ly dangerous            people .        I

21 think it 's enough      to say , I'm a narcotic s cop for

22 Montgomery     County or whoever       it is .   He can de scribe

23 his background , but that kind of self- vouch ing with

24 your title is , I think , in appropriate          and prejudicial ,

25 and I would ask that all the agent s who testify                not --




                                                                   Page 92
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 93 of 223



 1 it 's kind of like talk ing about the congressional                 Medal

 2 of Honor I    won when you introduced          me to the jury .         It

 3 has nothing    to do with the proceed ings .

 4           THE COURT:        Ms. Johnston .

 5           MS. JOHNSTON:        Your Honor , these people         are

 6 witness es who are going to de scribe           their background .

 7 Wh en we talk about witness es, the           government     is going

 8 to intend    to proceed      -- as we did in the first trial ,

 9 we're going to call Agent Sakala             basically   to lay a

10 foundation    for the use of some of the wiretap              call s

11 with other witness es , and we will later recall                 him when

12 we play the three volume s of call s that the court has

13 in front of it .       Also , we have some other witness es

14 whom we will call periodically --             surveillance       agent s,

15 some detective s such as Randy Kuscan , who is going to

16 testify   today of a limited        nature    concern ing the July

17 2nd 2002 seizure       --

18           THE COURT:        I don't want to cut you short , but

19 I'm going to cut you short .

20           I'm going to deny the motion .           What the

21 gentleman 's job title is what it is .            I don't know         how

22 you intend    to introduce       him , but if the title is not

23 his real title then I'll obvious ly consider               the

24 question .

25           Let me caution       counsel .     I've taken 16 -- 15




                                                                     Page 93
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 94 of 223



 1 people    and taken them away from their summer , and I

 2 don't want to have juror s sitting          back there wait ing

 3 while we come up with un scheduled          motion s not

 4 previous ly filed in accordance        with the order s of this

 5 court .    I recognize    that some matter s come up that just

 6 come up , and I'm not going to stop that from happening ,

 7 but please    understand    th ey've been out there wait ing

 8 since 20 of two to have us have them back in the

 9 courtroom .

10           I'm going to deny that motion .

11           I'm ready to     proceed .   Call your first witness .

12           MS. JOHNSTON:      Your Honor , we would ask the

13 court to impose     a rule on witness es in this matter          with

14 the except ion of the government 's case agent s.

15           THE COURT:     For the person s in the courtroom           now

16 -- and I need to have help from all the officer s of the

17 court here to keep this in force -- any person              who is

18 present    in the courtroom     who expect s to testify       as a

19 witness    in this case should     be excused    at this time .

20 In addition , any person       who does testify     is preclude d

21 from discuss ing his or her testimony          with any other

22 witness es who are not yet in the courtroom .

23           MR. MONTEMARANO :     On behalf    of the defense , we

24 would like to know exact ly who the case agent is or

25 isn't .    Will it be these two gentlemen ?         Because




                                                                 Page 94
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 95 of 223



 1 Special    Agent /D etective    Sakala    sat through    jury

 2 selection , for example .

 3           MS. JOHNSTON:       It will be these two agent s who

 4 are our case agent s.         Detective    Sakala    will be

 5 testify ing as an ex pert witness , as was previous ly

 6 dis close d, but he will not be present             in the courtroom

 7 during    the other testimony , although        as an ex pert

 8 witness    I imagine   he could be in the courtroom             but he

 9 will testify    as an ex pert witness .

10           THE COURT:    Call your first witness .

11           Ms. Merez , bring the jury in.

12           MS. JOHNSTON:       Your Honor , our first witness

13 we're going to be using the monitor            for .    Comi ng in

14 here there 's usual ly a big monitor          there for the people

15 in the back row .

16           THE COURT:    Wait .    I'm get ting a signal .

17           Ms. Johnston , I'm inform ed that the set up we

18 have in the courtroom         right now is the set up that

19 traditional ly is use d in this courtroom , and in order

20 to bring this large screen         thing , there 's connector s we

21 don't have .    They would have to re move a row , and it 's

22 not feasible    -- they do have monitors            in front of each

23 and every one     of them .

24           MS. JOHNSTON:       They don't have monitor s in front

25 of each and every one of them .            Your Honor , there are




                                                                    Page 95
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 96 of 223



 1 three small monitor s in the front row ; there eight

 2 juror s who are sitting       in the back row who have no

 3 monitor .     If the court would like , I can put the first

 4 exhibit     up on the screen    and it will be very difficult

 5 for the people     in the back row to read what 's on the

 6 monitor .

 7            THE COURT:     I'm as far away as the      people     in the

 8 back row are from it and I can see it beautiful ly .

 9            MS. JOHNSTON:     I have tri ed case s in this

10 courtroom     before , and every time I've tr ied a case

11 there has been a big monitor          for the juror s in the back

12 row .   I don't know      whether   it 's usually   here or I've

13 just been fortunate        to have it in this courtroom .         I

14 thought     it was in the courtroom      when I was in    here last

15 week , but that could be an over sight on my part , but

16 there is usually        a big monitor   in there when I've tri ed

17 a case in here .

18            THE COURT:     Hold on just one second .       Ms.

19 Johnston , it is simply       not going to be possible         to get

20 this done in a few minute s.          It is not normal    to have

21 those monitor s in this courtroom .          It is possible      those

22 monitor s belong    to Courtroom      2A where I have    a special

23 fondness     for them .    If we can get them up here , it 's

24 going to be a long time .

25            MS. JOHNSTON:     Your Honor , I'm not asking         that




                                                                   Page 96
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 97 of 223



 1 the court delay start ing now .

 2          THE COURT:     I'm not going to delay start ing now .

 3 If we can get it done -- I suspect          it 's not going to be

 4 able to get done until tomorrow .          That 's best I can do .

 5          MS. JOHNSTON:      We appreciate     that very much .

 6 It 's been my experience , and I may have          been fortunate

 7 to have been in here --

 8          THE COURT:     You've    been very fort unate,     and

 9 we'll try to keep you being fortunate , but we're not

10 going to have it today .         I will ask Chime s, which is

11 going to have to do some brain surgery           to one of those

12 row s, as well as the IT people , to do what they can to

13 set you up with      one large monitor , and that 's all we

14 can do , but it can't be done today .          So , call witness es

15 as to which that will not be critical           and can proceed .

16          Bring the jury in .

17          Counsel , I'm going to re mind you , you are my

18 policeman     for identify ing who are the witness es .         If

19 you see anybody      who is a witness     that does n't belong

20 here , let me know .

21          MS. GREENBERG:      Your Honor , I just inform ed Mr.

22 Ward that somebody      who is on his witness       list is in the

23 courtroom .

24          THE COURT:     Mr. Ward , did you hear that ?

25          MR. WARD:     I'm sorry ?




                                                                Page 97
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 98 of 223



 1            THE COURT:     There 's someone     on your witness      list

 2 in the courtroom .        Are you going to not call that

 3 person , or do you want to excuse          them ?

 4            MR. WARD:     No , Your Honor .     There 's more than

 5 one Goldie     Dobie .    There 's a Goldie      Dobie , III .   We're

 6 not talk ing about the       client 's husband .

 7            THE COURT:     All right .

 8            MS. JOHNSTON:     Your Honor , Ms. Glad ys Segal         is

 9 in the courtroom .        She is going to serve as an

10 interpreter     for our next witness .        I don't see that

11 that 's a problem .

12            THE COURT:     Interpreter ?      That 's no problem .

13                   (Jur y return s at 2:06 p.m. )

14            MS. JOHNSTON:     Your Honor, the government would

15 call Sergeant     Chris Sakala.

16 Thereupon,

17                          CHRISTOPHER    SAKALA ,

18 having been called as a witness on behalf of the

19 Plaintiff, and having been first duly sworn by the

20 Courtroom Deputy, was examined and testified as

21 follows:

22            THE CLERK:     I need you to state your name for

23 the record.

24            THE WITNESS:     Christopher      Sakala.    S A K A L A.

25                           DIRECT   EXAMINATION




                                                                    Page 98
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 99 of 223



1            BY MS. JOHNSTON:

2 Q.         Sergeant   Sakala , where are you employed       ?

3 A.         Montgomery    County Police Department.

4 Q.         How long have you been employed there?

5 A.         Since 1981.

6 Q.         And in what capacity?

7 A.         From 1981 to 1987    , I was assigned to the          Patrol

8 Division     of the   Silver Spring District.       From 1987 to

9 2005 , I was assigned to the        Special    Investigations

10 Division,    Narcotics    Section ; and from 2005 to the

11 present , I'm assigned to the        Fourth District     Patrol.

12 Q.        How many years did you spend investigating

13 narcotics cases?

14 A.        Going on 18 years.

15 Q.        You indicated that you're       no longer in

16 narcotics?

17 A.        That's correct.

18 Q.        Why is it that you left the        Narcotics    Section?

19 A.        I was promoted in earl     y 2005 and transferred to

20 Patrol Division.

21 Q.        Thank you.    Are you currently a sergeant           , then ,

22 with the police department?

23 A.        That's correct.

24 Q.        Was that transfer part of your being promoted?

25 A.        Yes.




                                                                  Page 99
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 100 of 223



1 Q.         During your 18 years in narcotics        , could you

2 describe for us the kinds of case         s that you've

3 investigated?

4 A.         The first couple of years     , 1987 or late '80s       , I

5 investigated --      I was assign ed to the regular        Narcotics

6 Section in dealing      with, I guess , mid -level violator s,

7 using things such as direct buys, hand           -t o-hand buys,

8 buys with informants       to do investigations.

9            In 1989 , I was transferred to our        Major Narcotic

10 Offenders    Section , which works with federal task forces

11 and federal agencies to target higher level

12 organizations focusing on going after an entire

13 organization as opposed to an individual.

14 Q.        Have you been federally deputized during your

15 time in law enforcement?

16 A.        With several different agencies       ; FBI, IRS, DEA

17 and U. S. Customs     Service which is now       Immigration and

18 Customs   Enforcement.

19 Q.        What is the difference between acting just as

20 Montgomery    County police officer and being federally

21 deputized?

22 A.        It gives you police powers or the same law

23 enforcement authority as a federal agent.        Your title

24 is a task force officer but it         gives you the same legal

25 authority to make arrests as a federal officers.




                                                               Page 100
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 101 of 223



1 Q.       How many years have you worked as a federal task

2 force officer?

3 A.       Probably my first year was probably the late

4 '80s or '90s, and in this current one            -- for this

5 current case from     , I believe , 1995 to the present.

6 Q.       Could you describe for us some of the

7 investigative tools that        are used during the course of

8 a narcotics investigation?

9 A.       There's a whole myriad of thing         s that we use.

10 Everything from cooperating informants.        We use what

11 are called pin registers.     We use search warrants, we

12 use records, financial records, subpoenaing of records,

13 we use telephone records.     We use pole cams,          cameras

14 that do surveillance     .   M ore recently   in the last     --

15 probably last four years      , we use thing s that are known

16 as GPS tracking devices.      Pretty much anything at your

17 disposal , and then ultimately we use sometimes what's

18 call ed a Title 3    or electronic surveillance.

19 Q.      You use d a couple of term      s that if we could

20 begin with pin register      , if you could redescribe for

21 the ladies and gentlemen of the jury what a pin

22 register is and what kind of information you get from

23 it?

24 A.      Pin register is a device also known as a dial

25 number recorder that is placed on a telephone.         It




                                                                Page 101
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 102 of 223



1 records the telephone numbers that           a target telephone

2 is in contact with.     In other words, what numbers are

3 dial ed from    that phone   and what    numbers are call    ed to

4 that phone.     It does not record the conversation          , but

5 what it does is it establishes calling patterns for

6 your target that your phone is in contact with phones

7 A, B and C.     By using that device      , you can establish

8 relationships between your target and other

9 individuals.

10 Q.      And you referenced cooperating individuals.

11 What do you mean by      a cooperating individual?

12 A.      That can fall into a whole host of categories             ,

13 everything from a paid informant to a defendant who's

14 cooperating as part of a plea agreement          , a disgruntled

15 husband , a wife, ex -girlfriend usually are very good

16 informants, neighbors, concerned citizens, almost any

17 of the individuals will fall into that category and

18 probably used all of them at one point in time.

19 Q.      Now, in regard to those individuals that we

20 typically think of     as informants,      people who are

21 receiving some benefit from the government           , do you

22 treat those individuals differently than getting a call

23 from a regular law-abiding citizen?

24 A.      Yes.

25 Q.      How is that?




                                                               Page 102
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 103 of 223



 1 A.         You know , obviously the person has a bias of

 2 some type and you're certainly more cautious when

 3 dealing with that individual and take step            s to make

 4 sure that what that person is telling you is correct or

 5 true , and the way we do that is we try to get

 6 independent corroboration of what that person is

 7 telling us so we don't take it on face value            .        W e then

 8 go back and      try to   get records , other witness es to

 9 corroborate what this person or that person has told us

10 as being true.

11 Q.         You also mentioned a     Title 3,    or wiretap

12 interception.     Are you able to use those in every case?

13 A.         No.   Very rarely.

14 Q.         Could you explain some of the limitations that

15 are placed upon law enforcement in using a             Title 3

16 intercept.

17 A.         In both federal and state law, the requirement

18 -- the main requirement for a        n electronic     surveillance

19 is the investigation -- investigative technique of last

20 resort .    Y ou must exhaust every other option or show

21 that other options are not viable to succeed                in

22 investigating      the case.    So it's the    las t thing you do.

23            Once you decide that's the path you're going to

24 go, there's a whole series of steps you need to take in

25 order to get approval to even apply for the authority




                                                                    Page 103
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 104 of 223



 1 to use electronic surveillance.

 2 Q.       And then using a n electronic surveillance, is a

 3 court order required?

 4 A.       Yes, it    is .

 5 Q.       Could you describe for the ladies and gentlemen

 6 of the jury some of the limitations imposed upon law

 7 enforcement officers in us       ing a Title 3     interception in

 8 a case such as drug conspiracy?

 9 A.       Yeah.   When you make your application, you apply

10 to listen to specific targets        , named targets for

11 specific conversations.      In other words       , you can't

12 listen to every conversation that you intercept.          The

13 conversations are broken down into what we call

14 pertinent conversations      , that being conversations which

15 are usually of a criminal nature and           nonpertinent

16 conversations.

17          The law permits      you to listen to conversations

18 that are pertinent, conversations that            -- it does not

19 permit you to listen to        nonpertinent    conversations.     So

20 as you're listening when a         nonpertinent    conversation

21 comes up or a conversation turns into a            nonpertinent

22 nature, the monitoring equipment is turned off and you

23 quit listening.

24          It's called minimization       , and once the -- if the

25 pattern -- if the conversation turns back to a




                                                                Page 104
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 105 of 223



 1 pertinent call , then the equipment is then turned back

 2 on and you're listening again        .   S o throughout the

 3 entire process you're deciding and making

 4 determination s of what      is a pertinent and what is a

 5 nonpertinent     conversation to decide what you're going

 6 to listen to.

 7 Q.       Just so we're clear.      You said that if the

 8 conversation is      nonpertinent , you have to shut it off

 9 and stop listen ing --

10 A.       That's correct.

11 Q.       -- but t hen you could listen again if it became

12 pertinent .     H ow do you know if it becomes pertinent if

13 you shut it off because it's         nonpertinent ?

14 A.       There's a process which is called spot

15 monitoring , and the judge will set down guidelines on

16 the exact specifics of how spot monitoring is

17 accomplished .     B ut normally , the equipment is turned

18 off for a period of time, then the equipment after that

19 period of time is turned back on         , the monitor will

20 listen to determine if the conversation has turned back

21 to being pertinent.

22          If it is , the monitor will continue recording

23 and monitoring .      I f it is still    nonpertinent , the

24 equipment will again be turned back off for a period of

25 time , and that will continue during the entire length




                                                                Page 105
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 106 of 223



 1 of the conversation.

 2 Q.         And there are -- are there any time con        straints

 3 imposed in terms of how long you can operate a             Title 3

 4 interception of someone's telephone calls?

 5 A.         Yes.   There's several requirements.    The initial

 6 order is good for 30 days.      However, in that 30 days          ,

 7 you must make reports back to the judge showing the

 8 progress    that you've made   , and the judge will make a

 9 determination whether to continue authorizing the

10 interception for the wire.      So, essentially you're

11 getting -- keeping the judge up        -to -date every ten days ,

12 and at the end of the 30 days       , the order will expire.

13 Q.         Can those orders be renewed?

14 A.         They can be if there's cause to -- cause and

15 reasons to renew them.      It's not an automatic renewal             .

16 You need to do another complete affidavit establishing

17 probable cause to continue interception.

18 Q.         Again , is that something that's authorized by

19 the court?

20 A.         That is correct .   Y ou actually make the

21 application,      the judge reviews it, and then we issue

22 order s.

23 Q.         In regards to this case that's being heard

24 before this jury, what was your role in this

25 investigation?




                                                               Page 106
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 107 of 223



1 A.        I was one   of the three case agents.

2 Q.        The other two case agents being         Task Force

3 Officer   Eveler and Special       Agent Snyder here present in

4 the courtroom ?

5 A.        That's correct.

6 Q.        You indicated that you had been involved            since

7 1995.

8           Had you started your investigation of these

9 particular defendant      s in 1995?

10 A.       No.

11 Q.       Was there another investigation ongoing back in

12 1995?

13 A.       Yeah , that's when    I joined the -- this

14 particular task force.     This case didn't start until

15 later.

16 Q.       Calling your attention to this case         , was court

17 authorization received to engage in          Title 3

18 interceptions or wiretaps?

19 A.       Yes.

20 Q.       Can you tell us how many telephone lines?

21 A.       Five telephone lines over a period of about

22 three month s.

23 Q.       I want to show you what's been marked as            CH -9 .

24 Are you familiar with this chart?

25 A.       Yes.




                                                               Page 107
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 108 of 223



 1 Q.       Does it accurately reflect the telephone line              s

 2 that were intercepted       on their periods of interception?

 3 A.       Yes.

 4 Q.       If I could put it up on the screen and have you

 5 walk us through it, please.

 6          Starting with the top telephone number            , if you

 7 could tell us what the number was and there's an

 8 asterisk and explain that, whose          telephone    it was and

 9 what the different categories are on the chart             .

10 A.       The first telephone -- target telephone was

11 (202) 277-8177.     That was a cellular telephone that was

12 utilized primarily by       Paulette    Martin , and the       asterisk

13 refer s -- if you look at the bottom         , during the

14 interception , the telephone number actually changed to

15 (202) 271-0991 on      March 26, 2004.

16 Q.       The second column?

17 A.       The second phone number.       It was (301) 270         -9007 ,

18 and that referred to the home residence or home

19 telephone of     Ms. Paulette    Martin, the hard line.

20 Q.       And where    was that phone located?

21 A.       Hayward    Avenue , Takoma    Park , Maryland .

22 Q.       When you say     "hard line ," what do you mean by

23 that ?

24 A.       The actual     telephone   at the residence.

25 Q.       In terms    of the first telephone number         , there's




                                                                  Page 108
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 109 of 223



 1 a second column that's called line designation               .     C an

 2 you tell us what that refers to?

 3 A.         What we did is on any multiple line wiretap              , you

 4 will designate       A, B, C just to identify         the lines , and

 5 then from that point on          , your conversations or

 6 transcript or call       s will have that first letter

 7 designator .

 8            So call   B47 1, for example , would identify it as

 9 the 47 1st call that was intercepted on            line B as

10 oppose d to C47 1.       S o it's just an identifier for the

11 five lines     A, B, C, D and E.

12 Q.         Can you tell whether call one was on the first

13 line or the fifth line; is that right?

14 A.         That's correct.      That's all is.

15 Q.         Then we have you       indicated, the      telephone

16 utilized     by , that was      Paulette   Martin on the first two

17 phones?

18 A.         Pr imarily,   yes.

19 Q.         What do   you mean by     "p rimarily? "

20 A.         Obviously , there were times when other people

21 would use the phone at the residence and her cell

22 phone, so she was the main person intercepted on the

23 line but there were other people.

24 Q.         Then the last column says        , dates of

25 interception .       C ould you explain those numbers?




                                                                     Page 109
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 110 of 223



1 A.        Yeah .    W e began intercepting on March 8, 2004

2 and ended interception on June 2, 2004.

3 Q.        Will you go down to the third number and            if you

4 could explain the third and          the fourth   numbers

5 together .

6 A.        (202) 489- 1884 was the       C line, and   that was a

7 cellular telephone primarily used by            Luis Mangual , Jr .,

8 and that was intercepted from April 7, 2004 to May 13,

9 2004 ; and the      D line was (202) 223-7729     , that was a

10 second cellular telephone used by          Luis Mangual , Jr .,

11 and that was intercepted from April 7, 2004 to June 2,

12 2004.

13 Q.       Can you    tell us why     the start and stop dates on

14 those phone s are different from the start and stop

15 dates on the      Martin phones?

16 A.       The application and authorization for the            Martin

17 phone was obtained before the authorization to

18 intercept the      Mangual phone.    We actually used

19 telephone conversations that we intercepted on the              A

20 and B line to obtain authorization to intercept the                 C

21 and D line .      S o, that's why you had the different start

22 dates.

23 Q.       Then finally the last number?

24 A.       The (202) 487 -1373 was a cellular telephone

25 primarily used by      Gwen dolyn Levi , and that was




                                                               Page 110
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 111 of 223



 1 intercepted from April 7, 2004 to April 25, 2004.

 2 Q.      Why did the interception over that telephone

 3 line end on April 25 of 2004 and not June            2 like three

 4 of the other lines?

 5 A.      Ms. Levi was arrested prior to the other

 6 individuals , so that the      early end date was a result of

 7 her arrest.

 8 Q.      Again on    line C also there's a different date of

 9 May 13 of 2004.    Why is that date different?

10 A.      On or about that date or shortly before that

11 date , I believe    Mr. Mangual    ceased -- quit using that

12 phone, so there was nothing to intercept on it.

13 Q.      Even though you still had time on your order to

14 intercept those calls     ?

15 A.      That's correct.

16 Q.      During the course of a wiretap, could you

17 describe for the ladies and gentlemen of the jury how

18 you identified the speakers who are participating in

19 the conversations    , and is there a -- describe how you

20 later identified them once the investigation was

21 terminated .

22 A.      Yeah.   There's no one hard and fast          method.

23 Obviously   when you first get up on a wiretap         , you have

24 a lot of unknown males or unknown females because you

25 don't know the voices.     The first -- the easiest step           ,




                                                               Page 111
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 112 of 223



 1 obvious ly, to find out who the subscriber is of the

 2 telephone .    A nd if you 're really lucky , you will get

 3 the person who's using the phone is the actual

 4 subscriber on the telephone.

 5          A lot of times that's not the case          , you have to

 6 use other methods.     One of the primary methods that we

 7 use in this case and almost every case is

 8 self-identifiers in the conversation.        Someone will

 9 call, you know, person       B and say hey, this is        Chris.

10 Give me a call back     , and then somebody else will call

11 back and say hey, is       Chris there?    So you will get

12 self-identifie rs.

13          You will also get things like after they hang

14 up , someone will say      I just talked to      Joe Blow , so you

15 know the person in the previous conversation is                Joe

16 Blow.    Once you identify the voices as you           go through,

17 it becomes much easier to recognize the voice             s.

18          There are other ways we use it.        If we have a

19 cellular telephone a      nd we don't know specifically who

20 is using it , we will try to obtain          a picture    of the

21 person and compare that picture to surveillance

22 photographs .     W e will go so far as      to call the

23 telephone , while a person is        on surveillance      and watch

24 them answer the phone to        identify    who is using it.

25 There is no one      method we use .     W e just use a myriad of




                                                                  Page 112
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 113 of 223



 1 technique s to try to          identify   who is using the

 2 telephone.

 3 Q.         That would be during the course of the wiretap

 4 while you're        actually    intercepting    the call ; is that

 5 correct?

 6 A.         That's correct .

 7 Q.         Now, i s there other information or methods                that

 8 you use    once you have arrested individuals and shut

 9 down the investigation          ?

10 A.         Sure .    W he n we talk to the people     , we will

11 listen to their voices and see if this is the same

12 person we've        been listen ing to for the      last three

13 months , whether       we hear them in court proceedings          ,

14 we 'll actually play conversations for cooperating

15 defendants , cooperating witnesses who will confirm what

16 we believe is who the speakers are.            It gets a little

17 bit easier at that point.

18 Q.         Now, in regards to this case, have you had

19 occasion to prepare a selection of telephone

20 conversations to be used in this trial?

21 A.         Yes.

22 Q.         Can you give us a ballpark estimate of how many

23 interceptions occurred during the course of the wiretap

24 over these five lines?

25 A.         There were probably       -- I would say probably well




                                                                 Page 113
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 114 of 223



 1 over 10 ,000 interceptions.       Not all of the

 2 interceptions contain conversation.        How many of the

 3 calls interceptions contain conversations              , I couldn't

 4 tell you exactly , but there were certainly in the

 5 thousands of telephone calls.

 6 Q.       Again , what is the difference between an

 7 interception and a     n actual recorded conversation?

 8 A.       When you're using the -- in the digital age              , a

 9 lot of the interceptions that occur over the equipment

10 will contain just streams of data         , and they will

11 register as a call number on the equipment.            There       wa s

12 actually no call made.      You know     , for example , on a

13 cellular telephone     , if everybody looks at their

14 cellular telephone     , you will see that your cellular

15 telephone has a date and time on it           .

16          That is maintained       to a data       stream   that's sent

17 by the cellular telephone, and that will come across

18 the equipment even though an actual call isn't made.

19 Those -- that is counted as a call number as an

20 interception , but is not a conversation so that                would

21 be the difference.

22 Q.       Now, in preparing conversations to be introduced

23 in this trial , have you included all of the actual

24 conversations that were intercepted           ?

25 A.       No.




                                                                  Page 114
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 115 of 223



 1 Q.       Have you indeed included all of those that you

 2 categorized as pertinent?

 3 A.       No.

 4 Q.       How did you determine the calls to be used here?

 5 A.       Primarily the defendants that are on trial            , we

 6 determined the     calls that are used      , and then even with

 7 the defendants on trial not all the calls are used just

 8 because they're not germane to the government's case.

 9 Q.       Did you take into consideration the time that

10 would go into playing all the calls?

11 A.       It would take a long time to play all the calls                ,

12 yes.

13 Q.       Let me show you      a couple o f exhibits and ask you

14 to identify them.     Beginning with        CD -1, can you tell me

15 what CD -1 is?

16 A.       This is a    CD containing the excerpted calls to

17 be used in this case.

18 Q.       Does this    CD contain true and accurate copies of

19 the calls or portions of calls as they were recorded at

20 the time of the original intercepts back in 2004?

21 A.       Yes, calls and portions of calls.

22 Q.       Now, you indicated that some of those are merely

23 portions of the calls.      Have the entire calls been

24 available for defense counsel's --

25          MR. MARTIN:      Your Honor , I'm going to object to




                                                                Page 115
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 116 of 223



 1 the leading nature of these questions          .

 2          THE COURT:      O n this   matter -- overruled.

 3          MS. JOHNSTON:

 4 Q.       Are the calls in their entirety            involved

 5 available to all the parties in this case            ?

 6 A.       All the calls are available if anybody want             s to

 7 listen to them.

 8 Q.       Why are some of the calls just portions of the

 9 calls?

10 A.       Just for saving the        Court's time.    Some of the

11 calls can be rather lengthy         , and if you're only

12 interested in 30 seconds or a minute          , to play the other

13 23 minutes of the call would be very time consuming.

14 Q.       I want to show you three volumes that have been

15 marked on the outside cover as          Government's      Exhibit

16 CD -1 A, CD -1 B and CD -1 C.

17          Do you rec ognize those three transcript books?

18 A.       Yes.

19 Q.       Did you review and ass       ist and finally review

20 those transcripts to make sure they were accurate

21 versions of the portions of the calls that are

22 contained on     CD-1?

23 A.       Yes.

24 Q.       If I could , I'm just going to take             CD-1A and put

25 it up on the screen.




                                                                  Page 116
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 117 of 223



 1          In reference to      CD-1A, inside the front cover

 2 there is something called an Index of Calls.                Do you

 3 see that on the screen?

 4 A.       Yes, I do.

 5 Q.       Could you tell us what that is?

 6 A.       It's a listing of all the calls that are

 7 contained on     the CD and the transcript book.             If you

 8 start on the very far left       , where it       says "exhibit,"

 9 that's the actual call number          .    I n other words , B14

10 would have been intercepted on the              B line and the

11 fourteenth call intercepted        .    T he page, obviously, is

12 just a page reference for the transcript book                  , and the

13 description describes who the parties to the call are

14 and the date and time of interception.

15 Q.       Okay.    When we say the          B line -- again , that

16 would be the line at the residence of                Ms. Martin?

17 A.       That is correct.

18 Q.       Now, if we turn just to one of the calls and you

19 can ex plain the way the call is set up.             Turn      ing your

20 attention to     Page 2 of the actual transcript              , if you

21 can tell where you say that information come                  s from that

22 begin s a t the very top of the header           .

23 A.       The header begin s with           Encore , which was just

24 the designation for the investigation.           The case number

25 underneath , that long      BA number , is the         Customs




                                                                        Page 117
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 118 of 223



1 Enforcement case number.        Then you start with the call

2 number as      B28 .   Over to the right , you will see B 2,

3 which is the line that was intercepted on               , and you have

4 the date and time interception, the time is give               n in

5 military time , and this call          is at 17 :53 .     I t began and

6 ended at 17 :53 , which is 5:53         p.m. to 5 :53 p.m .

7             And then you will have an incoming from or an

8 outgoing to , which tell s the telephone number that was

9 in contact with the target telephone           .   A nd this one      --

10 in this particular case       , it was an incoming call from

11 (202) 498-1051 , and it would have been an incoming call

12 to the   B line , which was     Paulette   Martin's home

13 residence .       S o this was an incoming call to her

14 residence , and then the intercepted parties are listed

15 followed by a demarcation to the transcript              , which is

16 listed below.

17 Q.         And i n this instance , the part ies are        listed as

18 Paulette    Martin and     Derrek   Bynum; is that correct      ?

19 A.         That's correct.

20 Q.         Without going through each of the individual

21 call numbers, have you reviewed all three volumes?

22 A.         Yes.

23 Q.         Do each one of those accurately reflect the date

24 and time and telephone number involved in               each one of

25 those calls?




                                                                 Page 118
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 119 of 223



1 A.       Yes.

2 Q.       In addition to that      , have you reviewed all those

3 calls, and are each of the parties intercepted

4 accurately identified throughout the three volumes?

5 A.       Yes.

6 Q.       Now, in regards to this        investigation,     as a case

7 agent , can you tell us when your investigation

8 generally commenced with reference to            Ms. Martin    and

9 the other defendants?

10 A.      It began in the end -- near t          he end of 2002

11 preliminarily but really didn't pick up more steam

12 until 2003 -- mid to late 2003.

13 Q.      Had you been involved in another investigation

14 prior to the end of 2002?

15 A.      Yes.

16 Q.      Was that investigation -- when did that

17 investigation end?

18 A.      The arrests were made in        November of 2001 , and

19 it continued on until beginning of 2003 when we were

20 getting ready for trial in that case.

21 Q.      As a result of that investigation, did that

22 cause you to investigate       Ms. Mart in ?

23 A.      Yes.

24 Q.      Was she the focus of your investigation

25 initially ?




                                                                Page 119
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 120 of 223



 1 A.       Initially, yes.

 2 Q.       During that first investigation that ended with                ,

 3 I guess preparing for trial in 2003 but with arrests

 4 the end of 2001, was anyone arrested who was -- who you

 5 later determined was associated with           Ms. Martin?

 6 A.       Yes.

 7 Q.       Who would that have been?

 8 A.       Juan Encarnacion.

 9 Q.       Was it subsequent to his arrest that you

10 received information relating to          Ms. Martin from      Mr.

11 Encarnacion ?

12 A.       Yes, after his arrest.

13 Q.       And did you act on that information immediately

14 at that time?

15 A.       If we did , it was of no great -- no --           I think

16 we might have put a pin register on her phone or

17 started very preliminary       , but nothing -- nothing

18 immediate.

19 Q.       Why was that?

20 A.       Because we were still busy with the case             that he

21 was involved with and preparing for trial in that case.

22 Q.       Were there multiple defendants in that case?

23 A.       Yes, there were quite a few.

24          MS. JOHNSTON:       Court's indulgence.

25          Your Honor , that's all the questions we have at




                                                                Page 120
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 121 of 223



 1 this time .        W e will be recalling     Agent Sakala at a

 2 later time .

 3            THE COURT:       C ross-examination?

 4            MR. MONTEMARANO :         Court's indulgence, please.

 5            No questions from         the defense at this time     , Your

 6 Honor.     We reserve the right to cross on this and the

 7 rest of    Sergeant       Sakala's    --

 8            THE COURT:       Mr. Sussman .

 9            MR. SUSSMAN :      I jus t have the a few brief

10 matters.      I wasn't part of the --

11            MR. MONTEMARANO :         I'm sorry.

12            MR. SUSSMAN :      If I might .

13            THE COURT:       Y ou may .

14                             CROSS-EXAMINATION

15            BY MR. SUSSMAN :

16 Q.         Good afternoon,       Sergeant.

17 A.         Good afternoon.

18 Q.         You mentioned initially that the gene          sis of this

19 investigation was in 1995; is that right?

20 A.         No.     I first joined the       Task Force in 1995.

21 Q.         Okay.    And    I belie ve you mentioned that

22 Ms. Martin became known to you sometime in 2001 or

23 2002?

24 A.         2002 we received information about her.

25 Q.         Okay.    And it's fair to say that from your




                                                                   Page 121
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 122 of 223



1 investigation that         Ms. Harden didn't become any subject

2 of thi s investigation        until March of 2004?       Would that

3 be accurate?

4 A.         That 's probably accurate, yes.

5 Q.         Let me just go back to one of the things you

6 talked    about, the      transcripts.   You said you picked out

7 the transcripts to be used in this case; is that

8 correct?

9 A.         Well, I did n't , but the government did, yes.

10 Q.        Well , you picked them out with the cooperation

11 of the prosecutor     ; is that right?

12 A.        That's accurate , yes.

13 Q.        The other matter that you mentioned was            you

14 talked about a pin register; is that           right?

15 A.        Yes.

16 Q.        As an investigative tool      , it's a useful tool       .

17 Would that be fair to say?

18 A.        Yes.

19 Q.        And particularly useful in connection with

20 conspiracies ?

21 A.        Yes , it is.

22 Q.        Just to dumb it down     , if you can, it's kind of a

23 caller   ID system ; isn't that right?

24 A.        Yeah.   It's a -- if you want to put it that way             ,

25 you can retrieve all the numbers being called to and




                                                                Page 122
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 123 of 223



 1 from , so it's a caller        ID .   I guess that works both

 2 ways.

 3 Q.         Right.     S o it can be used to , for example , to

 4 monitor all the call       s that go out of my office, for

 5 example ?

 6 A.         It could be used to monitor the numbers of the

 7 calls dialed , not the calls themselves           .

 8 Q.         Right.     Y ou don't know who's making the call or

 9 what they're saying?

10 A.         Correct.     Y ou just know   what numbers     are being

11 dialed.

12 Q.         Right.     And c onversely , or the other      way around ,

13 you know all        the numbers   that are   coming into my office

14 as well?

15 A.         That's correct.    Usually.    There       are exception s,

16 but usually, yes.

17 Q.         There may be some blocked numbers?

18 A.         That's correct.

19 Q.         But o ne of the other things you can do and which

20 -- in terms of the technology          , you can see all of these

21 numbers and how they speak to each other as well              ; isn't

22 that right?

23 A.         If you have enough pin registers up, yeah, ther             e

24 are programs where you can establish not              only that the

25 target s is talk ing to       A and B, but maybe      A and B are




                                                                Page 123
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 124 of 223



 1 talking to each other       .     S o it is possible to develop

 2 re lationships that way, yes.

 3            MR. SUSSMAN:     Thank you very much.

 4            THE COURT:     Any redirect      ?

 5            MS. JOHNSTON:    No redirect         , Your Honor.

 6            THE COURT:     All right    .    Y ou may step down.

 7 Thank you very much.

 8            THE WITNESS:     Thank you      , Your Honor .

 9            (W itness excused at 2      :37 p.m. )

10            MS. JOHNSTON:        Your Honor , our next witness

11 would be    Juan Encarnacion.

12            THE COURT:     All right.

13            MS. JOHNSTON:    W e will have to have him brought

14 in.

15            THE COURT:     Is he available right now         ?

16            MS. JOHNSTON:    He should be available          , but I'll

17 have to call .     I think he needs an elevator ride              up to

18 the courtroom .

19            THE COURT:     Okay.     Good.

20            MS. JOHNSTON:    A nd Ms. Segal is here          -- a court

21 certified     Spanish interpret       er is present.

22            THE COURT:     Why don't we take a 15        -minute recess

23 to get him in place and get the interpreter ready                 .   By

24 that clock , it's 25 of.         We will be back at ten minutes

25 of 3:00 .




                                                                   Page 124
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 125 of 223



 1                  (Jury excused at 2:38 p.m.)

 2                  (Off the record         at 2 :38 p.m. )

 3                  (On the record      at 2 :51 p.m. )

 4          THE COURT:      Ms. Johnston , do you intend to use

 5 the monitor for this witness         ?

 6          MS. JOHNSTON:     Just for a photograph and a

 7 couple -- three photographs --

 8          THE COURT:     What     I'd like to do , since that

 9 monitor is strategically placed to block the view of

10 some of the defense       attorneys,      except when you're do       in g

11 that, could you put it down?             I think it can be put

12 down .

13          MS. JOHNSTON:         I don't want to break it     .

14          UNIDENTIFIED     MALE:     Would you like one of us to

15 do it, and then we can be blamed for breaking it?

16          MS. JOHNSTON:         I don't think it goes further

17 than that.

18          THE COURT:     Well , can it be moved a little bit

19 or ?

20          THE CLERK:     Can it just be moved over on the

21 side?

22          THE COURT:     Yeah .     W e've put it on the floor

23 before once.

24          Ms. Johnston , do your          nonmonitor   questions now

25 and we'll get the monitor fixed.




                                                                   Page 125
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 126 of 223



 1          MS. JOHNSTON:     Is it lit up       , the monitor over

 2 there?

 3          THE COURT:     It just came unplugged.

 4          MS. JOHNSTON:     It looks like it's lit up now.

 5 Yes, it's working now.

 6          THE COURT:     Well, at the appropriate time         , bring

 7 it back up.

 8          MS. JOHNSTON:     Will do.

 9          THE COURT:     All right.     Bring the jury in.

10          In the meantime , defense counsel , just do what

11 I'm doing and sit up tall.

12          MS. JOHNSTON:         Your Honor , w e have to   swear the

13 interpreter.

14          THE COURT:     Yes.

15          MS. JOHNSTON:     Thank you.

16          THE COURT:     Why don't you wait until the jury

17 come s in so they know what         we're doing.

18          The language is        Spanish,    I assume ?

19          MS. SEGAL:      Go od afternoon , Your Honor.        Yes,

20 federally certified       Spanish interpreter.

21          THE COURT:      I'm going to explain to the jury

22 what we're doing.

23          MS. JOHNSTON:         I expect    Mr. Encarnacion will be

24 able to answer some question         s in English , but she's

25 there to assist if he has any difficulties.




                                                                Page 126
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 127 of 223



 1                         (Jury returns at 2    :54 p.m. )

 2            THE COURT:   Ladies and gentlemen, the next

 3 witness is going to be testifying with the assistance

 4 of an interpreter, so the first thing we             have to do is

 5 to swear the interpreter to give an accurate

 6 translation , then we swear the witness.         Meanwhile      , we

 7 have one technology issue to address that's being taken

 8 care of.

 9            THE CLERK:   If the interpreter will raise her

10 right hand.

11                  (Interpreter sworn at 2       :55 p.m. )

12            THE CLERK:   Please state your name for the

13 record.

14            THE INTERPRETER:   Gladys     Segal , federally

15 certified court interpreter.

16            THE CLERK:   Thank you.

17            If the witness would please stand.

18 Thereupon,

19                     RICARDO   JUAN ENCARNACION ,

20 having been called as a witness on behalf of the

21 Plaintiff, and having been first duly sworn by the

22 Courtroom Deputy, was examined and testified as

23 follows:

24            THE CLERK:    I need you to state your name for

25 the record.




                                                                Page 127
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 128 of 223



 1          MR. ENCARNACION :       Juan Encarnacion .

 2          MS. JOHNSTON:     So the record is clear        , we've

 3 asked for a court certified         interpret er to be

 4 available.      Mr. Encarnacion understands some          English

 5 but may have difficulty with some of the questions, so

 6 I don't think we need the        interpreter to      translate word

 7 by word but     Mr. En carnacion    --

 8          THE COURT:      I f he's able to answer in       English,

 9 fine .   B ut to make certain that he understand          s the

10 questions, they should be translated for him.          Thank

11 you.

12                         DIRECT   EXAMINATION

13          BY MS. JOHNSTON:

14 Q.       Mr. Encarnacion , would you state your name full

15 name for the record?

16 A.       Ricardo    Juan Encarnacion.

17 Q.       How old are you , Mr. Encarnacion?

18 A.       Thirty-eight .

19 Q.       How far did you go in school?

20 A.       Eleven .

21 Q.       If you could lean forward and speak into the

22 microphone so that we can hear you.        Again      , feel free

23 to respond in      English .   I f you have any difficulty

24 understanding the question or need assistance of the

25 interpreter , she's there to assist          you .




                                                                  Page 128
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 129 of 223



 1 A.         All right.

 2 Q.         Where were you born?

 3 A.         Dominican    Republic.

 4            MS. JOHNSTON:        Your Honor , may we approach the

 5 bench very briefly?

 6            THE COURT:       You may.       At the bar of the          court.

 7                    (At the bar of the Court.)

 8            MS. JOHNSTON:      This witness testified in a                --

 9            THE COURT:       Wait until we get the horde up here.

10 We 've got a large group to get up here.

11            MS. JOHNSTON:      This witness testified in the

12 last trial, and h       e used an interpreter periodically

13 during his testimony.           I have prepared him          , and for the

14 most part , communicated with him without an

15 interpreter .     S o I would ask that we be allowed to

16 proceed without having question by question translation

17 done so that he just uses it -- it                 will go much more

18 quickly.

19            THE COURT:       Okay.

20            MR. WARD:    Again , he's very quiet.             Can we

21 please ask him to speak up             ?

22            THE COURT:       I will do both things.

23            MS. JOHNSTON:      Instruct the interpreter that she

24 doesn't have to        --

25            THE COURT:       A ll right.      Thank you   .




                                                                         Page 129
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 130 of 223



 1                         (Back in open court. )

 2            THE COURT:     Mr. Encarnacion, two things         .    I want

 3 you to be certain that you speak directly into that

 4 microphone , very close to it       ; and secondly , for the

 5 interpreter, he does understand some            English so that

 6 you don't need to translate every single question for

 7 him.

 8            If you need assistance with a question and you

 9 don't understand the question, ask the interpreter to

10 assist you with a question.       But if you're able to

11 understand the question in         English , you may proceed to

12 answer it    in English.

13            THE WITNESS:     All right.

14            THE COURT:     Please do speak directly into the

15 micro phone so everybody can hear you.

16            BY MS. JOHNSTON:

17 Q.         Where did you grow up?

18 A.         In Dominican    Republic.

19 Q.         Is that where you're a        citizen?

20 A.         From Dominican     Republic, yeah.

21 Q.         When did you first come to the           United   States?

22 A.         '88.

23 Q.         Did you leave this country after you were here

24 in 1988?

25 A.         Come in   '88 , and back and forth       , and I stay here




                                                                     Page 130
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 131 of 223



 1 in , like , '91.

 2 Q.         After you came here in the 1990s, did you remain

 3 in -- were you in the        Maryland area?

 4 A.         Yeah.

 5 Q.         Calling your attention to the mid        -1990s to the

 6 late 1990s, did you have occasion to meet anyone who is

 7 present here in the courtroom?

 8 A.         No.

 9 Q.         Did you ever meet anyone who's here present here

10 in the courtroom?

11                         (Question interpreted.     )

12            THE WITNESS:     Yes.

13            BY MS. JOHNSTON:

14 Q.         Who was it that you met?

15 A.         Paulette   Martin.

16 Q.         Excuse me?

17 A.         Paula Martin .

18 Q.         Could you identify      Ms. Martin by something she's

19 wearing?

20 A.         Yeah , she wear a beige     shirt and glasses.

21 Q.         And where is she seated?

22 A.         It was on the right side      -- on the left side of

23 you.

24 Q.         The left side of mine?

25 A.         Yes.




                                                                Page 131
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 132 of 223



1 Q.         Next to the gentleman that's to my immediate

2 left?

3 A.         Yeah.

4            MS. JOHNSTON:      Could we ask the record to

5 reflect     that the witness has identified          Paulette

6 Martin ?

7            THE COURT:     The record will so indicate.

8            BY MS. JOHNSTON:

9 Q.         Now, do you know approximately when it was that

10 you met    Ms. Martin?

11 A.        It's , like , '98 or late       '97 , something like

12 that.     I think it's     '98.

13 Q.        Where did you meet        Ms. Martin?

14 A.        I meet her in the house of one of her friend.

15 Q.        What were you do in g at Beverly's house ?

16 A.        I went there to try to talk to           Beverly about

17 some business that we had to set up           , and she got her

18 name , and I told her me et her there.

19 Q.        Could you repeat that answer for me?            I didn't

20 -- I didn't understand        part of it.

21 A.        I'm going to     Beverly house and to set up some

22 business with her      , and then she get there      , and I meet

23 Ms. Paula over there in           Beverly house.

24 Q.        So you were at     Beverly's house doing some

25 business ?




                                                                  Page 132
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 133 of 223



1 A.          Yeah.

2 Q.          What kind of business were you doing with

3 Beverly?

4 A.          Drug business.

5 Q.          Excuse me?

6 A.          Drug business.

7 Q.          What kind of drugs were you discussing with            Ms.

8 -- with     Beverly?

9 A.          At that time , the heroin.

10 Q.         How much    heroin were you dealing with her?

11 A.         With , like , 78 to 90 grams , something like that.

12 Q.         What were the circumstances that caused          you to

13 be dealing heroin with         Beverly?

14 A.         Here now?

15 Q.         No.     Why were you meeting with      Beverly to

16 discuss selling her 70 to 90 grams of heroin?

17 A.         Because she -- her husband got a deal with my

18 cousin , and he get in trouble       , and then    I trying to

19 get , the one he let , and when        I came there to try to

20 deal with     --

21 Q.         I didn't understand the last portion of your

22 answer.     Could you please repeat it very slowly and

23 clearly?

24 A.         So they say why     I am there.

25 Q.         Yes .




                                                                  Page 133
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 134 of 223



 1 A.         I am there because        I try to go set up some

 2 business with heroin and trying to get about 70, 80,                  90

 3 grams they got in heroin.

 4 Q.         How is it that you had the 70 to           90 grams of

 5 heroin that you were try          ing to get rid of with      Beverly ?

 6 A.         Because she's the one that        I know that my nephew

 7 living there to        -- so she can get rid of it there

 8 because her husband not there anymore           .     H e was on   -- in

 9 jail some time for some problem he got before.

10 Q.         You mentioned your nephew and her husband.

11            What was the relationship between your nephew

12 an d her husband?

13 A.         My nephew was in jail at this time.

14 Q.         Your --

15 A.         So he in jail because        I don't want to mess with

16 that , so he       get --    it is drug s in there.    And   I know

17 Beverly,     and then       I trying to get and talk to her to

18 get rid of it because           I don't know anybody to -- who

19 buy that .     B ut I know for her husband, because her

20 husband was not in the house anymore because he was in

21 jail because he got some car accident           , something like

22 that.

23 Q.         So your nephew was in jail?

24 A.         Yeah.    And     Beverly husband , too.

25 Q.         He was in jail, and the heroin that you had that




                                                                  Page 134
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 135 of 223



 1 you were trying to      --

 2 A.       That belong to my nephew.         Belong   ed to my nephew

 3 at that time.

 4 Q.       Did you actually sell that to           Beverly?

 5 A.       Gave it to her, yeah.

 6 Q.       When you went to        Beverly's to make those

 7 arrangements how -- who         introduced you to     Ms. Martin ?

 8 A.       Huh ?

 9 Q.       How were you introduce          d to Ms. Martin?

10 A.       So she get there , and I think she know exactly

11 what I'm being there for.

12          MR. MONTEMARANO :       Objection , Your Honor.

13          THE WITNESS:        A nd she's giv ing it all like      --

14          MS. JOHNSTON:         Mr. Encarnacion , please stop.

15          THE COURT:     Excuse me.         I didn't hear you   , Mr.

16 Montemarano .

17          MR. MONTEMARANO :       The gentleman's answer began,

18 "I think."       I object.    No basis for knowledge.

19          THE COURT:     All right.       Make sure you ask him to

20 tell you what he knows, okay         ?

21          BY MS. JOHNSTON:

22 Q.       Would you tell us what was said between you and

23 Beverly and      Paula when you were introduced to          Paula?

24 A.       She gives me, like, a business card with her

25 phone number.     And then after that I call her like a




                                                                  Page 135
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 136 of 223



1 day or day before -- like two day or day before             , and we

2 meet some place, and then we said we talk about what

3 we're gonna do.

4 Q.         Now , when you say, "she gave me a business card

5 with her number on it      ," who is the     "she? "

6 A.         "She" is   Ms. Martin.

7 Q.         The woman you've identified here in court?

8 A.         She's on left side beside the gentleman there.

9 Q.         Once Ms. Martin gave you the card, what did you

10 do with the card with her number on it?

11 A.        I put it in   my wallet;    I call her , like , day

12 before.

13 Q.        The day before she gave you the card or the day

14 after?

15 A.        No.   The day after she gave me the card,          I call

16 her.   Sorry.

17 Q.        When you called her a day or so after she gave

18 you the card, what did you discuss with her on the

19 phone?

20 A.        I don't discuss that on the phone        .   I just go

21 and talk to her by person, and we          -- because    I go to

22 what going to b e the price or what we're going            to get

23 into her.

24 Q.        When you called her on the phone       , what did you

25 say on the phone?




                                                               Page 136
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 137 of 223



1 A.         I really don't remember exactly what              I say on

2 the phone, but        I know it was something like that           I want

3 to see her or        I want to talk to her or something like

4 that, so .. .

5 Q.         Did you arrange a meeting with her?

6 A.         Yeah.

7 Q.         Where did you meet with her?

8 A.         The first time that I meet her          , I saw her in

9 Beverly house , like in          a Safeway.   They got on the

10 beltway   or 49 5 in Hyattsville        over there.

11 Q.        Wait.    So you met her at a        Safeway or     a Giant?

12 A.        Yeah.    They got a     Safeway.      I don't remember

13 exactly if it's       Giant or Safeway they got over around

14 there.

15 Q.        Where is that     Safeway or    Giant located?

16 A.        It's in    Hyattsville    and 495 .

17 Q.        New Hampshire     Avenue --

18 A.        Yes.

19 Q.        -- and    Route 49 5?

20 A.        Yeah.

21 Q.        What is that also known as?

22 A.        It was near     New Hampshire      Avenue , not

23 Hyattsville .

24 Q.        That road 49 5.       Is that the beltway?

25 A.        Yes, beltway.




                                                                  Page 137
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 138 of 223



1 Q.       How far is that from where         Beverly's house was?

2 A.       It's , like , a mile or , like , a half a mile.

3 Q.       When you met with      Ms. Martin at the shop -- at

4 the Safeway or      Giant , what discussion did you have with

5 her?

6 A.       I talk to her , she asked me about what we gonna

7 do or not     about the    price.

8 Q.       The price of what?

9 A.       Cocaine.     The price of      kilo co ca ine,   and then

10 we're going to bring to her thing like that.

11 Q.      When you say the      price of a key, what -- a key?

12 A.      A kilo .

13 Q.      Kilogram?

14 A.      Kilogram .

15 Q.      Why were you discussing cocaine with             Ms. Mart in

16 if you had    delivered    heroin to   Beverly?

17 A.      Because that's not what         I do.   I don't know

18 about her.     I know about    -- that's not the thing that            I

19 do , so that's why    she don't ask me      about that .

20 Q.      What 's the other thing that you do?

21 A.      Cocaine.

22 Q.      What was the price that you         gave to Ms. Martin

23 for a kilogram of cocaine?

24 A.      You know there's -- just sometimes is the price

25 between 20, 23 , something like that.




                                                               Page 138
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 139 of 223



 1 Q.       Twenty and 23?

 2 A.       Yeah.

 3 Q.       Is that $20?

 4 A.       Twenty and 23 ,000.

 5 Q.       Thousand?

 6 A.       A kilogram, yeah.

 7 Q.       What , if anything , was the agreement you reached

 8 with Ms. Martin during that conversation?

 9 A.       So we get agreement that         I get it in front and

10 then when she done finish with selling that                , I go and

11 get the money to her to her house.

12 Q.       I didn't understand.          I a pologize,       Mr.

13 Encarnacion , anything that you just said.

14          What was the agreement that you made with                Ms.

15 Martin at -- outside the           Safeway or    Giant ?

16 A.       Oh.   The sale, when        I meet her there, how are we

17 going to do the business and about the price and things

18 like that.

19 Q.       Okay .   S o you discussed how you were going to do

20 the business?

21 A.       Yeah.

22 Q.       What did you agree upon in             terms of how you were

23 going to do the business       ?

24 A.       So we can settle and we both said what we gonna

25 do.   And then when     I get ready , so I call her and then




                                                                    Page 139
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 140 of 223



1 we trying to do some work.

2 Q.        Okay.   When you say when you're ready you will

3 call her and you will try to do some work            , what do you

4 mean by   "when I'm ready? "

5 A.        When I get what     she need.

6 Q.        When you say, "When      I get what she need     ," what

7 are you referring to?

8 A.        When I get a key     -- the kilogram      I going to       sell

9 to her.

10 Q.       And how were you to contact her to let her know

11 that you got the kilogram of cocaine?

12 A.       So most of the time      I call , but I don't      even

13 talk thro ugh the phone .      I most of the time going to

14 her house to talk to her.

15 Q.       What do you say on the phone when you call her?

16 A.       I really don't remember      , but I don't     talk about

17 drugs on the phone.

18 Q.       So you didn't talk about drugs on the phone            .

19 What would you say to her?

20 A.       Me and you have some deal to fix        , or maybe when

21 I call you, you know maybe about what           I'm trying to

22 tell you.

23 Q.       So what kinds of things would you say to            Ms.

24 Martin on the phone when you were ready?

25 A.       Like I went to see her when        I talk to you,




                                                               Page 140
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 141 of 223



1 something like that.

2 Q.       Why wouldn't you say on the phone,            I have a    kilo

3 of cocaine for you?

4 A.       No , I never talk about       kilo on the phone.

5 Q.       You would let her know that you wanted to meet

6 with her.

7 A.       Yeah.

8 Q.       Where were you getting your cocaine back in the

9 199 8 timeframe?

10 A.      I getting it from guy in        New York.

11 Q.      What -- did you -- after you had that meeting

12 with Ms. Martin , did you actually get some cocaine from

13 the guy in   New York?

14 A.      Yeah.

15 Q.      What did you do once you got the cocaine from

16 the guy in   New York?

17 A.      What did    I do?

18 Q.      What did you do      -- once you got the cocaine from

19 the man in   New York, what did you do with it?

20 A.      I call    her and I let her know that         I'm ready    --

21 she ready to see me or thing like that.

22 Q.      How did you find out whether         or not    Ms. Martin

23 was ready to see you?

24 A.      I go to her house.        I talk to her in person all

25 the time.




                                                               Page 141
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 142 of 223



1 Q.         Okay.    When you say you need    ed to find out if

2 she was ready to see you, what do           you mean,   "ready to

3 see you ?"

4 A.         If she really need it or not.

5 Q.         Whether she really needed what or not?

6 A.         Whether she need a kilogram or not.

7 Q.         What would she tell you?

8 A.         Huh?

9 Q.         What did she tell you when you went to her house

10 to find out if she need      ed a kilogram?      W hat did she

11 tell you?

12 A.        Bring it to her house; she going to take it.

13 Q.        Excuse me ?

14 A.        She going to take it.

15 Q.        She's going t o take it?

16 A.        Yeah.

17 Q.        Did she pay you for the kilogram of cocaine when

18 you brought it to her?

19 A.        No.     I gave her up   front.   And   when she done , I

20 get the money back.

21 Q.        You said you gave it to her up front         ?

22 A.        Yeah.

23 Q.        When she was done , you 'd get your money back.

24 What do   you mean by giving it to her up front?

25 A.        So that    I don't get the money until she going to




                                                               Page 142
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 143 of 223



1 sell it to somebody else to get my money.

2 Q.       You trusted     Ms. Martin with the kilo of cocaine?

3 A.       Yeah.     So that's why     I give it to her up front          ,

4 and if   -- you got to take a        chance in this business.

5 Q.       You got to take a chance?

6 A.       Yes.

7 Q.       Why do you     have to take       a chance    in this

8 business?

9 A.       Because that's the way the people work in there.

10 Q.      How many -- do you know approximately how many

11 times back in     '98-99 you delivered cocaine that you

12 were getting from the people in            New York to    Ms. Martin .

13 A.         This, like, two time, three        , and then    I go back

14 to Dominican     Republic , stay there for       year s and year s

15 and years.      A nd when   I come back , the people that         I got

16 in New York disappear , and I come back to here             , like ,

17 four months, six month       s, and then     I meet a guy and

18 named Mangual     from Mexico,     and then    I trying to supply

19 her back again.

20 Q.      Well , let's talk about before you went back to

21 the Dominican     for a year.

22 A.      Uh-huh.

23 Q.      How many time s did you get drug s from the people

24 in New York that you gave to            Ms. Martin?

25 A.      Like, two, three        time.




                                                                   Page 143
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 144 of 223



1 Q.       Excuse me ?

2 A.       Like, two, three time.

3 Q.       What quantity did you        give her on each time?

4 A.       From one to two.

5 Q.       "One to two" meaning       one to two --

6 A.       Two , sometimes one.

7 Q.       Kilograms?

8 A.       Yeah.

9 Q.       Was it always fronted to her?

10 A.      Yeah.

11 Q.      Did she always pay you for them?

12 A.      Huh ?

13 Q.      Did she pay you for them?

14 A.      Yeah.

15 Q.      Where did you deliver those kilograms to her

16 before you went back to the        Dominican ?

17 A.      When I deliver it?

18 Q.      Where?    Where?

19 A.      Where I deliver it?

20 Q.      Yes.

21 A.      I deliver it to her house.

22 Q.      Okay.    Can you describe her house for us?

23 A.      Sure.

24 Q.      Describe it.       What did it look like?

25 A.      A brick house with      , like , a tree on the end of




                                                               Page 144
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 145 of 223



 1 the tree there.     So     I can't explain , but if I see it               I

 2 can explain to you.

 3 Q.       Where was her house in relation to               Beverly's

 4 house?

 5 A.       It's like --      it 's in the same -- the same area

 6 they live.      It's , like , two or three block from            Beverly

 7 house that she live.

 8 Q.       Let me show you two pictures and ask you if you

 9 recognize these two pictures.

10 A.       Yeah , this one is         Paula house.   That    , too.

11 Q.       Let me put them up on the screen.

12 A.       Yeah.

13 Q.       First with      P-2 .

14          MR. WARD:       Excuse me , counsel .      C ould you      give

15 us the   exhibit n umbers , please?

16          MS. JOHNSTON:           P-2 .

17          MR. WARD:       Well, speak up.

18          MS. JOHNSTON:      Yes , Mr. Ward , I'm trying .            If

19 you can't hear , let me know and           I'll try to speak a

20 little louder.

21          BY MS. JOHNSTON:

22 Q.       Which of the two houses that we see in this

23 picture is      Ms. Martin's house?

24 A.       Yes.

25 Q.       Which one?




                                                                  Page 145
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 146 of 223



1 A.          The one with the brick       -- red brick.

2 Q.          Okay.    Would that be this one here on the left

3 looking down at the picture?

4 A.          Yes.

5 Q.          Showing you     P-3 .

6             Is that the house where you were delivering the

7 cocaine to         Ms. Martin?

8 A.          Yes.

9 Q.          And this kilogram of cocaine      , were you paid for

10 it as you dropped it off to her on these two or three

11 occasions?

12 A.         I can't understand that.

13 Q.         Did she    give you the money when you dropped it

14 off?

15 A.         No .    I give it to    her up front and she pay me

16 when she done.

17 Q.         How much did she pay you for each kilogram for

18 cocaine?

19 A.         That depends.     Sometimes it's buy it from 20 to

20 23, 22; sometimes 24.        It depends.   It's not the same

21 price all the time.

22 Q.         So somewhere between 20 and $24,000?

23 A.         Yes.

24 Q.         Did you make some money on that when you sold it

25 to Ms. Martin ?




                                                               Page 146
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 147 of 223



1 A.        Yeah , we got to make something       .

2 Q.        How much money about did you make when you were

3 selling it to      Ms. Martin ?

4 A.         Just depend.     Sometimes you make      , like , $1 ,2 00 ,

5 sometimes you can make $1,500         , sometimes you can make

6 $1,000.     It just depends how you can get this          .

7 Q.        Now you indicated you left this country an            d went

8 back to the      Dominican ?

9 A.        Yes.

10 Q.       In 1999 or thereabouts?

11 A.       Yes.

12 Q.       Did you return back to this country?

13 A.       Yes.

14 Q.       Did you have any difficulty getting back into

15 this country?

16 A.       I fly one time , and then send me back from            New

17 York and trying to --         I'm trying to come back again      ,

18 and they send me back      , and I get a visa      for Mexico,       and

19 I come from     Mexico   border.

20 Q.       The first time you tried through          New York , they

21 didn't allow you in the country        ?

22 A.       No.

23 Q.       Calling your attention to late 2000.        Did you

24 come back into the country at that time?

25 A.       Yes.




                                                                Page 147
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 148 of 223



1 Q.       How did you get back into the country in late

2 2000?

3 A.       I go to     Mexico   and I cross the border to         Arizona

4 and come here with some other guy papers from              Puerto

5 Rico that I get birth certificate, and            I apply for

6 Mexican border.

7 Q.       The documents that you used to come in through

8 from Mexico      through   Arizona , were those in your own

9 name?

10 A.      The name     I can't remember.    That's not my name           ,

11 it's another guy name.

12 Q.      So you used a false name when you came in?

13 A.      Yeah.

14 Q.      Do you recall what that name         was ?

15 A.      If I see, yeah.         If I see the name , I can.

16 Sometimes   I can remember.      It's been long time.     If       I

17 see it , I could.

18 Q.      Did anyone come with you when you came back

19 in --

20 A.      Yeah.

21 Q.      -- t hrough    Mexico    into Arizona?

22 A.      Yes.

23 Q.      Who traveled with you at th        at time?

24 A.      My wife.

25 Q.      What is your wife's name?




                                                               Page 148
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 149 of 223



 1 A.      Alecia Sanchez.

 2 Q.      I want show you what's been marked as            Hayward 34

 3 and ask you    if that refreshes your recollection

 4 concerning the name you used when you came across the

 5 bo rder in   late 2000.

 6 A.      Yes, that's the name.

 7 Q.      What was the name you used        ?

 8 A.      "Nicholas     Diaz ."

 9 Q.      That was not your name legally         ?

10 A.      No.

11 Q.      You used that name because you couldn't get in

12 under your own name     ?

13 A.        Yeah.    I trying to get in and that's the way

14 that I came.

15 Q.      Once you came across the border in late 2000, in

16 Arizona, did you return to the         Maryland area?

17 A.      Yes.

18 Q.      Where were you living here in          Maryland?

19 A.      I don't remember exactly the number of the

20 house , but it's in     Riverdale , big complex , but I don't

21 remember exactly the house number        , but it's in

22 Riverdale , Maryland.

23 Q.      What street was it on?

24 A.      Bea con.    Bea con Place.

25 Q.      In Riverdale , Maryland?




                                                               Page 149
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 150 of 223



1 A.        Yeah.

2 Q.        After you got here, were you able to get back in

3 touch with your        New York --

4 A.         No.    I lose the contact with the people because

5 the people get in trouble        , too , and then    I can't get

6 drug from them.

7 Q.        Did there come a time in 2001 when you met

8 someone else      --

9 A.        Yes.

10 Q.       -- w ho was able to supply you with drugs?

11 A.       Yes.

12 Q.       Who was that?

13 A.       Mangual .

14 Q.       Was he from the      Dominican ?

15 A.       No.    He's from    Mexico .

16 Q.       Was he from     New York?

17 A.       No, he's from      Mexico .

18 Q.       Where was he living?

19 A.       He live around here     , too , around    Riverdale , I

20 think.

21 Q.       What were you getting from         Mangual ?

22 A.       I'm getting cocaine.

23 Q.       What quantities were you getting from           Mangual ?

24 A.       It depends.     Sometimes two, t     hree, something

25 like that.




                                                               Page 150
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 151 of 223



 1 Q.         When you say two, three -- two to three ounces?

 2 A.         No.    Kilogram.

 3 Q.         What were you doing        with the two to three

 4 kilograms you were getting from            Mangual ?

 5 A.         I was giving to        Paula.

 6 Q.         How did you get back in touch with            Paula when

 7 you came back in 2001         ?

 8 A.         I know where she live.

 9 Q.         Was that the same house that you          've seen the

10 photographs of here      .

11 A.         Yes.

12 Q.         What was your discussion with her when you               got

13 back in 2001?

14 A.         I not remember , but maybe we're          talking   about

15 the same thing that we do before           , and we    don't have      the

16 same people supplying me all the time            , and maybe to her

17 that I find someone that's going            to get me something , I

18 have to wait for because sometimes when you find some

19 people , it's not like a different thing they have drugs

20 every day , so you got the wait some time together a                nd

21 back and    forth.     S o maybe     I talk to her that     I have to

22 wait , like , week or two to get something to supply her.

23 Q.         What did   Ms. Martin      say when you     told her you

24 were going to wait a week or two to get some drug                s to

25 supply her?




                                                                  Page 151
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 152 of 223



1 A.         Like , let me know    when you ready or when you

2 ready , bring that to me and         I get it.

3 Q.         Again , when you use the      phrase,    let me know when

4 you're ready , what does        "ready " mean?

5 A.         When you gather what you need.        When    I get what

6 you need.

7 Q.         What was it     that you were referring to when you

8 get what     she need s?

9 A.         When I get the drug s.

10 Q.        The drugs you dealt with with         Ms. Mart in and

11 with Mangual,     what drugs    was that?

12 A.        Cocaine.

13 Q.        Was it anything else other than cocaine?

14 A.        No.

15 Q.        Were you able     to get drugs from      Mangual ?

16 A.        Yes .

17 Q.        Approximately how many times did you get drugs

18 from Mangual ?

19 A.        Like, four or five times      , something like that      .

20 I get like two and three.      From seven to nine kilo

21 altogether.

22 Q.        What did you do with those seven to nine kilo            s

23 that you got from       Mr. Mangual ?

24 A.        I gave it to     Paula.

25 Q.        Over what time period did       you get those seven to




                                                                  Page 152
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 153 of 223



1 nine kilos?

2 A.         I can't say exact time     , but you know , if you got

3 to sometime wait like a month or 15 days and, you know,

4 sometimes two months        , people don't get that    , like I say

5 before , every day.       Sometimes you got to wait like they

6 come or things like that        .

7 Q.         Did you get a diary of the dates when you

8 received the       drugs and the dates when you delivered

9 them to    Ms. Martin?

10 A.        Like what do you mean diary       ?

11 Q.        Did you keep a calendar?

12 A.        No.

13 Q.        Did you write down the dates --

14 A.        No.    If   I keep that , maybe   I can say , okay , I

15 give it every 15 days or something like that               , but I

16 don't do that.

17 Q.        Now, did you -- your dealing with          Mr.

18 Mangual   --

19 A.        Yes.

20 Q.        -- s tarted after you     returned    to this country in

21 late 2000?

22 A.        Mm-hmm.

23 Q.        Is that yes?

24 A.        Yes.

25 Q.        And when did it end?




                                                                 Page 153
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 154 of 223



1 A.       So when    I get locked out in 2001.

2 Q.       When did you get locked up in 2001?

3 A.       September 17.

4 Q.       What date was it?

5 A.       September 17.        I know   September -- no,     November

6 17 or 16, something like that.            I don't know exactly      --

7 I don't remember         -- exactly remember the date     , but I

8 know it was in      November.

9 Q.       November?

10 A.      Yeah.

11 Q.      Of 2001?

12 A.      Yes.

13 Q.      So these three or four transactions that

14 involved seven or nine kilograms of cocaine took place

15 between when you returned in          December of 2000 and when

16 you were arrested in        November of 2001?

17 A.      Yeah.

18 Q.      Now other than giving the cocaine to             Ms. Martin ,

19 did you give any of it to anyone else?

20 A.      I got another guy that         I give like a half, but         I

21 don't know where he getting it.        He disappear.         I don't

22 know about him no more.

23 Q.      When did you -- when say had another guy you

24 gave a half to     --

25 A.      Half a key.




                                                               Page 154
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 155 of 223



1 Q.        Half kilogram?

2 A.        Mm-hmm .

3 Q.        Excuse     me?

4 A.        Half a kilogram.

5 Q.        Now, during the time that you were dealing with

6 Ms. Martin in 2001, where did you deliver the drugs?

7 A.        Repeat again.

8 Q.        During the time that you were getting the drug            s

9 from Mangual , the seven to nine kilograms that you

10 delivered to      Ms. Martin, where did you deliver them?

11 A.       To her house.

12 Q.       The same house that you've identified for us

13 here before?

14 A.       Yes.

15 Q.       Now did you ever see her at any other places?

16 A.       The places that      I say in the beginning     , the

17 Safeway , and her house , and Beverly house .          T hat's it .

18 And she got --      I go one day and her school      , she got a

19 school in   Washington,     D. C.   I meet her one day there       ,

20 try and go in there and talk to her         , but we don't do

21 nothing there .      W e have to go in there to the business

22 and see and talk to her.

23 Q.       You went to      meet with her at a business in

24 D. C.?

25 A.       Mm-hmm.




                                                               Page 155
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 156 of 223



1 Q.        Whose business was it?

2 A.        This is , like , a school, a school, a school          ,

3 something like that.

4 Q.        Whose school was it?

5 A.        That's   Paula's school.

6 Q.        And did you deliver any drugs to her at the

7 school?

8 A.        No.

9 Q.        Pick up any money there?

10 A.       No.

11 Q.       You went there for what reason?

12 A.       Seems like    I call her or she call me         , and I was

13 around there , and she give me the address where she

14 live , where she are , and I go around there.

15 Q.       I didn't understand that.

16 A.       So maybe   I call her or she call me       , and we

17 trying to talk to maybe about something          , and she tell

18 me the address where she was        , and then   I go cross over

19 around there because      I know that area where         I speak

20 with her.

21 Q.       So you went there to speak with her         ?

22 A.       Yeah.

23 Q.       When you were there, were there any dance

24 students there?

25 A.       No.




                                                                Page 156
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 157 of 223



1 Q.         Any students     at all?

2 A.         No.

3 Q.         Let me show you     Government's     Exhibit   P-18 4.

4            Do you recognize that photograph?

5 A.         Yeah, that's her school right there.

6 Q.         You don't    know the person in front of it         , do

7 you?

8 A.         Yes, that's her, too.       That looks like        Paula .

9 That look like her.          I'm not sure.    It look like her.

10 Q.        We 'l l put it up on the screen so everyone can

11 see it.     P-184,    and i s that the school where you went

12 to meet with her?

13 A.        Huh?

14 Q.        Is that the school where you went to meet with

15 her?

16 A.        Yes.

17 Q.        That would have been back in 2001?

18 A.        I'm not sure.      I not remember exactly       if it was

19 in 2001 or before       I leave   I meet her in there    .     I'm not

20 sure the day that       I go into that place.

21 Q.        So it could have been before you went back to

22 Dominican    for the year or after     ?

23 A.        That's wha t I'm saying .        I'm not really sure       ,

24 but I know       I go in there one time     , but I'm not exactly

25 sure what 's the date that        I go there before or after             I




                                                                 Page 157
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 158 of 223



1 leave.

2 Q.         Your purpose in going there was to discus          s your

3 business with her?

4 A.         Yeah.

5 Q.         Did you ever have any other business with           Ms.

6 Martin?

7 A.         No.

8 Q.         Now did you ever see any people when you went to

9 her house?

10 A.        Some people were going there        , but they friend --

11 her friend.

12 Q.        Do you remember any of her friends that you saw

13 at the house?

14 A.        No.

15 Q.        Did you ever deliver the kilos in front of

16 people?

17 A.        No.

18 Q.        Why not?

19 A.        Because when you do that, you don't want nobody

20 know if you -- what you doing       , what you not doing.      For

21 her care , for my care , too , so she don't want me --

22 nobody see what she do.

23 Q.        What about when you went to pick up the money?

24 A.        I didn't see anybody there      .

25 Q.        Excuse me?




                                                               Page 158
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 159 of 223



 1 A.         I d id n't see anybody there.

 2 Q.         And why wouldn't you want to see anybody else

 3 when you were meeting her to pick up the money?

 4 A.         It's like   I explain before.   Nobody wants to

 5 you.

 6 Q.         Nobody wants you --

 7 A.         Nobody want nobody knows what you do with

 8 somebody else , so it's a secret business.

 9 Q.         Did you see any of her family members at th          e

10 house on occasion?

11 A.         Not many times.    Sometimes it go like her

12 daughter , she live in another apartment          , but she not

13 there with her .       S o sometime , she get there , but she

14 don't know       I do business or not with her.    That's the

15 routine.      I don't know if she know or not       , but she

16 don't let me know that she really know about what we do

17 or not.

18 Q.         So you didn't     do the business in front of her

19 daughter.

20 A.         No.

21 Q.         What about any boyfriends or husbands of          Mrs.

22 Martin ?

23 A.         No.    I saw him going there sometime     , but I don't

24 do business      with him and he don't know about either.

25 Q.         Who was her husband or boyfriend that you saw




                                                               Page 159
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 160 of 223



 1 there?    Do you remember his name?

 2 A.        John.

 3 Q.        Why would n't you do the business in front of

 4 John?

 5 A.        I never do no business in front of          John.

 6 Q.        Why not?   Same reason you told us before?

 7 A.        Same reason.

 8 Q.        Now you indicated that you were arrested in

 9 November of 2001?

10 A.        Huh?

11 Q.        You told us you were arrested in          November of

12 2001.    Is that correct?

13 A.        Yeah.

14 Q.        Again , was that part of your dealings with           Mr.

15 Mangual ?

16 A.        Yes.

17 Q.        And as a result of your being arrested          , what

18 happened to your charges?

19 A.        So what it mean?

20           (The question was interpreted.)

21 A.        What is it that you mean?         I don't quite

22 understand.

23           BY MS. JOHNSTON:

24 Q.        You were arrested    , you were charged with drug

25 offenses; is that right?




                                                                 Page 160
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 161 of 223



 1 A.       Yeah.

 2 Q.       Okay.   What happened to your drug charges?

 3 A.       I plead guilty.

 4 Q.       Do you recall what you pled guilty to?

 5 A.       I plead guilty with confession.

 6 Q.       Again , did you plead guilty pur        suant to    a plea

 7 agreement?

 8 A.       Yeah.

 9 Q.       Let me show you what's been marked as A            -1 .

10          Do you recognize this document?

11 A.       That's sign right there.

12 Q.       Is that the plea agreement that you signed?

13 A.       Yeah.

14 Q.       As part of that plea agreement         , did you agree to

15 cooperate with the government?

16 A.       Yeah.

17 Q.       What did you do as part of your agreement?

18 A.       I got to say the truth, after that          , the judge is

19 going decide if      I get a point off or not      , and then it's

20 not sure that     I can get that or not so.

21 Q.       After you -- did you plead guilty back in

22 2002-2003?

23 A.       2003 , something like that      , I get my sentence.

24 Q.       And you were sentenced back then?

25 A.       Yeah.




                                                                Page 161
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 162 of 223



1 Q.         And at that time , what sentence did you receive?

2 A.         108 month.

3 Q.         Excuse me?

4 A.         108 month.

5 Q.         Was that the first time you have been convicted

6 of an offense in this country?

7 A.         Yes.

8 Q.         108 months of incarceration?

9 A.         Yes .

10 Q.        Have you been serving your sentence since then?

11 A.        Since then.

12 Q.        Do you have any expectation of getting your

13 sentence reduced further?

14 A.        I don't know , it's up to the judge.            I don't

15 know if   you going to give me some reduction         .    T hat's

16 between the judge and the prosecutor to do that or not.

17 I can ask them for it.

18 Q.        Okay.   Mr. Encarnacion, what do you hope is

19 going to happen to your sentence in this case?

20 A.        I hope they give me my two point off.

21 Q.        Okay.   You want two points off?

22 A.        Yeah.

23 Q.        Will you still be incarcerated?

24 A.        Yeah.

25 Q.        Will you still have years to serve on your




                                                                Page 162
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 163 of 223



1 sentence?

2 A.       I'm going to still do some time         , eve n if I got

3 those point off or not.       Just not sure that        I can --

4 they going to give me that point or not           , so .. .

5 Q.       Who make s the decision about whether you will

6 get any further reduction in your sentence?

7 A.       The judge .

8 Q.       Do you have any ex     pectation    you're going to get

9 probation ?

10 A.      No, I don't.

11 Q.      You expect to still serve a number of years in

12 prison; is that correct?

13 A.      Yeah.

14 Q.      When you're finished serving your sentence            , what

15 happens to you?

16 A.      They're going to send me back to my country.

17 Q.      I want to go back to       Government's     Exhibit

18 Hayward 34 .    D o you recognize the alias that you used

19 on that document .

20 A.      Yes.

21 Q.      What was the alias?

22 A.      That's a    Puerto   Rican birth certificate.

23 Q.      What was the name on the birth certificate that

24 you used ?

25 A.      Nicholas    Diaz .




                                                                Page 163
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 164 of 223



1 Q.         Is that the name you used to get into the

2 country?

3 A.         Yes.

4 Q.         Further down on that document      , there's also an

5 address .    C ould you read the address to us         ?

6 A.          Yes.     Nicholas    Diaz, 7012 Beacon     Place, that's

7 Riverdale,        Maryland.

8 Q.         Do you recognize that address      ?

9 A.         Yes.

10 Q.        Whose address that is?

11 A.        I living there with my wife.     That's my address           .

12 Q.        You live there had with whom?

13 A.        Al yssa Sanchez.

14 Q.        Was t hat after you came back      to the country

15 using the name       Nicholas   Diaz ?

16 A.        Yes.

17 Q.        I'm going put this document       up on the screen.

18 This appear s to be a payroll slip.        Were you -- it

19 appears to have been completed by          PTK Associates , Inc .

20 Were you ever       employed by   PTK Associates , Inc. ?

21 A.        No.

22 Q.        Did you ever receive any check         --

23 A.        No.

24 Q.        -- a s is indicated on here?

25 A.        No.




                                                               Page 164
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 165 of 223



 1 Q.       Did you ever work for       PTK Associates      --

 2 A.       No.

 3 Q.       -- a nd earn wages as are reflected on this pay

 4 slip?

 5 A.       No.

 6 Q.       Did you have any drug --        I'd like you to look

 7 around the courtroom on my left side.        Do you recognize

 8 any of the other individuals seated here at             the counsel

 9 --

10          MR. MARTIN:     Objection   , asked and answered.

11          THE COURT:     Overruled.

12          BY MS. JOHNSTON:

13 Q.       Do you recognize any of the other individuals             ,

14 other than     Ms. Martin , sitting at this table or at the

15 first table here in the audience?

16 A.       Yeah, I know her.      The lady there with the beige

17 jacket is her friend.

18 Q.       And who is she?

19 A.       Sometime    I saw her going there      , but I don't know

20 if she knows about my business with her.              I never do

21 business in front of the lady with her.

22 Q.       Do you know that lady's name?

23 A.       I don't remember because        I saw her like two,

24 three time , and I not remember exactly her name.

25 Q.       Where did you see her?




                                                                 Page 165
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 166 of 223



 1 A.       In Paula house.

 2 Q.       The house that you've identified for us?

 3 A.       Yeah.

 4 Q.       Did you have any drug dealings with her?

 5 A.       No .

 6 Q.       Do you have any idea what her relationship was

 7 with Ms. Martin?

 8 A.       No.

 9 Q.       So that the record is clear, could you describe

10 that person you're identifying by what she's wearing

11 and w ears her hair?

12 A.       She has short hair and a beige jacket on.

13          MS. JOHNSTON:       We would ask the record to

14 re flect the witness has identified          Lanora   Ali.

15          THE COURT:     The record will so indicate.

16          BY MS. JOHNSTON:

17 Q.       Did you have any drug dealings with any of these

18 people in the courtroom        --

19 A.       No.

20 Q.       -- o ther than    Ms. Martin?

21 A.       No.

22          MR. MARTIN:     Objection.

23          THE COURT:     What's the basis?

24          MR. MARTIN:     Same thing    , asked and answered.

25          THE COURT:     Overruled.




                                                                Page 166
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 167 of 223



 1          BY MS. JOHNSTON:

 2 Q.       Court's indulgence.

 3          Mr. Encarnacion , just to clarify the record            ,

 4 have you ever been convicted of any other crimes in any

 5 other country ?

 6 A.       No .

 7 Q.       So this is your only conviction?

 8 A.       Yeah.

 9 Q.       You testified about getting points off.         Could

10 you explain to the ladies and gentlemen of the jury

11 what that means to you?

12 A.       That means the truth.      If     I not telling the

13 truth , the judge not going decide if          I can get the two

14 point off or not.      So, that's not sure, like          I said

15 before , but they going to decide if          I allow ed to get

16 the two point off     .   I f I don't tell the truth      , I going

17 to be maybe punished for not telling the right thing.

18 Q.       Now, when you say , "two points off ," does that

19 -- what effect does that have on how long your sentence

20 is?

21 A.       I d on't understand that .

22 Q.       Let me repeat it.     You said that it's up to the

23 judge if you can get two points off of your sentence.

24 A.       Huh-uh.

25 Q.       What -- does that result in reducing your




                                                                Page 167
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 168 of 223



1 sentence , making your sentence shorter            .

2 A.          Yeah.

3 Q.          Does it eliminate your sentence?

4 A.          Not completely.         I still got   to do some time .

5 If I can get the two point off            , I can get less time.

6 Q.          Has anyone told you how much          less time you're

7 going to get?

8 A.          No.     I don't know.    Years   , I'm not sure    I going

9 to get those two point.

10 Q.         You indicated     you have    to tell the truth?

11 A.         Yeah.

12 Q.         Is that part of your plea agreement         ?

13 A.         That's part of it.

14 Q.         Does that apply to questions asked by the

15 defense attorneys or by the judge?

16 A.         It's by the judge.

17 Q.         And what about the questions defense attorneys

18 ask you?     Must you with      you be truthful in response         --

19 A.         Truth.

20 Q.         -- t o their questions?

21 A.         Yeah.

22 Q.         What happens if you were to lie in response to

23 any questions?

24 A.         So I don't get     punished,     I going to get

25 punished , and then don't take my two point off.




                                                                 Page 168
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 169 of 223



 1 Q.       You don't get two points off        .     W hat else could

 2 happen to you?

 3 A.       They going    to punish me and give me more time

 4 for perjury.

 5 Q.       Does it matter whose questions you answer

 6 falsely ?

 7          MR. MONTEMARANO :      Objection , asked and answered.

 8          THE COURT:     Overruled.

 9          BY MS. JOHNSTON:

10 Q.       Does it matter if you lie in response to the

11 government's question       or you lie in response to           the

12 defense questions?

13 A.       You got to tell the       truth for     both sides.

14 Q.       Now, --

15          MS. JOHNSTON:     C ourt's indulgence.         I have

16 nothing further.

17          THE COURT:     All right.    Cross-examination.

18          MR. MONTEMARANO :      Thank you,       Your Honor.

19                          CROSS-EXAMINATION

20          BY MR. MONTEMARANO :

21 Q.       Good afternoon , Mr. Encarnacion .           H ow are you?

22 A.       Fine .    H ow are you , sir.

23 Q.       We've never met before      , have we , sir?

24 A.       Huh ?

25 Q.       You and    I have never met before        , have we?




                                                                   Page 169
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 170 of 223



 1 A.         No.    No.   I don't know you , sir.

 2 Q.         I'd like to ask you a few questions following

 3 along Ms. Johnston's questions.

 4 A.         Yeah.

 5 Q.         You were talking about getting two points off.

 6 A.         Yes.

 7 Q.         Is y our lawyer,    Mr. Davis ?

 8 A.         Yes, sir.

 9 Q.         Did he tell you what a decrease of two points

10 under the sentencing guidelines would mean?

11 A.         Not remember that he tell me something about

12 that because        I not sure that   I going to get two point

13 off.   Like       I explain before , it's on them.

14 Q.         You don't know what's going to be         --

15 A.         No.

16 Q.         But it's going to be a shorter sentence        ;

17 correct , sir?

18 A.         It's short time , but it not right if they give

19 me those    two point off or not      .

20 Q.         That's only if you tell the truth       ; right?

21 A.         Yeah.

22 Q.         Now, your name     is not Nicholas   Diaz, is it?

23 A.         No.

24 Q.         But that's the name you used when you enter          ed

25 thi s country ; correct?




                                                                 Page 170
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 171 of 223



1 A.       Yes, sir.

2 Q.       You entered this country as an illegal alien;

3 correct, sir?

4 A.       Yeah.

5 Q.       So you weren't telling the truth to the --               at

6 the border , were you?

7 A.       Huh?

8 Q.       You weren't telling the truth            at the border ,

9 were you?

10 A.      They don't ask me anything.

11 Q.      They asked you for identification           ; didn't they ,

12 sir?

13 A.      Yeah.

14 Q.      May this    be marked as      Defense    Exhibit 1 for

15 identification, please?     Nogales      --

16 A.      Nicholas , yes.

17 Q.      No.     When you cross ed the border , was that

18 Nogales; correct?

19 A.      What's that mean , "Nogales? "

20 Q.      Nogales , Texas.     The town.

21 A.      No, I didn't know that.        That was      --

22 Q.      Is that your driver's license           , sir?

23 A.      I don't know it was at Nogales           , the city around

24 there or not --     the first time     I cross around there.

25 Q.      You don't remember     ?




                                                               Page 171
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 172 of 223



 1            MS. JOHNSTON:        Your Honor , may we have the

 2 document marked as an exhibit for purposes of the

 3 record ?

 4            MR. MONTEMARANO:       It has been marked as

 5 Defense 1.

 6            MS. JOHNSTON:    For identification only           ?

 7            MR. MONTEMARANO:       Y es.

 8            BY MR. MONTEMARANO:

 9 Q.         This is a    Virginia driver's license that you

10 carried     with you; correct , sir?

11 A.         Yes.

12 Q.         We don't have a very clean copy here.

13            Nicholas    Diaz, Drainsville R oad in Herndon ;

14 correct, sir?

15 A.         Mm-hmm.

16 Q.         Were you living on       Drainsville      Road ?

17 A.         Where?

18 Q.         Were you living?

19 A.         At that time?

20 Q.         Yes.

21 A.         On Beacon    Place.     Beacon    Place on   Riverdale

22 Road.      Beacon    Place on    Riverdale   Road.

23 Q.         So you were not living on          Drainsville     Road ?

24 A.         No.

25 Q.         So that's not true either         ; right , sir?




                                                                     Page 172
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 173 of 223



1 A.       No , that's not my address.

2 Q.       That's not your address       ?

3 A.       No.

4 Q.       Okay.    As a part of your plea agreement           , the

5 government dismissed other charges against you?

6 A.       When you say the other charges?

7 Q.       Were there other       charges that       they did not bring

8 against you or that they dropped?

9 A.       I don't have charge      .   I got a charge and then

10 that's what     I confessed for.

11 Q.      Let's talk about your arrest          .    Y ou were arrested

12 on November 16 of 2001; correct, sir?

13 A.      Yeah, yeah .

14 Q.      The circumstances of you          r arrest revolved around

15 your attempt     to ex port an automobile?

16 A.      Yeah.

17 Q.      A Nissan    Maxima ?

18 A.      Yeah .

19 Q.      To the Dominican       Republic?

20 A.      Yeah.

21 Q.      When you    attempted to     ex port this     automobile,

22 they found a secret compartment in the automobile?

23 A.      Yes, sir.

24 Q.      And in the secret compartment w            as a firearm ;

25 correct, sir?




                                                                Page 173
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 174 of 223



 1 A.       Yes, sir.

 2 Q.       You weren't charge     d with that firearm , were you?

 3 A.       Yes, sir.

 4 Q.       And in that compartment was heroin; correct              ,

 5 sir?

 6 A.       They don't charge me for that        .   I got my lawyer

 7 and they never -- they never got that.

 8 Q.       We'll get there.

 9 A.       Okay.

10 Q.       Mr. Davis i s a fine lawyer.

11 A.       Yeah.

12 Q.       I've known him for many years        .   I'm sure he did

13 a great job for you     .   L et's talk about what happened           .

14 A.       Okay.

15          MS. JOHNSTON:      Object   ion to counsel's comments            ,

16 Your Honor.

17          THE COURT:      Mr. Montemarano , keep it to

18 questions, okay ?

19          BY MR. MONTEMARANO:

20 Q.       You were arrested; correct, sir?

21 A.       Yes, sir.

22 Q.       A lawyer    was appointed to a represent you         ?

23 A.       Yes, sir.

24          MS. JOHNSTON:       Your Honor , objection .

25          What time frame is he talk        ing about?




                                                                Page 174
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 175 of 223



 1          THE COURT:     Can you clarify what time you're

 2 talking about ?

 3          BY MR. MONTEMARANO :

 4 Q.       You were arrested in 2001          ; correct , sir?

 5 A.       Yes.

 6 Q.       A lawyer was appoint      ed to represent you     ;

 7 correct, sir?

 8 A.       Yes.

 9 Q.       Ultimately , as a part of your lawyer's

10 representation of you, a plea agreement was agreed upon

11 between you and him and the government; correct, sir?

12 A.       Yes.

13 Q.       In fact , Ms. Johnston was the prosecutor in that

14 case ; was she not?

15 A.       Mm-hmm .

16 Q.       Okay.      The Customs searched that car before it

17 was exported from the country        ; correct , sir?

18 A.       Yeah.

19          MS. JOHNSTON:     Objection    .     C an we have a time

20 frame in terms of what car he's talking about?

21          THE COURT:     Yeah , please just clarify your

22 question , if you would.

23          BY MR. MONTEMARANO :

24 Q.       The car was seized by Customs and searched;

25 correct , sir?




                                                                  Page 175
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 176 of 223



 1 A.       Yeah.   That's not here that for --           I'm not here

 2 for that case.      They don't do anything back then.              I

 3 get my lawyer and they never do anything            , so that mean

 4 they dismiss the case       , so that case never been spent            .

 5 I can go in there and do some different mood to try to

 6 get rid of it because they going to do something to me,

 7 so that case going to be over because they never do

 8 anything.

 9          I get no lawyer now      .   Mr. Davis , back then       I get

10 some lawyer , and he do the move and they never call me

11 to do anything against me       , so that case dismiss      , so we

12 no have to talk      about that   case anymore.

13 Q.        So your plea agreement with           Mr. Davis didn't

14 involve the car ?

15 A.       Correct.

16          MS. JOHNSTON:      Objection   , Your Honor .     C ounsel

17 is confusing two incidents as one         .     T hat happened back

18 in the early     '90s.    T hat didn't have any criminal

19 charges , and then       the November of 2001 incident.      We

20 ask that he --

21          THE COURT:      T ry it to make it clear from your

22 question what you're talking about            , Mr. Montemarano.

23          BY MR. MONTEMARANO:

24 Q.       Thank you.

25          Let's talk about 2001.         Mr. Davis was




                                                                Page 176
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 177 of 223



1 representing you.      You were just charged with cocaine;

2 correct, sir?

3 A.          Yeah.

4 Q.          And you entered this plea agreement with the

5 government; correct, sir?

6 A.          Yeah.

7 Q.          And as result , you pled guilty with a conspiracy

8 with certain other people; correct, sir?

9 A.          Yeah.

10 Q.         And as a result , you also agreed to cooperate

11 with the government;      correct , sir?

12 A.         Yeah.

13 Q.         You agreed to tell them the truth; correct?

14 A.         Yeah.

15 Q.         And as a result of that     , you received benefit     s

16 from the government ; correct, sir?

17 A.         I don't know yet.   It's not sure.

18 Q.         Well , there was a motion made at your original

19 sentencing that reduced your sentence.

20 A.         Yeah , but that's not     -- like I explain before ,

21 that's nothing that can be for sure         .   T hey going to see

22 if they can allow that or not.

23 Q.         Back then , when you were senten     ced by Judge

24 Messitte    in this court , your sentence was        reduced;   is

25 that correct , sir?




                                                               Page 177
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 178 of 223



1 A.          Mm-hmm.

2 Q.          Your attorney explain      ed to you , without the

3 government's cooperation           , you would not receive a

4 reduced sentence ; correct , sir?

5 A.          Mm-hmm.

6 Q.          Without the    government 's cooperation , your

7 sentence wouldn't be reduced below the mandatory

8 min imum; co rrect , sir?

9 A.          Mm-hmm.

10 Q.         Otherwise , you would have gotten at least ten

11 years; correct?

12 A.         Mm-hmm.

13 Q.         As a result of that      , you enter ed thi s plea;

14 correct?

15 A.         Yes.

16 Q.         Now y ou're back here again seeking to get

17 another reduction; is that correct          ?

18 A.         Yeah.

19 Q.         When you talked to the government after your

20 arrest in 2001, did you tell them about your nephew?

21 A.         They know everything.        I told the truth then.

22 Q.         Did you tell them about       your nephew?

23 A.         Yeah.

24 Q.         That's    Junior?

25 A.         Torres.     Torres .




                                                                 Page 178
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 179 of 223



 1 Q.       Junior   Torres ?

 2 A.       Yes.

 3 Q.       He's also known as       Junior Ivan Torres;      is that

 4 correct , sir?

 5 A.       Yes .

 6 Q.       He was at that time incarcerated or not yet

 7 incarcerated?

 8 A.       I not remember if he was incarcerated or he was

 9 back to my country     .   H e get deport ed.

10 Q.       He got deported?

11 A.       Yeah.

12 Q.       Do you know where       Junior Torres is now ?

13          MS. JOHNSTON:       Objection   , relevance.

14          THE COURT:     What 's the relevance?

15          MR. MONTEMARANO :       I'd proffer that     Mr. Torres --

16          MS. JOHNSTON:        Your Honor , if he's going to

17 proffer , we can take a proffer at the bench.

18          THE COURT:     All right   .    C ome to the bench.

19                        (At the bar of the court       .)

20          MR. MONTEMARANO :       I respectfully proffer that

21 Mr. Torres cooperated to seek a five          -year -- receive d a

22 five -year sentence , was deported illegally          , reentered ,

23 and once again has entered a cooperation agreement with

24 the government , and he is currently in custody in              D. C.

25          MS. JOHNSTON:       W hat happen ed with Mr. Torres,




                                                                Page 179
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 180 of 223



 1 whether he's cooperating with the government --

 2           MR. MONTEMARANO:     State of mind.      Trying to play

 3 the system .

 4           MS. JOHNSTON:    E xcuse me , Mr. Montemarano .           That

 5 has nothing to do with whether this witness has motive

 6 or bias or anything whatsoever.        It has nothing to do

 7 with this witness'      state of mind .        H e's testified in

 8 terms of his plea agreement.       The notion that now we're

 9 going to get into every other person that              he may know

10 --

11           THE COURT:    Sustained.

12           MR. MARTIN:     Your Honor , suppose he's try       ing to

13 --

14           THE COURT:     I can't hear you.

15           MR. MARTIN:    If    Mr. Montemarano is get     ting to

16 the point that he may be try         ing to seek benefit for his

17 nephew as well , I think that's something he should be

18 allowed   to explore.

19           MS. JOHNSTON:       Your Honor , that's something he

20 would have had to disclose as          Jenks and    Giglio

21 material.

22           THE COURT:     I sustain ed the objection .

23                  (B ack in open court.     )

24           BY MR. MONTEMARANO:

25 Q.        Junior Ivan Torres was deported ; correct ?




                                                                Page 180
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 181 of 223



 1 A.        Yeah.

 2 Q.        Do you know if he reenter      ed the country?

 3 A.        I didn't know.     I'm in here , so I can't know

 4 anything.     I don't   even know my name sometime.

 5 Q.        Now , let me see if    I understand the

 6 circumstances where you claim to have met            Ms. Martin .

 7 This is   Ms. Martin sitting right here next to me.

 8 A.        Yeah.

 9 Q.        You were delivering heroin to a woman named

10 Beverly; correct?

11 A.        Mm-hmm.

12 Q.        It wasn't your heroin    , it was    Junior Torres'

13 heroin?

14 A.        Mm-hmm.

15 Q.        As a good deed , you were just delivering heroin

16 for him; correct?

17 A.        This I explained that before that when he get

18 like he leave a certain amount in there          , and I know

19 who's the people going to do that he went to           , and I not

20 real -- I already know about that before.

21 Q.        And delivering some heroin for him was         n't a big

22 deal because he's family      ; right?

23 A.        Yeah.

24 Q.        And after all, drug dealing is what you did

25 then ; right?




                                                               Page 181
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 182 of 223



 1 A.         Yeah.

 2 Q.         So heroin, cocaine    , it's kind of all the same         ;

 3 right?

 4 A.         Sometime.

 5 Q.         Sometimes.    And you met at        Beverly's this woman;

 6 correct?

 7 A.         Yeah.     I meet her in   Beverly house.

 8 Q.         You 'd never met her before     ?

 9 A.         No.

10 Q.         And she immediately offered you a business card               ;

11 correct ?

12 A.         Yeah.

13 Q.         Asked you to provide her cocaine; correct?

14 A.         Mm-hmm.

15 Q.         And at that point    , you told her you were

16 delivering heroin to        Beverly; correct?

17 A.         At that point?      I don't tell      Paula that   I do

18 some business with --

19 Q.         You didn't tell her you were delivering to

20 Beverly ?

21 A.         No , I didn't tell nothing to her at that time.

22            MS. JOHNSTON:     Your Honor , if the witness could

23 be allow ed to finish the response before counsel --

24            THE COURT:     Mr. Montemarano,       the witness '

25 testimony is sometimes a little difficult to




                                                                 Page 182
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 183 of 223



1 understand .       I t's especially difficult if you interrupt

2 him , so please be certain to let him answer completely.

3            MR. MONTEMARANO :     Thank you , Your Honor.

4            BY MR. MONTEMARANO :

5 Q.         Did Beverly tell    Paulette --    Paula that you were

6 delivering heroin to her?

7 A.         I don't know ; not in front of me.

8 Q.         Not in front of you    ?

9 A.         No.

10 Q.        The package you brought it in, it wasn't labeled

11 heroin , was it?

12 A.        The label of?

13 Q.        You 're not   walk ing down the street carrying a

14 package     that says, this   is heroin , on the side ; is that

15 correct ?

16 A.        No.

17 Q.        And this was 70 or 80 or 90 grams        , give or take

18 a little?

19 A.        Yeah.

20 Q.        That's about three ounces of heroin        ; right , sir?

21 It's not a little package at all        ?

22 A.        I could hold that in my hand.

23 Q.        Sure.   And you come and you meet with         Beverly .

24 Did Beverly pay you?

25 A.        No, not at the same time.




                                                               Page 183
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 184 of 223



1 Q.          So you walked in,      you delivered this unknown

2 package to      Beverly , and Paulette     Martin offered you a

3 business card and said can you get me cocaine.             Is that

4 your testimony?

5 A.          Not in front of -- not in front of           Beverly .   We

6 just meet in different place and we              discuss   what we

7 going to do the night before.

8 Q.          When you came in      Beverly's home , what room were

9 you in?

10 A.         I don't know .      I'm in the kitchen   .     I don't go

11 into any    of the rooms.

12 Q.         Paulette was in the kitchen?

13 A.         When Paula get there , I was there already.

14 Q.         So Paula came in and you were already there?

15 A.         I already there .

16 Q.         Did you   discuss   your deal with     Beverly in front

17 of Paulette ?

18 A.         Me and Beverly already was talking.

19 Q.         You were already done?

20 A.         Yeah.

21 Q.         And then you left?

22 A.         After awhile , yes.

23 Q.         After awhile , you left .     A nd you never discussed

24 your business dealings with          Beverly with    Paula there in

25 the kitchen that day; correct?




                                                                 Page 184
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 185 of 223



 1 A.         No .    J ust --    I just was talk ing with Beverly

 2 before and        Paula come in , so I don't know       Paula going

 3 in , if she go and talk to             Beverly for some different

 4 reason .     I didn't know about that.

 5 Q.         That day , you didn't discuss in front of             Beverly

 6 your business dealings            --

 7 A.         No.

 8 Q.         -- w ith her ?

 9 A.         No.

10 Q.         You didn't discuss anything with           Paula ?

11 A.         No.

12 Q.         And Paula offered you a business card?

13 A.         Yes.

14 Q.         And asked you to meet her at a later date and

15 time ?

16 A.         Yeah.    She told me to make her call and            I may

17 call her later.

18 Q.         As a result of that         , you then called her;

19 correct ?

20 A.         Yeah , I call her.

21 Q.         Before that day , you had         never met Paulette --

22 Paula ever before;            correct?

23 A.         I never meet        Paula in   Beverly house .   I did meet

24 --

25 Q.         Before that meeting in          Beverly's house , you had




                                                                   Page 185
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 186 of 223



 1 never met   Paula ?

 2 A.      Yeah I meet her , but I never meet her before.

 3 Q.      Right.

 4 A.      That's the first time th       at I meet her.

 5 Q.      And then you met at a near        by supermarket     --

 6 A.      Mm-hmm.

 7 Q.      -- a nd you agreed on a cocaine deal; correct?

 8 A.      Yeah.

 9 Q.      And you can't remember if it's one kilogram or

10 two ; correct?

11 A.      Not sure if     I bring one or two.     It's back then         ,

12 so.

13 Q.      That's the difference between 20 and            $46,000 ;

14 correct , sir?

15 A.      It's different.

16 Q.      That's what the price was then; correct, sir?

17 A.      Yeah .

18 Q.      You made sure that she was certain that she

19 wanted cocaine from you     ; correct , sir?

20 A.      Mm-hmm.

21 Q.      As a result of this discussion         , you went and

22 obtained one or two kil     ograms   of cocaine; correct      , sir?

23 A.      Mm-hmm.

24 Q.      And as a result of your obtaining this one or

25 two kilogram s of cocaine , you then delivered it to her;




                                                               Page 186
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 187 of 223



1 correct , sir?

2 A.          I delivered it to her house.

3 Q.          And you delivered it to her and handed it to her

4 and she left your meeting with this cocaine; correct                 ,

5 sir?

6 A.          No.   When    I first meet her , I don't meet her to

7 just give her cocaine on the street           , so I meet her to ,

8 yes , talking about what we going to do or what we not

9 going to do.

10 Q.         But you ultimately , at some point , did give her

11 cocaine ?

12 A.         Yeah.   But    I never gave cocaine in different

13 place ; I always go to her house.

14 Q.         You did this at her house     ?

15 A.         Yeah.

16 Q.         Was it in the kitchen there       , too?

17 A.         Yeah.

18 Q.         And you delivered her cocaine       , this person you

19 had only met twice before        ; correct , sir?

20 A.         Mm-hmm.

21 Q.         You met her at     Beverly's , you met her at     that

22 Safeway.     Y ou handed her at least $20,000 of co        caine,

23 perhaps as much as $46,000 of cocaine          ; correct , sir?

24 A.         Mm-hmm.

25 Q.         And you left her home; correct       , sir?




                                                               Page 187
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 188 of 223



1 A.       Mm-hmm.

2 Q.       Without a penny      --

3 A.       Yeah.

4 Q.       -- i n your hand.

5 A.       Yes.

6 Q.       And you have told us that you were profiting

7 perhaps as little as $800 a kilo; correct?

8 A.       $800?

9 Q.       You said it was $800, $1,000        , maybe $1,500 a

10 kilo profit?

11 A.      Sometimes , yeah.

12 Q.      So would it be fair to say that you were going

13 to make maybe $1,600     , or maybe $3,000?

14 A.      Yeah .

15 Q.      Somewhere in there        , depending   if it was one

16 kilogram or two , sir?

17 A.      Yes.

18 Q.      You do still don't remember if it was            one

19 kilogram or two .     S o you went out and you bought this

20 cocaine to sell it to      Paula; correct?

21 A.      No , I get it fronted -- somebody          fronted     me ,

22 yeah.

23 Q.      Somebody who knew         you ?

24 A.      Yeah.

25 Q.      Okay.




                                                                Page 188
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 189 of 223



 1 A.         It not like too much.       That's the business.     If

 2 you know somebody doing         business, you got to take a

 3 chance to give it to them and front           , and that's how

 4 that work.

 5 Q.         If you weren't paid eventually         for the   cocaine

 6 by Paula , you couldn't have paid your supplier             ;

 7 correct?

 8 A.         If I don't get paid from her       , I can't get paid

 9 in the other .      I got to pay the people who fronted me.

10 Q.         You've got to pay the people who fronted you               ?

11 A.         Yeah.

12 Q.         You didn't have that money       ; correct , sir ?

13 A.         No, I didn't have that money.

14 Q.         So you were trusting this woman you've met now

15 twice , never met before other than those two times               ,

16 with 20 or $40,000 of merchandise            --

17 A.         Yeah.

18 Q.         -- o n a promise ; correct , sir ?

19 A.         Yeah .

20 Q.         The people who don't pay their drug debts            , in

21 your experience , what happens to them?

22            MS. JOHNSTON:    Objection.

23            THE COURT:     Overruled.

24            THE WITNESS:     What happen to what?

25            BY MR. MONTEMARANO :




                                                                   Page 189
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 190 of 223



 1 Q.       People who don't pay their drug debts.

 2 A.       This depend how people you got in front because

 3 if I give you something        --

 4 Q.       Depends on    the people you're dealing with.

 5 A.       If I give you some kilo and you don't pay me             , I

 6 not going to do anything to you because             I know that's a

 7 chance   I going to take.     Somebody kill you, but         I not

 8 that kind of person     , so we got a different person to --

 9 Q.       If I understood you correctly, someone could

10 kill you?

11 A.       Somebody can kill      if you don't.

12 Q.       That's what     I thought.    Thank you.

13          Court's indulgence, please.

14          You left the country; correct, sir?

15 A.       Mm-hmm .

16 Q.       You came back to the       country?

17 A.       Yes.

18 Q.       And while you could not reestablish contacts

19 with your drug source in the          New York; correct, sir     ?

20 A.       Yeah.

21 Q.       You were able to find a new supplier; correct,

22 sir ?

23 A.       Yeah.

24 Q.       If I understand correctly       , this is a new

25 supplier who fronted you cocaine; correct, sir?




                                                                Page 190
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 191 of 223



1 A.       Yes, sir.

2 Q.       You didn't bring 20 or $40,000 back from the

3 Dominican?

4 A.       I never had that together.

5 Q.       You never had that together?

6 A.       No.

7 Q.       So if somebody is not fronting it          , you 're not

8 being able to sell it      ?

9 A.       Yeah.

10 Q.      And you found this        new source shortly after you

11 returned to     Hyattsville ; correct, sir?

12 A.      Say again.

13 Q.      You found this new source for cocaine shortly

14 after you returned to         Hyattsville ; is that correct ?

15 A.        Yeah, like two months after         I come from

16 Dominican .

17 Q.      You returned t o Riverdale , I'm sorry.

18 A.      Yeah.

19 Q.      Okay .    And that source , was that       Mangual ?

20 A.      Mangual .

21 Q.      He's from Mexico ?

22 A.      Yeah.

23 Q.      And he fronted you co       caine,   and you then started

24 selling it again; correct, sir?

25 A.      Mm-hmm.




                                                               Page 191
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 192 of 223



1 Q.          At t hat point , how long had it been since you

2 had done business with          Paula?

3 A.          How long?

4 Q.          Yeah.

5 A.          How long thing      I do business?

6 Q.          How long had it been since you last did a deal

7 with Paula?

8 A.          When I come from      Dominican ?

9 Q.          When you came from the       Dominican .

10 A.         Sometime , you come , got the right source        , like

11 you say to give you product         , you have to wait in time

12 to get your right people to --          I not remember exactly

13 how long    I took to get drug from        Mangual    to her , so .. .

14 Q.         You did   your first deal after returning from the

15 Dominican,     you testified , in December of 2000; does

16 that sound correct?

17 A.         I not remember if it was       December , but it happen

18 in 2000.

19 Q.         Right at the end of 2000      , near New Year's in end

20 of the year ?

21 A.         Mm-hmm.

22 Q.         About 11 months before you're finally arrested,

23 right?

24 A.         Mm-hmm.   Mm-hmm.

25 Q.         You left the country in       '99 at some point?




                                                                 Page 192
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 193 of 223



1 A.       Yes.

2 Q.       '98 ?

3 A.       I leave in        '99 and stay in my country     , like , a

4 year.

5 Q.       Year?     Few years?     During that time      , you weren't

6 in contact with        Paula; correct?

7 A.       I making her call from my country to say hi to

8 her and thing like that.

9 Q.       You called her?

10 A.      Yeah.

11 Q.      Oh.     Collect?

12 A.      What you mean "collect        ?"

13 Q.      Collect.        Reverse charges?

14 A.      No.     No,   I don't call collect.

15 Q.      So you come back and you immediately start

16 dealing drugs again; correct, sir?

17 A.      Not immediately , but soon          I get in contact with

18 the people who gave me supply         .    I not sure what much

19 were because back then and there           , you never got any

20 money the day you started to deal for someone.

21 Q.      Okay.     And     dur ing 2001 , you dealt , you said ,

22 seven to nine kilos       , you don't remember how much?

23 A.      Mm-hmm.

24 Q.      You don't       remember   how much you dealt with

25 Paulette before; correct, sir         ?




                                                                Page 193
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 194 of 223



 1 A.         No.

 2 Q.         Just no recollection at all?

 3 A.         No.

 4 Q.         And the day you were arrested was what day?

 5 A.         November 17 , I think.       November 17, 2001.

 6 Q.         You remember that      ?

 7 A.         I not remember exactly the day         , but I know it's

 8 in November.          I think 17, 16, something.

 9 Q.         Court's indulgence, please.

10            You can't tell us the dates of any of these

11 sales to     Paulette     Martin; correct, sir?

12 A.         What did you say ?

13 Q.         You cannot tell      us the dates of any of these

14 sale s to Paulette        Martin?

15 A.         No , no.

16 Q.         It's like     Ms. Johnston said    , you didn't keep a

17 calendar?

18 A.         No , I did not keep a calendar.

19 Q.         Didn't keep a      ledger ; is that correct   , sir?

20 A.         No.

21 Q.         You kept it all up here?

22 A.         (Witness n od ded .)

23 Q.         We can trust you for that      ; right , sir?

24 A.         You got to trust sometime      .   Y ou forgot what you

25 really had to remember sometime.




                                                                Page 194
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 195 of 223



 1          MR. MONTEMARANO :      No further questions,        Your

 2 Honor.

 3          THE COURT:     Any additional cross      ?

 4          MR. MARTIN:      Mr. Goodwin has no questions for

 5 this witness , your Honor.

 6          MR. HALL:     No questions    , Your Honor.

 7          MR. MITCHELL:       I just have a few    , Your Honor.

 8          THE COURT:     You may , Mr. Mitchell.

 9                          CROSS-EXAMINATION

10          BY MR. MITCHELL:

11 Q.       Mr. Encarnacion ?

12 A.       Yes, sir.

13 Q.       You mentioned in your direct testimony that you

14 had been to      Ms. Martin's house and seen some of her

15 family members; is that correct?

16 A.       Yeah.

17 Q.       How was it that you got a chance to see her

18 family members?

19 A.       Sometime    I get in there and they come from --

20 they home , and they come to visit their mom            to say hi ,

21 but that's all that       I meet them.

22 Q.       And you were asked by the government w           hether    or

23 not you recognized anyone else that was here in the

24 room , any family members or other people          .   A nd you only

25 recognized one other person.




                                                                Page 195
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 196 of 223



 1          Do you --     I know that this      monitor   is kind of in

 2 your way .     I just wanted to make sure        , do you recognize

 3 my client right here in the blue?        Have you ever seen

 4 him before?    Right here.      Just this gentleman right

 5 here.

 6 A.       I not remember see       ing him before.

 7 Q.       Okay.   And    I would assume that part of your plea

 8 is not to testify against anyone else,             Mr. Bynum or

 9 anyone else; is that part of your plea agreement not                to

10 have to testify against anyone else          ?

11 A.         So against the people that         I agree to do

12 business of.

13          MR. MITCHELL:         All right .   N o further questions.

14          MR. WARD:      I have a couple of questions       , Your

15 Honor.

16          THE COURT:      Mr. Ward.

17          MR. WARD:     Maybe     I better step up here so the

18 witness can see me.

19                          CROSS-EXAMINATION

20          BY MR. WARD:

21 Q.       Good afternoon, sir.

22 A.       Yes, sir.

23 Q.       Let me step over here so you can see me without

24 craning your neck.

25          You talked about        -- when you were questioned by




                                                                 Page 196
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 197 of 223



1 Ms. Johnston , you talked about dealing with a woman

2 named Beverly; is that correct, sir?

3 A.          Yes, sir.

4 Q.          When did you sell drugs to        Beverly

5 approximately?

6 A.          When or how much?

7 Q.          When ?

8 A.          Just like     '98, '97 , something like that.        I not

9 sure when it was , like , from '97, '98.

10 Q.         You were introduced to        Beverly by your nephew;

11 is that right?

12 A.         No.      I know   Beverly because her husband.

13 Q.         You knew her through her husband?

14 A.         Her husband.      Her husband was a dealer who deal

15 with my nephew , and then he get in trouble and we get

16 to Beverly because he say to give that to her.

17 Q.         So as I understand it , you were        intro duced to

18 Beverly's husband by your nephew; is that right?

19 A.         I'm introduce d?

20 Q.         Huh ?

21 A.         I introduce to my nephew to her?      What you        say?

22 Q.         Did your nephew introduce you to         Beverly's

23 husband?

24 A.         Yes.

25 Q.         What was his first name?      Do you recall?




                                                               Page 197
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 198 of 223



1 A.         Beverly 's husband?

2 Q.         Yeah.

3 A.         Dobie.

4 Q.         Dobie ?

5 A.         Dobie.

6 Q.         That was his first name or his last name               ?

7 A.         I didn't know.     That's how        I know him.

8 Q.         Okay.     And Beverly is his wife        ?

9 A.         Yes.

10 Q.        So she was     Beverly    Dobie ?

11 A.        They live together.         I don't know if they marry

12 or not.

13 Q.        Hum?

14 A.        They live together back then          , but I don't know

15 if they marry or not.         I don't know if that's husband.

16 Q.        You believed that she was           Beverly   Dobie?

17 A.        Huh ?

18 Q.        You believed she was        Beverly     Dobie, the wife?

19 A.        Yeah , because they live together.

20 Q.        Okay.     How many times did you -- first of all,

21 did you actually , yourself,          deal with    Mr. Dobie?

22 A.        No , because    Dobie was in jail and then she gave

23 the work that he did       , and then     I give it to her , so

24 that's why.       He wasn't there      at th at time.

25 Q.        So Mr. Dobie had gone to jail?




                                                                    Page 198
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 199 of 223



1 A.          Yeah.

2 Q.          And your nephew went to jail        ?

3 A.          Yeah.

4 Q.          So you picked up the family business and went to

5 deal with      Beverly?

6 A.          Yeah .   My nephew leave that to me to get rid of

7 the one he's keeping there because             I didn't know about

8 that kind of business because that's a different type

9 of drug that he selling         , so I didn't know about that

10 kind of drug.

11 Q.         So cocaine is different than heroin?

12 A.         Yes.

13 Q.         It's like selling       Cadillac   --

14 A.         Or Mercedes    Benz .

15 Q.         -- o r something else ; is that right?

16 A.         (Witness nods.)

17 Q.         You actually met this       Mr. Dobie , did you ?

18 A.         I know Dobie , but I don't know really what's the

19 guy do with him , so that's my nephew doing deal with

20 Dobie.

21 Q.         Yeah.    But what   I'm trying to ask you, or what

22 I'm driving at is      , did you meet this fellow      Dobie that

23 your nephew had been supplying drugs to who later went

24 to jail?

25 A.         I know him.




                                                               Page 199
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 200 of 223



1 Q.         You remember now what he looked like?

2 A.         If I saw him , I mean     I'd remember.

3 Q.         If you saw him , you 'd remember ; right?

4 A.         Yeah.

5 Q.         How about    Beverly?   If you saw     Beverly -- first

6 of all , how many times did you ever deal with               Beverly?

7 A.         I don't go many time to      Beverly    house .    Like

8 once, two time.

9 Q.         Two times?

10 A.        I think once or two.       I don't go long time there

11 because    I did that to her because not too much drug              I

12 got to    give and I don't keep going on that like that             .

13 She really need it , so ...

14 Q.        Is it fair to say if you saw this         Beverly today ,

15 you would be able to recognize her?

16 A.        Maybe.

17 Q.        Maybe ?

18 A.        Yeah.

19 Q.        All right.    Well , let me ask you this      :    The

20 fellow you knew as      Dobie you said you think you         'd

21 recognize,    do you see him in the courtroom today?

22 A.        I don't think    I look to anybody.

23 Q.        Huh ?

24 A.        They told me to take a look if         I see somebody ,

25 but I don't --      I got that thing in front.        I don't see




                                                                Page 200
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 201 of 223



 1 somebody behind that or anything like that.

 2 Q.       Let me ask somebody to stand up.        Sir     , can you

 3 stand up, please?     Can you stand up?     And would you

 4 identify yourself by name?

 5 A.       Goldi e Dobie.

 6          MR. WARD:     Do you have any relationship        , sir , to

 7 Lavon Dobie?

 8          MR. DOBIE:      Yes , I do.

 9          MS. JOHNSTON:       Your Honor, objection.

10          THE COURT:      Mr. Ward .

11          MR. WARD:     Yes, sir.

12          THE COURT:     Wait a minute.    He's not been sworn.

13          MR. WARD:     All right.

14          MS. JOHNSTON:       Your Honor , we will stipulate

15 that the " Dobie" he's talking about is not any

16 relationship of      Lavon Dobie or the      Dobie that's sitting

17 in the courtroom , her husband .

18          MR. WARD:     Well, that's very kind of the

19 government, because that's exactly what            I was driving

20 at.

21          THE COURT:     That's just been resolved by

22 stipulation.

23          BY MR. WARD:

24 Q.       This is not the man that you've met           known as    Mr.

25 Dobie?




                                                                Page 201
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 202 of 223



 1 A.       No.

 2 Q.       The lady standing over there         --

 3          MR. WARD:    Would you stand up, ma'am?

 4                  (Defendant Lavon Dobie stands.)

 5          BY MR. WARD:

 6 Q.       Is that the lady that you know as           Dobie's wife?

 7 A.       No.

 8          MR. WARD:     Okay.    All right , sir , I have      no

 9 other questions.

10          THE COURT:     Anything further?

11          MR. McKNETT :     Yes , Your Honor , if I may.

12                          CROSS-EXAMINATION

13          BY MR. McKNETT :

14 Q.       Good afternoon.

15 A.       Good afternoon.

16 Q.       Sir, is this the first time you've testified in

17 court?

18 A.       Yes.

19 Q.       Did you prepare for your testimony?

20 A.       I talk ed to Ms. Dobie --       or to Deborah     Johnston

21 about it.

22 Q.       Before you entered into your plea agreement               , you

23 talked to the government; correct?

24 A.       Yes.

25 Q.       You did what's cal     led a proffer session;




                                                                Page 202
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 203 of 223



1 correct?

2 A.         What do you mean     "proffer session "?

3 Q.         You sat down with the government and your lawyer

4 and basically explained what you could tell the

5 government about drug dealing; correct?

6 A.         Yeah.   Yeah.

7 Q.         And then based on that conversation         -- how long

8 did that take that proffer session?

9 A.         How long did it take to try know what          I had to

10 say?

11 Q.        Yes.

12 A.        I don't know.     Sometime maybe like hours or 30

13 minute.

14 Q.        How many time s did you meet with government

15 agents, prosecutors       , to prepare for your testimony

16 today?

17 A.        I think two time.

18 Q.        Two times ?

19 A.        Yeah.

20 Q.        How long did it take total?

21 A.        Like hour, 30 minute together.

22 Q.        Part of the process was government ag         ent s asked

23 you questions ; correct ?

24 A.        Yeah.

25 Q.        And you've heard some of those same questions




                                                               Page 203
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 204 of 223



 1 today ; haven't you?

 2 A.       Yes.

 3 Q.       It was a rehears al; wasn't it?

 4 A.       Huh ?

 5 Q.       It was a rehears al?

 6 A.       I don't understand that.

 7                  (The question was interpreted.)

 8          THE WITNESS:     Not really.    Not really that.

 9 It's like to say what       I really know and      I really doing .

10          BY MR. McKNETT:

11 Q.       So you would know what to say today?

12 A.       Yeah.

13 Q.       The government would ask you questions?

14 A.       Yeah.

15 Q.       And then you would answer them?

16 A.       Yeah.

17 Q.       And sometimes you would discuss with the

18 government your answers; correct?

19 A.       Yeah, yeah.

20 Q.       And sometimes they would ask you the questions

21 again ; correct?

22 A.       Yeah.

23 Q.       And you would answer them again; correct?

24 A.       Yeah.

25 Q.       And sometimes you would have to discuss your




                                                                Page 204
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 205 of 223



1 answers further; correct?

2 A.          Yeah.

3 Q.          When you were   prepar ing for   your testimony

4 today, were you shown any photographs?

5 A.          Show any photograph to her or they show me         ?

6 Q.          Show you.

7 A.          No , I don't see photograph today.

8 Q.          Nobody showed you any photographs?

9 A.          No.

10 Q.         Sir, you identified this woman back here as

11 someone you've seen before; correct?

12 A.         Yes.

13 Q.         You said , I believe , that you saw her perhaps

14 two or three times; correct?

15 A.         Yeah, yeah.

16 Q.         And you saw her at    Ms. Martin's house you said;

17 correct?

18 A.         Yeah.

19 Q.         Did you know her name?

20 A.         I not remember her name because       I never talk to

21 her like friend , but I know she is that her friend            , and

22 -- but I never seen that she go in there with any kind

23 of business with       Paula like drug business.       I don't

24 know if they do some or not       , so that's not my business.

25 Q.         She was just there because she was a friend of




                                                               Page 205
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 206 of 223



 1 Ms. Martin's ; correct?

 2 A.         Yeah.

 3 Q.         Did Ms. Martin introduce you?

 4 A.         Huh?

 5 Q.         Did Ms. Martin introduce you to her         ?

 6 A.         Maybe sometime they say this is          Juan or this is

 7 one of my friend or something like that             , but not that's

 8 the guy     I do business with or thing          like that.

 9 Q.         So you never did business in front of her          ; did

10 you?

11 A.         No.

12 Q.         And you never did business with her         ; did you?

13 A.         No.

14 Q.         You never saw      Ms. Martin or anyone else do

15 business with her       ; right?

16 A.         No .

17 Q.         When I say "do business ," you know         wh at I mean ,

18 don't you?        Dealing    drugs?

19 A.          Yeah.

20 Q.         You never    saw that      woman in any situation that

21 involved drugs, did you?

22 A.         No, sir.

23 Q.         Thank you.

24            THE COURT:       Any further cross-examination,

25 counsel?     All right.      You may redirect.




                                                                 Page 206
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 207 of 223



1             MS. JOHNSTON:       Just a couple of questions.

2                           REDIRECT      EXAMINATION

3             BY MS. JOHNSTON:

4 Q.          Mr. Encarnacion , when you were talking about

5 Beverly and her husband whom you knew as                Dobie --

6 A.          Yes.

7 Q.          -- d o you know what his correct name was          ?

8 A.          I know that his name         Dobie , but I don't know his

9 last name.          I don't know if      Dobie is his last name or

10 not.    I don't really know        .    I just know him by that

11 name.

12 Q.         That was the nickname or name you knew him by               ?

13 A.         I don't know because --          I know   Junior call him

14 Dobie and     I meet him and that        's the name I call him , so

15 I don't know if that's the last name or not.

16 Q.         You don't know whether that's his legal name

17 either?

18 A.         No.

19 Q.         That's just how you knew him based upon what

20 your nephew told you       ?

21 A.         Yeah.

22 Q.         In terms of your plea agreement, did anyone tell

23 you exactly what you had to say when you testified?

24 A.         I don't have to say exactly --            I had to say it

25 is true.     That's all        I have to say.




                                                                  Page 207
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 208 of 223



 1 Q.         In preparing with government -- being debriefed

 2 by government      counsel     before you en tered your plea

 3 agreement, did anyone tell you what to say other than

 4 the truth?

 5 A.         No.   The truth.

 6 Q.         And is your cooperation or your chance to get a

 7 lower sentence based upon whether people get found

 8 guilty ?

 9            MR. McKNETT :      Objection.

10            THE COURT:    Overruled.

11            BY MS. JOHNSTON:

12 Q.         Does it matter to you if people are found

13 guilty?

14 A.         No.

15 Q.         What's -- what controls whether or not you have

16 a chance to get a lower sentence?

17 A.         That's how -- like      I said before , that's up to

18 judge and the government.           I don't have no choice

19 there .    I not sure    I going to get a point off or not.

20 I not sure .      I t's on the judge.

21 Q.         What do you have to do as part        of your

22 agreement ?

23            MR. MARTIN:     Objection   , asked and answered

24 several times.

25            THE COURT:    Overruled.




                                                                Page 208
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 209 of 223



 1          BY MS. JOHNSTON:

 2 Q.       Mr. Montemarano      asked you -- this gentleman here

 3 asked you some questions.      Were you ever charged with

 4 any crimes in this country or the           Dominican      or any

 5 foreign country before you were arrested on                November of

 6 2001?

 7 A.       No, because the one he trying to bring back from

 8 1997 , back then , I get my lawyer and they never charge

 9 me for that.

10 Q.       You were never      charged   for that?

11 A.       No.

12 Q.       That had to do with sending a car out of the

13 country ?

14 A.       Out of the country.

15 Q.       And a gun that you had purchased          ?

16 A.       I buy a legal gun     , and I put it in there        , and I

17 never see it nor      I got to go show      it to the      court or

18 thing like that , so that mean they declined that.

19 Q.       When you were meeting with the agents before you

20 entered your guilty plea, were you the one who told

21 them who you sold the drugs to         ?

22          MR. MONTEMARANO :      Objection , Your Honor.

23          MS. JOHNSTON:     Let me rephrase it          .

24          BY MS. JOHNSTON:

25 Q.       Did you tell them that        Paulette    Martin    was a




                                                                 Page 209
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 210 of 223



 1 customer of yours?

 2 A.       Yeah.

 3 Q.       That was information you provided to them; is

 4 that correct?

 5 A.       Yes.

 6          MS. JOHNSTON:       I have nothing further.

 7          MR. MONTEMARANO:      Just one question      , Your Honor.

 8          THE COURT:     You may.

 9                        RECROSS EXAMINATION

10          BY MR. MONTEMARANO:

11 Q.       So it's up to the judge and the government if

12 you get a lower sentence; correct?

13 A.       Yeah.

14          THE COURT:     Anything further?

15          MR. MARTIN:     No , Your Honor .

16          THE COURT:      Y ou may step down.    Thank you.

17                              (w itness e xcused    at 4 :17 p.m. )

18          THE INTERPRETER:       M ay the interpreter be

19 excused , Your Honor ?

20          THE COURT:     Y ou may.    We don't     nee d the

21 interpreter anymore     , do we ?

22          MS. JOHNSTON:     No , we don't.      Not at this time,

23 Your Honor.

24          THE COURT:     All right.

25          MS. JOHNSTON:     Not today.




                                                                 Page 210
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 211 of 223



 1            Your Honor , our next witness would be          Officer

 2 Malarkey.

 3            THE COURT:     All right.

 4 Thereupon,

 5                             DOUG MALARKEY ,

 6 having been called as a witness on behalf of the

 7 Plaintiff , and having been first duly sworn by the

 8 Courtroom Deputy, was examined and testified as

 9 follows:

10            THE CLERK:     I need   you to state your name for

11 the record.

12            THE WITNESS:     My name is     Corporal   Doug Malarkey.

13 M A L A R K E Y.

14                           DIRECT   EXAMINATION

15            BY MS. JOHNSTON:

16 Q.         Where are you employed      ?

17 A.         Employed as a K -9 corporal with the city of

18 Takoma   Park Police Department.

19 Q.         Calling your attention back to July          4 of 2002 ,

20 were you employed with the          Takoma   Park Police

21 Department ?

22 A.         Yes, ma'am , I was.

23 Q.         Were you working in      uniform at   that time ?

24 A.         Yes, ma'am , I was working uniform patrol.

25 Q.         And on that date , did you have occasion to have




                                                                Page 211
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 212 of 223



 1 any contact with an individual named            John Martin , Jr .?

 2 A.        Yes, ma'am , I did.

 3 Q.        Can you describe approximately what time and

 4 what happened on July       4 of 2002?

 5 A.        Yes, ma'am.     About 02 :30 in the morning      , I was

 6 field training a new officer,         Officer    Eric Mueller.       We

 7 were in the area of       New Hampshire     Avenue and    University

 8 Boulevard , at which time we observed a white 1996               Ford

 9 Thunderbird traveling southbound on           New Hampshire

10 Avenue.

11           As we bulled in to proceed southbound on            New

12 Hampshire    Avenue , behind it , the erratic nature of the

13 way the vehicle was being        driven, it     drew our attention

14 to the vehicle .      T he vehicle would straddle l       anes one

15 and two, l ane two and three , back and forth straddling

16 lanes for several seconds.

17           Based on my training, knowledge        , and experience

18 I believed the driver to be         under the influence of some

19 sort of narcotic or alcohol        ; therefore , we conducted a

20 traffic stop on      the vehicle at     13 th and   Erskin , I

21 believe it was.

22           At that time , we effected the stop        .   T he driver

23 of the vehicle was stopped and approached the vehicle

24 to inquire about the nature of his driving.

25 Q.        What occurred once you approached the vehicle?




                                                                Page 212
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 213 of 223



 1 A.         Upon approach , I introduced myself to the

 2 driver , who was subsequently identified as               John Martin ,

 3 Jr .    He was the driver and sole occupant of the

 4 vehicle.     When   I asked him for his driver's license and

 5 registration , during that dialogue          , I detected a

 6 moderate odor of alcohol coming from the vehicle.                   I

 7 believed it to be either beer or malt liquor.

 8            I asked him to step from the vehicle.         Once       I

 9 saw a -- just to his right side         , if you will , like sort

10 of underneath the right arm area         , I saw a       st. Ives beer

11 bottle or malt liquor bottle        .   H e was stepped out of

12 the vehicle and was immediately passed back to                  Officer

13 McLean , who had arrived as soon as           I conducted the

14 stop.

15            My intention on passing him back to            Officer

16 McLean was that Officer        McLean had just come back from

17 a field sobriety school      , so I'm thinking what better

18 person to give him to than         Officer    McLean .

19 I retrieve d the beer bottle and         I was in the process of

20 retrieving the beer bottle        , which    I observed to be

21 open , the seal     was broken,    three -quarters empty , and

22 was still cold.

23            At that point in time    , a scuffle broke out

24 towards the back of the vehicle.             I immediately

25 responded back to assist       , and as I was doing so , I




                                                                   Page 213
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 214 of 223



 1 could see it appeared as though          Mr. Martin was

 2 struggling to get away from         Officer    McLean and    I

 3 assisted in subduing       Mr. Martin , and he was secured.

 4           Once he was secured     , I asked what had taken

 5 place.    There was a substance detected on           Mr. Martin by

 6 Officer   McLean,   and officer     McLean    advised me what he

 7 had or what he believed he had.       Once       Mr. Martin was

 8 secured , I went back to conducting my investigation at

 9 the vehicle.

10           In addition to smelling alcohol,          I also detected

11 what , through my training      , I describe as a      mas king

12 agent .   I t's like a heavy fab     ric softener or a

13 de tergent   used for, you know, cleaning your clothes;

14 oftentimes     used to conceal the K     -9 s when trying to

15 detect narcotics , but it was very, very strong coming

16 from the vehicle.

17           Approached the vehicle again        , and in the

18 backseat in plain view      , there's a large black trash

19 bag.   Inside that trash bag       , which was , if you will ,

20 just imagine sitting on the rear         , left seat , kind of

21 half open /half closed , inside were what          I determined at

22 that point to be about 30 to 33 freshly-emptied kilo

23 wrappers of cocaine.        Based on my training, knowledge

24 and experience , that's what        I believed them to be and

25 subsequently that's what they were determined to be.




                                                                Page 214
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 215 of 223



 1           We requested that drug recognition expert

 2 through    Montgomery   County because he was driving the

 3 vehicle and because we found narcotic          s in the vehicle ,

 4 we thought it might be possible he might b            e un der the

 5 influence of narcotics.      That was handled through

 6 Officer    McLean and the county officers that responded.

 7           I also found a     empty,    four pound box of baking

 8 soda , which is used in the drug trade to cut narcotics

 9 to reduce the percentage of it.        And inside that box

10 also was two     Ziploc bagg ies, if you will , one with an

11 orange on it , one with an apple on it         , which    I know

12 based on my training, knowledge and experience to be

13 with the somewhat smaller        Ziploc bagg ies, if you will ,

14 maybe you've seen them on        TV or you may have seen them

15 other places , small bags of crack cocaine            and/ or heroin

16 are sold in these tiny, tiny sandwich bag            s, if you

17 will .    Y ou know an eighth of an inch by an eighth of an

18 inch and they're sold in        bundles    of 250   to 500 in your

19 grocery store s in the      D. C. area .

20           In these other bag s with the apples and           the

21 oranges    on them , and t hat's how they're differentiate           d

22 with an apple and an orange        .   I also found a small hand

23 scale in the front compartment of the vehicle             , and all

24 the evidence was impounded as well           as the vehicle and

25 Mr. Martin was transported back to the station             , as well




                                                                Page 215
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 216 of 223



 1 as all the evidence was transported back to the

 2 station.

 3            Once back at the station,       I attempted to

 4 determine the total quantity of what was in the black

 5 trash bag , so I utilized the picnic table that was

 6 outside of the station      .   T he sun was basically just

 7 coming up at this point and         I attempted to lay them out

 8 and identify exactly how many were there.         Again      , my

 9 number    I came up with was roughly like 30 or 33          , but

10 DEA subsequently , I believe , came up with a lower

11 number.

12            As I was going through them      , I periodically

13 field tested small portions of a white powder su             bstance

14 which I observed still in the brick form and torn up                in

15 packaging of what      I believed to be , you know , kilo

16 wrappers.     All of the subsequent field tests that            I did

17 conduct did come back positive        , a color reaction for

18 cocaine.

19 Q.         Now , if I can just interrupt you for a second.

20 I'm going to show you this chart here that's marked

21 CH -1 .

22            The John Martin , Jr. that you're referring to.

23 Is he depicted on this chart and appropriately

24 identified as " John Martin?"

25            MR. WARD:   What is the     exhibit   number ?




                                                                Page 216
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 217 of 223



 1          MS. JOHNSTON:       CH -1 .

 2          THE WITNESS:      This    subject,     bottom row , third

 3 from the left , is the       subject   which     I came in contact

 4 with that night th     at I know as " John Martin , Jr ."

 5          BY MS. JOHNSTON:

 6 Q.       So he's accurately depicted on this chart                  as the

 7 John Martin you had contact with           --

 8 A.       Yes, ma'am.

 9 Q.       -- o n July 4, 2002?

10 A.       Yes, ma'am .

11 Q.       If I could show you the exhibits that you've

12 discussed here briefly with us and have you identify

13 them.

14          Let me begin , f irst, with what's been marked as

15 Government's     Exhibit   JM -3, if you could tell us what

16 that is .

17 A.       Yes, ma'am .      T his is the hand scale      , which      I

18 observed in the passenger compartment of the vehicle

19 upon the traffic stop.      It's       used to measure small

20 quantities of narcotics on the street.

21 Q.       And JM -4, can you tell us what that is?

22 A.       Yes, ma'am .      T his is the   Maryland motor vehicle

23 administration registration        , which      Mr. Martin   Jr .

24 produced that evening        as requested       upon the traffic

25 stop .




                                                                  Page 217
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 218 of 223



 1 Q.      JM -1?

 2 A.      Yes, ma'am.    This is the four pound box of

 3 baking soda , which    I describe d to the jury as often

 4 used as cut and repackaging of cocaine           and heroin .

 5 Q.      Let me show you what's been marked as

 6 Government's     Exhibit    Drugs 39 , and if you can identify

 7 that exhibit.

 8 A.      Yes, ma'am.    As     I was describing, the packaging             ,

 9 the apple s and the    oranges , the small      Ziplocs,   if you

10 will , these two    Ziploc baggies here are the small

11 Ziploc s, like each one of these would contain between

12 250 and 500 of the smaller          Zips used to sell smaller

13 quantities of narcotics       ; and also , I believe , detected

14 a residual amount of white powdery substance.

15 Q.      There was another bag         attached to that.    T    hat

16 was removed or part        of the   substance that was removed

17 by the chemist     as opposed to --

18 A.      Correct.

19 Q.      Other than that , are these apple and orange

20 bagg ies in the condition they were in when you

21 recovered them?

22 A.      Yes, ma'am.

23 Q.      Were all of these items sent to the laboratory                ?

24 A.      They were -- all the evidence was turned over to

25 Montgomery   County Drug Task Force upon my          arrival     at




                                                                  Page 218
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 219 of 223



 1 the station , so they were turned over to               DEA through

 2 them , and I believe either            their lab or the    Montgomery

 3 County lab is the one who did the analysis.

 4 Q.         So they would have separate           d the drugs or any

 5 other material in the bags         ?

 6 A.         Yes, ma'am.

 7 Q.         Likewise , let me show you what's been marked as

 8 Government's       Exhibit 35.    These are going to be 35         A

 9 through    D.

10            Can you tell us what we have in these bags?

11 A.         Yes, ma'am.      Th ese a re -- the large black trash

12 bag that     I described that was sitting on the rear seat

13 of the vehicle upon the stop            , these are the kilo

14 wrappers     -- when I say "kilo wrappers ," I'm referring

15 to a 2 .2 pound brick of powder cocaine that's

16 compressed that's then wrapped in plastic               , in

17 cellophane.

18            These particular wrappers that            I discovered in

19 the black trash bag were double and triple wrapped                 , if

20 you will.       Basically   , they are wrapped initially in a

21 black plastic and then the             masking   agent th at I

22 smelled , the laundry detergent           , was then -- there was a

23 liquid coating a round that , and then there              were

24 re wrapped      again with a softer cellophane or softer

25 plastic,     you know , wrapped again to try to mask the




                                                                    Page 219
    Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 220 of 223



 1 odor of it , and these appear to be all of the kilo

 2 wrappers that were in the black bag.

 3 Q.        Now, there    are some that look like               Ziploc

 4 baggies inside.     Were those          Ziploc baggies in the

 5 garbage   bag or were those something that perhaps the

 6 chemist did in separating out the bag wrappers?

 7 A.        Those , I belie ve, is        something the chemist          would

 8 have done    to separate the wrappers            , or DEA did , to

 9 actively depict     how many there were           , because in the

10 black trash bags were the kilo wrappers                  , which

11 literally    still had the shape of the brick                 , as if they

12 had jus t been cut , still wet , still strong odor                 .   It

13 appeared the property had just been removed from them.

14 Q.        In add ition to that , it looks like there's some

15 black powder on some of these exhibit               s.       Can you tell

16 us what that is?

17 A.        Yes, ma'am.    During courtroom procedures               , it's

18 always asked that they be fingerprinted                  .   S o what's

19 done at either the lab or at the station is they're

20 dusted for fingerprints         .     I t appears   whoever dusted

21 these , either at      DEA or       Montgomery    County Crime Lab ,

22 utilized black fingerprint powder and that's                     what it

23 appear s to be.

24 Q.        Other than the black powder on the                  Ziploc bags ,

25 they were separately pack            aged and the kilo wrappers




                                                                       Page 220
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 221 of 223



 1 that you seized that day?

 2 A.         Yes , ma'am.

 3 Q.         Who did you turn     those over to?

 4 A.         To Randy Cussan [ph.]         of the DE A Task Force.

 5 Q.         Is he part to have        DEA Task Force ?

 6 A.         Yes, ma'am , he is.

 7 Q.         And then finally, l       et me show you     what's been

 8 marked as     Exhibit     Drugs 38 .    Do you recognize that

 9 exhibit?

10 A.         Yes, ma'am.     This is     , as I was periodically

11 going through the kilo wrappers to -- because we had

12 such a   large quantity and literally           , if you picture

13 like a black lawn bag        s you're loading with leaves        , I

14 mean , there was with all these wrappers coming out                ,

15 there was cocaine falling every            where.

16            What I want ed to do was periodically take a

17 random s ampling     to make sure       it was consistent .      S o as

18 I was going through the bags and separating               them, I was

19 taking small amount        s of the powder      that I was finding

20 inside the kilo wrappers and            I was periodically field

21 testing them .     T he remnant s that were left over after

22 that that were not left inside of the bags              , I basically

23 sa ved , and that's what       we're seeing here.

24 Q.         That was your scrap       ing from   the kilo wrappers?

25 A.         Yes, ma'am , as I was going through all 25 to 30,




                                                                 Page 221
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 222 of 223



 1 33.

 2          MS. JOHNSTON:       Your Honor , if we could publish

 3 these item s to the jury , we would appreciate it              , and

 4 then I think      I'm about done with my questions         .

 5          THE COURT:      W ith no objection , you may.

 6          MS. JOHNSTON:     For the record     , Your Honor , I

 7 think I may have said       Government's     Exhibit.    These are

 8 Government's      Exhibit marked as     Drugs 35 A through       D.

 9          THE COURT:     All right.

10          MS. JOHNSTON:       I belie ve I have no further

11 questions of this witness.

12          THE COURT:     All right.     We will resume tomorrow

13 at ten o'clock with cross-examination of this witness.

14          Any o ther matters?     Otherwise,      I will adjourn.

15          Take a few minutes to let the jury look at the

16 published exhibits     , an d then we will recess.

17          MS. JOHNSTON:       Your Honor , may the witness step

18 down , please ?

19          THE COURT:      Y es , you may step down.

20                   (Witness excused at 4     :34 p.m. )

21          THE COURT:      A ll right.   Ladies and gentlemen           , we

22 will resume tomorrow at ten o'clock with

23 cross-examination of the last witness.         Thank you         .

24                   (J ury excused at 4 :37 p .m. )

25                   (Off the record at 4:37 p.m.)




                                                                  Page 222
     Case 8:04-cr-00235-DKC Document 1182 Filed 04/30/08 Page 223 of 223



 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al,     Criminal    Action Number     RWT -04-0235 on

10 June 16, 2006.

11

12       I further certify that the foregoing 222 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 15th day of March 2008.

19

20                               ___________________________
                                 TRACY RAE DUNLAP, RPR , CRR
21                               OFFICIAL COURT REPORTER

22

23

24

25




                                                                Page 223
